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                APPENDIX - GABAPENTIN PROJECT Pain Studies Summary Matrix - FINAL – August 8, 2008, Thomas L. Perry, M.D.
                                                                                       CHRONIC PAIN
                                          TRIALS SUITABLE FOR DETAILED REVIEW AND META-ANALYSIS (SEE NOTES AT END OF TABLE)

Study Number, Date of study          Lead Investigator        Indication   Details                                                                                  Results     Comment         Study Detail
Document Number                      Publication Name                                                                                                               Submitted                   Summary
                                                                                                                                                                    to the                      Completed
                                                                                                                                                                    FDA
1) 1997 Gorson PDPN                  Gorson                   PDPN         Study Size: 126 screened, and 53 were randomized (crossover design), however, the        No          Letter to the   Detailed summary
WLC_FRANKLIN_0000100272              J Neurol Neurosurg                    published letter to the editor makes no mention of the 13 who dropped and says N = 40.               editor          table analysis
WLC_FRANKLIN_0000100273              Psychiatry 1999                       Treatment Duration: 6 weeks.                                                                                         completed &
WLC_FRANKLIN_0000088375.pdf                                                Dose: 900 mg / day                                                                                                   checked, July 22,
Gorson KG, Schott C et al.                                                                                                                                                                      2008
Gabapentin in the treatment of
painful diabetic neuropathy: a
placebo controlled, double blind,
crossover trial. (letter) J Neurol
Neurosurg Psychiatry 1999; 66:251-
2

2) 1997 Morello                      Morello                  PDPN         Double Blind                                                                             No          Comparator      Detailed summary
Independent study, US VA system      Arch Intern Med 1999                  Study Size: 28 were screened, 25 were randomized – 12 to Gabapentin-Amitriptyline arm,               Study v.        table analysis
Morello CM, Leckband SG et al.                                             and 13 to Amitriptyline-Gabapentin arm (crossover design)                                            Amitriptyline   completed &
Randomized Double-blind Study                                              Treatment Duration: 6 weeks for each treatment                                                                       checked, July 27,
Comparing the Efficacy of                                                  Dose: 900 – 1800 mg/day Gabapentin or 25 – 75 mg/day Amitriptyline.                                                  2008
Gabapentin With Amitriptyline on
Diabetic Peripheral Neuropathy
Pain. Arch Intern Med 1999; 159:
1931-7




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Study Number, Date of study           Lead Investigator       Indication   Details                                                                               Results     Comment            Study Detail
Document Number                       Publication Name                                                                                                           Submitted                      Summary
                                                                                                                                                                 to the                         Completed
                                                                                                                                                                 FDA
3) 1997 Backonja PDPN                 Backonja                PDPN         Study Size: 232 screened, 165 enrolled - 84 were randomized to Gabapentin, 81         Yes         JAMA article;      Detailed summary
945-210                               JAMA 1998                            randomized to placebo (parallel design)                                                           forced titration   table analysis
720-03908_Vol_1.pdf                                                        Treatment Duration: 8 weeks.                                                                                         completed &
720-03908_Vol_2.pdf                                                        Dose: Titrated from 900 mg – 3600 mg per day or maximum tolerated dosage.                                            checked, July 22,
720-03908_Vol_3.pdf                                                                                                                                                                             2008
Backonja M, Beydoun A et al.
Gabapentin for the symptomatic
treatment of painful neuropathy in
patients with Diabetes Mellitus.
JAMA 1998; 280: 1831-6
4) 1997 Rowbotham PHN                 Rowbotham               PHN          Study Size: 292 screened, 229 randomized, 113 received Gabapentin, 116 received       Yes         JAMA article;      Detailed summary
945-211                               JAMA 1998                            placebo (parallel design).                                                                        forced titration   table analysis
995-00070_945-211_(Part_I).pdf                                             Treatment Duration: 8 weeks.                                                                                         completed &
995-00070_945-211_(Part_II).pdf                                            Dose: Titrated to a maximum of 3600 mg/day or maximum tolerated dose.                                                checked, July 22,
995-00070_945-211_(Part_III).pdf                                                                                                                                                                2008
Rowbotham M, Harden N et al.
Gabapentin for the Treatment of
Postherpetic Neuralgia. JAMA
1998; 280: 1837-42.
5) 1997 Dallochio                     Dallocchio              PDPN         Open label (? Marketing trial - Parke-Davis co-authored)                              No          Open label         Detailed summary
Parke-Davis, Italy (4th author)       J. Pain and Symptom                  Study Size: 25 enrolled, 13 were treated with Gabapentin while 12 were treated with               comparator         table analysis
Dallocchio D, Buffa C et al.          Management 2000                      Amitriptyline.                                                                                    Study              completed July 23,
Gabapentin vs. Amitriptyline in                                            Treatment Duration: 12 weeks for each treatment                                                   v. Amitriptyline   2008
Painful Diabetic Neuropathy: An                                            Dose: Titrated to a maximum dosage of 2400 mg/day of Gabapentin or 90 mg/day of                   Not suitable for
Open-Label Pilot Study. J. Pain and                                        Amitriptyline.                                                                                    meta-analysis
Symptom Management 2000; 20:                                                                                                                                                 of any
280-3.                                                                                                                                                                       outcomes.
OPEN LABEL




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Study Number, Date of study         Lead Investigator             Indication    Details                                                                                   Results     Comment         Study Detail
Document Number                     Publication Name                                                                                                                      Submitted                   Summary
                                                                                                                                                                          to the                      Completed
                                                                                                                                                                          FDA
6) 1998 Reckless PDPN               Reckless                      PDPN          Study Size: 432 screened, 325 randomized, 77 randomized to placebo group, 82              Yes         Fixed dose      Detailed summary
945-224                             Unpublished                                 randomized to 600 mg/day Gabapentin, 82 randomized to 1200 mg/day Gabapentin, 84                      study; not      table analysis
720-04130.pdf                       1998-1999 study, final                      randomized to 2400 mg/day Gabapentin (parallel design)                                                published as    completed &
                                    report 2000.                                Treatment Duration: 7 week treatment period (double blind) after which a subset of                    standalone      checked, July 22,
                                                                                patients could enter a 4-month open label extension phase.                                            article.        2008
1998 Reckless PDPN (continued)      (Summarized favourably                      Dose: 600 mg/day, 1200 mg/day, or 2400 mg/day.                                                        Reference to
945-224                             in: Backonja M, Glanzman                                                                                                                          results in
720-04130.pdf                       RL. Gabapendin Dosing                                                                                                                             Backonja M,
                                    for Neuropathic Pain:                                                                                                                             Glantzman RL
                                    Evidence from
                                                                                                                                                                                      2003 is an
                                    Randomized, Placebo-
                                    Controlled Clinical Trials.                                                                                                                       incomplete
                                    Clinical Therapeutics                                                                                                                             reporting.††
                                    2003; 25: 81-104)
7) 1998-1999 van de Vusse           van de Vusse                  CPRS type 1   Study size: Crossover study of gabapentin vs. placebo for 2 x 3-week periods, separated   No          ††              Detailed summary
van de Vusse AC Stomp-van den       BMC Neurology 2004                          by 2-week washout. N=58 patients P first (29) or to G first (29); 12/58 excluded from                                 table analysis
Berg SGM, et al., Randomized                                                    analysis                                                                                                              completed &
controlled trial of gabapentin in                                               Treatment Duration: each treatment was given for 3 weeks                                                              checked, July 24,
Complex Regional Pain Syndrome                                                  Dose: targe tdose G=1800 mg/d                                                                                         2008
type 1 (ISRCTN84121379). BMC
Neurology 2004; 4: 13 (9 pages)
8) 1998-2001 Gordh, Nordic Study    Gordh et al (Nordic           POPP NeP      Study Size: 159 screened, 120 randomized – 61 to Gabapentin-Placebo arm, 59 to            No          Unpublished     Detailed summary
945-271                             study)                                      placebo-Gabapentin arm (crossover design)                                                             Scandinavian    table analysis
PFIZER_LCASTRO_0043325.pdf          Unpublished                                 Treatment Duration: 5 weeks                                                                           study of        completed &
PFIZER_LCASTRO_0027113.pdf          Final study report 2003                     Dose: Titrated to 2400 mg/day or maximum tolerated dosage.                                            postoperative   checked, July 22,
                                                                                                                                                                                      and             2008
                                                                                                                                                                                      posttraumatic
                                                                                                                                                                                      neuropathic
                                                                                                                                                                                      pain††




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Study Number, Date of study          Lead Investigator       Indication   Details                                                                                   Results     Comment            Study Detail
Document Number                      Publication Name                                                                                                               Submitted                      Summary
                                                                                                                                                                    to the                         Completed
                                                                                                                                                                    FDA
9) 1999 Rice                         Rice                    PHN          Study Size: 411 screened, 334 randomized – 115 to Gabapentin 1800 mg/day, 108 to          Yes         Fixed dose         Detailed summary
945-295                              Pain 2001                            Gabapentin 2400 mg/day, and 111 to placebo (parallel design, if unable to tolerate dose               study**            table analysis
430-00124.pdf                                                             pt. was pulled from study)                                                                                               completed &
Rice ASC, Maton S, Postherpetic                                           Treatment Duration: 7 weeks                                                                                              checked, July 22,
Neuralgia Study Group.                                                    Dose: Either 1800 mg/day or 2400 mg/day                                                                                  2008
Gabapentin in postherpetic
neuralgia: a randomized, double-
blind, placebo controlled study.
Pain 2001; 94: 215-224
10) 1999-2000, Serpell               Serpell                 Mixed NeP    Study Size: 351 screened, 307 randomized – 153 to Gabapentin, 152 to placebo (parallel    Yes         Study involving    Detailed summary
945-306                              Pain 2002                            design)                                                                                               neuropathic pain   table analysis
430-00125.pdf                                                             Treatment Duration: 8 weeks                                                                           symptoms from      completed &
430-00125_Correction_Memo_1.pdf                                           Dose: Initially titrated to 900 mg/day. Patients who did not show at least 50% pain                   a variety of       checked, July 22,
430-00125_Correction_Memo_2.pdf                                           reduction were increased to 1800 mg/day and then if necessary again to 2400 mg/day.                   different          2008
Serpell MG, Neuropathic Pain Study                                                                                                                                              etiologies**
Group. Gabapentin in neuropathic
pain syndromes: a randomized,
double-blind, placebo-controlled
trial. Pain 2002; 99: 557-66.




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Study Number, Date of study          Lead Investigator            Indication    Details                                                                                      Results     Comment              Study Detail
Document Number                      Publication Name                                                                                                                        Submitted                        Summary
                                                                                                                                                                             to the                           Completed
                                                                                                                                                                             FDA
11) 1999-2000 Bone                   Bone                         Post-         Single centre English DBR crossover trial                                                                                     Detailed summary
Bone M, Critchley P, Buggy DJ.       Reg Anesth Pain Med          amputation    Study Size: 33 screened, 19 randomized after 1 week screening/washout phase to:                                               table analysis
Gabapentin in Postamputation         2002                         phantom       placebo (9) or gabapentin (10) as first treatment, then crossover to alternative treatment                                    completed &
Phantom Limb Pain: A Randomized,                                  limb pain     Treatment Duration: 6 weeks, with 1 week intervening washout                                                                  checked, July 23,
Double-Blind, Placebo-Controlled,                                               Dose: gabapentin titrated from 300 mg/d to maximum of 2400 mg/d                                                               2008
Cross-Over Study. Reg Anesth Pain
Med 2002; 27: 481-6
12) 1999-2002 Caraceni               Caraceni                     Neuropathic   Multicentre Italian/Spanish DBRCT                                                                        Not meta-            Detailed summary
945-420-276                          J. Clin Oncology 2004        Cancer pain   Study Size: 691 patients screened, 121 patients randomized to Gabapentin 80 (79                          analysable other     table analysis
PFIZER_LCASTRO_0026332                                                          received drug) vs. 41 placebo, in addition to stable opioid dose and additional opioid as                than safety          completed &
Caraceni A, Zecca E, et al.                                                     needed                                                                                                   outcomes, as         checked, July 26,
Gabapentin for Neuropathic Cancer                                               Treatment Duration: ten days                                                                             the outcomes         2008
Pain - A Randomized Controlled                                                  Dose: Gabapentin was titrated from 600 mg/day – 1800 mg / day                                            are not similar to
Trial from the Gabapentin Cancer                                                                                                                                                         any other study..
Pain Study Group. J. Clin Oncology
2004; 22: 2909-17
13) 2000-2001 Gomez Perez            Gomez-Perez                  PDPN          Study Size: 421 screened, 339 randomized – 170 to Gabapentin fixed dose, 160 to              No          Open label           Detailed summary
LADPN                                Br. J. Diabetes Vasc. Dis.                 Gabapentin titration dose.                                                                               Latin American       table analysis
945-411                              2004                                       Treatment Duration: 7 weeks (open label)                                                                 study (LADPN)        completed &
PFIZER_LKNAPP_0006623                                                           Dose: fixed dose of 900 mg/day or titrated to a maximum of 3600 mg/day                                   ††                   checked, July 22,
Gomez-Perez FJ, Perez-                                                                                                                                                                                        2008
Monteverde A et al. Gabapentin for                                                                                                                                                       Unsuitable for
the treatment of painful diabetic                                                                                                                                                        meta-analysis,
neuropathy: dosing to achieve                                                                                                                                                            as there is no
optimal clinical response. Br. J.                                                                                                                                                        placebo group.
Diabetes Vasc. Dis. 2004; 4: 173-8                                                                                                                                                       May provide
                                                                                                                                                                                         some insight
OPEN LABEL                                                                                                                                                                               into dose-
                                                                                                                                                                                         dependent
                                                                                                                                                                                         toxicity.




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Study Number, Date of study            Lead Investigator             Indication    Details                                                                                   Results     Comment            Study Detail
Document Number                        Publication Name                                                                                                                      Submitted                      Summary
                                                                                                                                                                             to the                         Completed
                                                                                                                                                                             FDA
14) ? 2002 Levendoglu                  Levendoglu                    NeP after                                                                                                           ††                 Detailed summary
Levendoglu F, Ogun CO., et al.         Spine 2004                    spinal cord                                                                                                                            table analysis
Gabapentin Is A First Line Drug for                                  injury                                                                                                                                 completed &
the Treatment of Neuropathic Pain                                                                                                                                                                           checked, July 26,
in Spinal Cord Injury. Spine 2004;                                                                                                                                                                          2008
743-751.



15) 2001-2003 Gilron                   Gilron                        PHN and       Study Size: A four-period crossover trial for which 86 patients were screened, 57 were                Comparator         Detailed summary
Gilron I, Bailey JM et al. Morphine,   N Engl J Med 2005             PDPN          randomized to one of four treatment sequences which included Gabapentin, Morphine,                    Study v.           table analysis
Gabapentin, or their Combination                                                   Placebo (active, lorazepam), and Gabapentin-Morphine combination.                                     Morphine and       completed &
for Neuropathic Pain. N Engl J Med                                                 Treatment Duration: Each treatment was given for 5 weeks.                                             lorazepam as       checked, July 22,
2005; 352:1324 – 34.                                                               Dose: Target daily dose ceilings were 120 mg/day for morphine treatment, 2400 mg/day                  active placebo     2008
                                                                                   Gabapentin and 60 mg/day morphine for Gabapentin-Morphine combination, 3200 mg/day
                                                                                   Gabapentin for Gabapentin treatment, and 1.6 mg/day lorazepam for placebo.
16) 2002-2003 Parsons                  Unpublished – not on CD       PDPN          Study Size: 724 screened, 389 randomized – 189 to P, 200 to G                             ?           Unpublished        Detailed summary
945-1008                               (available as paper copy of                 Treatment Duration: 2 weeks titration, 12 weeks fixed dose (14 weeks total after 1 week               USA study in 43    table analysis
PFIZER – PhrmaWebSynopsis-             final report), no                           run-in)                                                                                               primary care       completed &
Final-2 June 2005 and PFIZER –         appendices available …                      Dose: Titrated to 3600 mg/day or maximum tolerated dose (at least 1800 mg/day)                        “centres” –        checked, July 22,
Bruce Parsons, Guy Cohen-24            found by Greene &                                                                                                                                 referred to        2008
March 2005                             Hoffman …                                                                                                                                         obliquely during
                                       “Phase 4” of development                                                                                                                          Pfizer marketing
                                                                                                                                                                                         efforts for
                                                                                                                                                                                         Neurontin - ?
                                                                                                                                                                                         marketing
                                                                                                                                                                                         study††




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Study Number, Date of study           Lead Investigator          Indication   Details                                                           Results     Comment      Study Detail
Document Number                       Publication Name                                                                                          Submitted                Summary
                                                                                                                                                to the                   Completed
                                                                                                                                                FDA
17) 2002-2005 Chandra                 Chandra                    PHN          Study Size: 110 screened, 76 randomized: NT=38, G=38                          No placebo   Detailed summary
(partially Pfizer supported)          International Journal of                Treatment Duration: 1 week run-in, 8 weeks parallel group study               group.††     table analysis
Chandra K, Shafiq N et al.            Clinical Pharmacology &                 Dose: titrated to NT = 150 mg/d; G= 2700 mg/d                                              completed &
Gabapentin versus Nortriptyline in    Therapeutics 2006                                                                                                                  checked, July 22,
post-herpetic neuralgia patients: a                                                                                                                                      2008
randomized, double-blind clinical
trial – The GONIP trial.
International Journal of Clinical
Pharmacology & Therapeutics
2006; 44: 358-63




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Study Number, Date of study            Lead Investigator       Indication         Details                                                                                    Results     Comment            Study Detail
Document Number                        Publication Name                                                                                                                      Submitted                      Summary
                                                                                                                                                                             to the                         Completed
                                                                                                                                                                             FDA
18) 2002-2003 Rao                      Rao                     Cancer             DBR crossover trial (independent, supported by North Central Cancer Treatment                          Very complex       Detailed summary
Rao RD, Michalak JC et al. Efficacy    Cancer 2007             chemotherapy-      Group and Mayo Clinic and US Public Health Service grants) – gabapentin vs.                            and unusual        table analysis
of Gabapentin in the Management                                induced            placebo                                                                                                statistical        completed &
of Chemotherapy-induced                                        peripheral         Study size: 115 eligible patients screened, 115 randomized between March 2002 and                      analysis with      checked, July 22,
                                                               neuropathy
Peripheral Neuropathy: A Phase 3                                                  December 2003 to placebo = 58, gabapentin = 57                                                         few                2008
Randomized, Double-Blind,                                                         Study duration: 2 x 6 weeks, 2-week washout between periods                                            completers.
Placebo-controlled, Crossocver Trial                                              Dose: titration to target of 2700 mg/day over 3 weeks                                                  Most outcomes
(N00C3) Cancer 2007; 110: 2110-                                                                                                                                                          not suitable for
18                                                                                                                                                                                       meta-
                                                                                                                                                                                         analysis.††
19) 2001-2004 Rintala                  Rintala                 Chronic            DBR triple crossover trial (independent, supported by US Department of Veterans                        Very complex       Detailed summary
Rintala DH, Holmes SA et al.           Arch Phys Med Rehabil   neuropathic        Affairs, VHARRDS grant) – gabapentin vs. amitriptyline vs. diphendydramine a(s                         and unusual        table analysis
Comparison of the Effectiveness of     2007                    pain after         active placebo), plus oxycodone 5 mg/acetaminophen 325 mg up to 8 tablets/day for                      statistical        completed &
Amitriptyline and Gabapentin on                                spinal cord        “breakthrough pain”                                                                                    analysis with      checked, July 23,
Chronic Neuropathic Pain in                                    injury             Study size: screened 50, randomized 38 to 6 groups taking 3 drugs in different sequences               few                2008
Persons with Spinal Cord Injury.                                                  Study duration: 3 x 9 weeks, titrated to maximum dose, then tapered down, then 1 week                  completers.
Arch Phys Med Rehabil 2007; 88:                                                   washout between periods                                                                                Many
1547-60                                                                           Dose: gabapentin to maximum of 3600 mg/day, amitriptyline to maximum of 150 mg/day,                    outcomes not
                                                                                  diphenhydramine at 75 mg/day after titration                                                           suitable for
                                                                                                                                                                                         meta-analysis
                                                                                                                                                                                         ††
20) ? 2003 Hahn                        Hahn                    HIV-associated     DBRCT (supported and apparently designed by Pfizer as 0945-00S-P02)                                    Small trial        Detailed summary
                                                               distal-symmetric
Pfizer 0945-00S-P02                    J Neurol 2004                              Study size: screened ?, randomized 26 to P=11, G=15                                                    which reports      table analysis
                                                               polyneuropathy
Hahn K, Arendt G, et al. A placebo-                                               Study duration: 4 weeks, titrated to maximum dose                                                      median (rather     completed &
controlled trial of gabapentin for                                                Dose: gabapentin to maximum of 2400 mg/d                                                               than mean)         checked, July 27,
painful HIV-associated sensory                                                                                                                                                           pain scores.       2008
neuropathies. J. Neurol 2004; 251 :                                                                                                                                                      Submitted in
1260-6                                                                                                                                                                                   2003 but dates
                                                                                                                                                                                         of study not
                                                                                                                                                                                         shown.
                                                                                                                                                                                         ††




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Study Number, Date of study            Lead Investigator        Indication      Details                                                                              Results     Comment   Study Detail
Document Number                        Publication Name                                                                                                              Submitted             Summary
                                                                                                                                                                     to the                Completed
                                                                                                                                                                     FDA
21) 2003-2006 Arnold                   Arnold                   Fibromyalgia    DBRCT (supported by U.S. NIH grant)                                                              ††        Detailed summary
Arnold LM, Goldengerg DL et al.        Arthritis & Rheumatism                   Study size: screened 252, randomized 150 to P=75; G=75                                                     table analysis
Gabapentin in the Treatment of         2007                                     Study duration: 12 weeks, titrated to maximum tolerated dose                                               completed &
Fibromyalgia : A Randomized,                                                    Dose: gabapentin to maximum of 2400 mg/d                                                                   checked, July 27,
Double-Blind, Placebo-Controlled                                                                                                                                                           2008
Multicenter Trial. Arthritis &
Rheumatism. 2007 ; 56 : 1336-44
22) 2006 (or earlier) Kimos            Kimos                    Chronic         DBRCT (supported by University of Alberta, gabapentin provided by Pharmascience                  ††        Detailed summary
Kimos P, Biggs C et al. Analgesic      Pain 2007                masticatory     Inc.)                                                                                                      table analysis
action of gabapentin on chronic pain                            myalgia         Study size: screened 79, randomized 50 to P=25; G=25                                                       completed &
in the masticatory muscles : A                                  (CMM)           Study duration: 12 weeks                                                                                   checked, July 27,
randomized controlled trial. Pain                                               Dose: gabapentin to maximum of 4200 mg/d                                                                   2008
2007; 107: 151-60

Trials added late in review, NOT
numbered consecutively by date
of performance
23) ? 2000 (or earlier) McCleane       McCleane                 Low back        DBRCT (no support identified, appears independent Northern Ireland hospital-                     ††        Detailed summary
McCleane GJ. Does gabapentin           The Pain Clinic 2001     pain                     based)                                                                                            table analysis
have an analgesic effect on                                                     Study size: screened ?, randomized 80 (P=40, G=40)                                                         completed &
background, movement and                                                        Study duration: 2 week run-in to baseline, then 6 weeks                                                    checked, August 6,
referred pain ? A randomized,                                                   Dose: titration to G=1200 mg/d                                                                             2008
double-blind, placebo controlled
study. The Pain Clinic 2001; 13:
103-7
24) 1999-2003 Smith                    Smith                    Phantom         DBR crossover trial (supported by private donor grant to Harbourview Medical                     ††        Detailed summary
Smith DG, Ehde DM et al. Efficacy      JRRD 2005                limb/residual         Centre for Limb Loss Research and US National Institute of Child Health and                          table analysis
of gabapentin in treating chronic                               limb post-            Human Development and National Institute of Neurological Disorders and                               completed &
phantom limb and residual limb                                  amputation            Stroke grant PO1 HD/NS33988)                                                                         checked, August 7,
pain. JRRD (Journal of                                          pain            Study size: screened 78, randomized 24 to P/G=13, G/P=11                                                   2008
Rehabilitation Research &                                                       Study duration: total 17 weeks - 6 weeks for each active treatment, 5 week washout
Development) 2005; 42: 645-54                                                   Dose: titration to maximum of G=3600 mg/d




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Study Number, Date of study            Lead Investigator             Indication       Details                                                                                      Results         Comment            Study Detail
Document Number                        Publication Name                                                                                                                            Submitted                          Summary
                                                                                                                                                                                   to the                             Completed
                                                                                                                                                                                   FDA
25) 2002-2005 Nikolajsen               Nikolajsen                    Postamputati     DBRCT parallel (supported by a grant from Pfizer Denmark)                                                    ††                 Detailed summary
Nikolajsen L, Finnerup N et al. A      Anesthesiology 2005           on pain          Study size: screened ?, randomized 46; P=23, G=23, “completed” 41                                                               table analysis
Randomized Study of the Effects of                                   (prophylaxis     Study duration: 30 days treatment to pre-specified primary outcome, then follow-up to 6                                         completed &
Gabapentin on Postamputation                                         and                                 months post-amputation                                                                                       checked, August 6,
Pain. Anesthesiology 2006; 105:                                      treatment)       Dose: titration to G=1200 mg/d or G=2400 mg/d depending on kidney function                                                      2008.
1008-15

†† denotes studies not contained in the Cochrane Systematic Review 2005
Indications: PDPN: painful diabetic peripheral neuropathy; PHN: post-herpetic neuralgia; NeP: „neuropathic pain‟; POPP: „post-operative pain‟; SCP: “spinal cord pain” after traumatic spinal cord injury; CIPN: cancer chemotherapy-
induced peripheral neuropathy
NB: Numbering of studies is consecutive for this matrix by apparent chronology of study performance (except for final trials identified after others had been labeled)




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                                GABAPENTIN PROJECT PAIN STUDIES SUMMARY MATRIX – FINAL – AUGUST 8, 2008, THOMAS L. PERRY, M.D.
                                                                                            ACUTE PAIN
                                      TRIALS SUITABLE FOR DETAILED REVIEW BUT NOT FOR META-ANALYSIS
                   N.B. – MANY DIFFERENT OUTCOMES, VARYING DURATION OF THERAPY (SEE INDIVIDUAL TRIAL SUMMARY TABLES)
                                                                                         (SEE NOTES AT END OF TABLE)




Study Number                       Lead Investigator         Indication      Details                                                                         Resul Comment                 Study Detail Summary
Document Number                    Publication Name                                                                                                          ts                            Completed
                                                                                                                                                             Subm
                                                                                                                                                             itted
                                                                                                                                                             to the
                                                                                                                                                             FDA
Acute 1) 1999 Scirex               Scirex Corporation,       Postoperative   Study Size: Parallel design to evaluate Gabapentin vs. or in combination with   No    Combination product,    Not suitable for meta-
1032-001                           Austin, Texas             Dental Pain     Naproxen. 563 screened, 483 randomized to one of the following combinations:          “CI-1032” (gabapentin   analysis – outcomes not
720-04378.pdf                                                                    1. Placebo: n=52                                                                  + naproxen              comparable. Summary
720-04378_Correction_Memo.pdf                                                    2. Gabapentin 250 mg: n = 50                                                      combination) for        tables prepared by K.
                                                                                 3. Gabapentin 125 mg and Naproxen Sodium 125 mg: n = 50                           nociceptive pain††      Innes, checked by Dr. T.
                                                                                 4. Gabapentin 250 mg and Naproxen Sodium 125 mg: n = 52                                                   Perry.
                                                                                 5. Gabapentin 125 mg and Naproxen Sodium 250 mg n=50                                                      Reviewed July 30, 2008.
                                                                                 6. Gabapentin 250 mg and Naproxen Sodium 250 mg. n = 50
                                                                                 7. Naproxen Sodium 125 mg – n=50
                                                                                 8. Naproxen Sodium 250 mg- n=50
                                                                                 9. Naproxen Sodium 550 mg – n=79

                                                                             Treatment Duration: patients received 1 dose of study medication
                                                                             Dose: See above.




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Study Number                      Lead Investigator         Indication          Details                                                                           Resul Comment                  Study Detail Summary
Document Number                   Publication Name                                                                                                                ts                             Completed
                                                                                                                                                                  Subm
                                                                                                                                                                  itted
                                                                                                                                                                  to the
                                                                                                                                                                  FDA
Acute 2) 1999-2000 Moskowitz,     Moskowitz, Sunshine,      Acute               Study Size: 441 patients were screened 262 patients were randomized to receive:   No    Combination product;     Not suitable for meta-
Sunshine, Schnitzer et al         Schnitzer et al           Osteoarthritis                                                                                              “CI-1032” (gabapentin    analysis – outcomes not
                                                            Pain of the            Phase 1       Phase 2 (Day    N randomized to this                                   + naproxen               comparable. Summary
1032-002                                                    Knee                   (Day 1)          2–28)               group                                           combination) for         tables prepared by K.
720-04479.pdf                                                                      Placebo       Placebo BID              53                                            nociceptive pain††       Innes, checked by Dr. T.
                                                                                                  G – 125 mg                                                                                     Perry.
                                                                                 G – 125 mg
                                                                                                 NS – 250 mg              52                                                                     Reviewed July 30, 2008.
                                                                                 NS – 250 mg
                                                                                                      BID
                                                                                                  G – 125 mg
                                                                                  G – 125 mg     NS – 250 mg              51
                                                                                                      BID
                                                                                                  G – 125 mg
                                                                                 NS – 250 mg     NS – 250 mg              54
                                                                                                      BID
                                                                                                 NS – 550 mg
                                                                                 NS – 550 mg                              52
                                                                                                      BID
                                                                                Treatment Duration: 4 weeks
                                                                                Dose: See above.
Acute 3) 2000 Moskowitz,          Moskowitz, Sunshine,      Osteoarthritis of   Study Size: N = 212 for this open label study continuing from above (002).        No    Combination product;     Not suitable for meta-
Sunshine, Schnitzer et al         Schnitzer et al           knee                     169 continued from 002 study,                                                      “CI-1032” (gabapentin    analysis – outcomes not
1032-003                                                                             43 screen fails from 002/completed 002 addendum A/de novo patients.                + naproxen               comparable. Summary
720-30044_(Official).pdf                                                        Treatment Duration: No minimum time.                                                    combination) for         tables prepared by K.
                                                                                Dose: Either (Gabapentin 125 mg in combination with Naproxen Sodium 250 mg)             nociceptive pain††       Innes, checked by Dr. T.
OPEN LABEL CONTINUATION                                                         BID or (Gabapentin 250 mg in combination with Naproxen Sodium 500 mg) BID.                                       Perry.
STUDY                                                                                                                                                                                            Reviewed July 30, 2008.
Acute 4) Scirex Corporation       Scirex Corporation,       Postoperative       Study Size: 375 patients screened, 325 patients randomly assigned to              No    Combination product;     Not suitable for meta-
1035-001 Addendum B, RR 720-      Austin, Texas             Dental Pain             1. Placebo: n=51                                                                    “CI-1035” (gabapentin    analysis – outcomes not
04455                                                                               2. Gabapentin 250 mg/hydrocodone 10mg: n=75                                         + hydrocodone) for       comparable. Summary
720-04455.pdf                                                                       3. Gabapentin 250 mg: n=77                                                          nociceptive pain††       tables prepared by K.
720-04483_(Official).pdf                                                            4. Hydrocodone 10 mg: n=76                                                                                   Innes, checked by Dr. T.
                                                                                    5. Acetaminophen 1000 mg/hydrocodone 10 mg: n=46                                    ? different numbers in   Perry.
NB: Official study report uses                                                  Treatment Duration: Single dose                                                         original and official    Reviewed July 30, 2008.
different numbers from original                                                 Dose: See above.                                                                        study reports?
study report.


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APPENDIX - GABAPENTIN PROJECT Pain Studies Summary Matrix - FINAL – August 8, 2008, Thomas L. Perry, M.D.                                                                                                                                13 of 17

Study Number                            Lead Investigator            Indication           Details                                                                                   Resul Comment                         Study Detail Summary
Document Number                         Publication Name                                                                                                                            ts                                    Completed
                                                                                                                                                                                    Subm
                                                                                                                                                                                    itted
                                                                                                                                                                                    to the
                                                                                                                                                                                    FDA
Acute 4b) Scirex Corporation            Scirex Corporation,          Postoperative        Study Size: 140 patients screened, 101 patients randomly assigned to                      No        Combination product;        Not suitable for meta-
1035-001 Addendum B, RR 720-            Austin, Texas                Dental Pain              6. Placebo: n=20                                                                                “CI-1035” (gabapentin       analysis – outcomes not
04483                                                                                         7. Gabapentin 250/hydrocodone 5mg: n = 20 patients.                                             + hydrocodone) for          comparable. Summary
720-04455.pdf                                                                                 8. Gabapentin 125 mg/hydrocodone 10 mg: n = 20                                                  nociceptive pain††          tables prepared by K.
720-04483_(Official).pdf                                                                      9. Gabapentin 500 mg/hydrocodone 10 mg: n = 20                                                                              Innes, checked by Dr. T.
                                                                                              10. Gabapentin 500 mg: n= 21                                                                    ? different numbers in      Perry.
NB: Official study report uses                                                            Treatment Duration: Single dose                                                                     original and official       Reviewed July 30, 2008.
different numbers from original                                                           Dose: See above.                                                                                    study reports?
study report.
Acute 5) 1999-2000 Sunshine A,          Sunshine A, Katz JA          Postoperative        Study Size: patients assigned to 1 of four treatment groups                               No        Combination product;        Not suitable for meta-
Katz JA                                 Unpublished                  Pain Following            1. Placebo: n = 49                                                                             “CI-1035” (gabapentin       analysis – outcomes not
1035-002                                                             Major                     2. Gabapentin 250 mg, Hydrocodone 10 mg: n = 51                                                + hydrocodone) for          comparable. Summary
720-04471.pdf                                                        Orthopedic                3. Gabapentin 250 mg: n = 50                                                                   nociceptive pain††          tables prepared by K.
                                                                     Surgery                   4. Hydrocodone 10 mg: n = 50                                                                                               Innes, checked by Dr. T.
                                                                                          Treatment Duration: Single Dose                                                                                                 Perry.
                                                                                          Dose: See above.                                                                                                                Reviewed July 30, 2008..
Acute 6) 2002-2003 Berry               Berry                     Acute herpes             DBR crossover trial (independent, supported by investigator-initiated grant                    Interesting study but            Not suitable for meta-
Berry JD, Peterson KL. A single        Neurology 2005            zoster                   from Pfizer, no Pfizer involvement in study according to report) – gabapentin                  medians, not means               analysis. Outcomes not
dose of gabapentin reduces acute                                                          vs. placebo                                                                                    are reported, and only           comparable. Detailed
pain and allodynia in patients with                                                       Study size: 26 patients enrolled November 2002-December 2003                                   applies to 6 hours after         summary table analysis
herpes zoster. Neurology 2005; 65:                                                        Study duration: single dose on two occasions separated by at least 24 hours                    single dose. ††                  completed & checked,
444-447                                                                                   Dose: 900 mg single dose                                                                                                        July 27, 2008
†† denotes studies not contained in the Cochrane Review
Indications: PDPN: painful diabetic peripheral neuropathy; PHN: post-herpetic neuralgia; NeP: „neuropathic pain‟; POPP: „post-operative pain‟; SCP: “spinal cord pain” after traumatic spinal cord injury; CIPN: cancer chemotherapy-
induced peripheral neuropathy
NB: Numbering of studies is consecutive for this matrix by apparent chronology of study performance.

Notes: Acute pain trials cannot be meta-analysed with chronic pain. The above are all outpatient trials or include a significant post-operative component which is likely to be relevant to outpatient practice and/or understanding of role of
gapapentin in typical outpatient-treated pain . There are various published trials (and ? unpublished, not available trials) describing use of gabapentin vs. placebo for pre-operative and post-operative use in the hospital setting, typically for
up to a few hours after general anesthesia. These may be relevant to hospital care, but are not relevant to outpatient treatment of pain. Typically these studies measure total opioid consumption and/or short term pain and cannot rationally
be compared with the above studies. They are also even more difficult to interpret (see McQuay, HJ, Poon KH et al. Acute pain: combination treatments and how we measure their efficacy. Br. J. Anesthesia 2008; 101: 69-76), and
typically do not consider hard outcomes (mortality, SAE, length of hospital stay, etc.) relevant to the situation.



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                                GABAPENTIN PROJECT PAIN STUDIES SUMMARY MATRIX – FINAL – AUGUST 8, 2008, THOMAS L. PERRY, M.D.
                                                CHRONIC PAIN (AND ACUTE PAIN, #4)
       TRIALS REVIEWED IN DETAIL BUT EXCLUDED FROM META-ANALYTIS BECAUSE OF POOR METHODOLOGY, QUESTIONABLE VALIDITY,
                                   OR MISCELLANEOUS REASONS (see comments) - (SEE NOTES AT END OF TABLE)




Study Number                          Lead Investigator      Indication         Details                                                              Results      Comment                         Study Detail
Document Number                       Publication Name                                                                                               Submitted to                                 Summary
                                                                                                                                                     the FDA                                      Completed
Excluded 1) ? 2001 Tai                Tai                    Traumatic spinal   DBR crossover trial (independent, supported by American Academy                  Only 7 patients crossed          Not suitable for meta-
Tai, Q, Kirshblum S, et al.           J Spinal Cord Med      cord injury        of Physical Medicine and Rehabilitation research award and Eastern               over. Results are not            analysis. Summary
Gabapentin in the Treatment of        2002                                      Paralyzed Veterans Association) – gabapentin vs. placebo                         suitable for meta-analysis       analysis completed
Neuropathic Pain after Spinal Cord                                              Study size: 7 patients                                                           and are of questionable          and reviewed July 22,
Injury: A Prospective, Randomized,                                              Study duration: 2 x 4 weeks, 2 week washout between periods                      validity.                        2008. Co-reviewers
Double-blind, Crossover Trial. J.                                               Dose: titration from 600-1800 mg/day                                                                              agree we should not
Spinal Cord Med 2002; 25; 100-5                                                                                                                                                                   include this trial in
                                                                                                                                                                                                  meta-analysis
                                                                                                                                                                                                  because it is too
                                                                                                                                                                                                  seriously flawed to
                                                                                                                                                                                                  draw any reasonable
                                                                                                                                                                                                  conclusions.
Excluded 2) ? 2000 Perez (HE)         Perez HE, Sanchez      PDPN               Reported as DBRCT (apparently independent, no description)           ?           < 1 page letter to the editor,   Not suitable for meta-
No sponsorship indicated              GF                                        Study size: 32 patients; P=15, G=17, parallel design                             unreliable study. Although       analysis. Detailed
Perez HE, Sanchez GF.                 Am. J. Medicine 2000                      Treatment Duration: 3 months (reported as 1 month)                               this was accepted for meta-      summary table
Gabapentin Therapy for Diabetic                                                 Dose: titrated to pain relief or 1200 mg/day                                     analysis by Wiffen et al         analysis completed
Neuropathic Pain (letter). American                                                                                                                              (2005), we do not feel this is   and reviewed, July
J Medicine 2000; 108: 689                                                                                                                                        a credible trial, given          22, 2008. Co-
                                                                                                                                                                 reporting at 1 month and         reviewers agree we
                                                                                                                                                                 absence of any detailed          should not include
                                                                                                                                                                 methodology including            this trial in meta-
                                                                                                                                                                 description of                   analysis because we
                                                                                                                                                                 randomization/blinding.          cannot be certain
                                                                                                                                                                                                  that methodology
                                                                                                                                                                                                  and results are
                                                                                                                                                                                                  reliable.


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APPENDIX - GABAPENTIN PROJECT Pain Studies Summary Matrix - FINAL – August 8, 2008, Thomas L. Perry, M.D.                                                                                                                  16 of 17

Study Number                           Lead Investigator       Indication           Details                                                                    Results      Comment                             Study Detail
Document Number                        Publication Name                                                                                                        Submitted to                                     Summary
                                                                                                                                                               the FDA                                          Completed
Excluded 3) ? performed at all (?      Simpson                 PHN                  See original publication                                                   See original      This study may never have      Not suitable for meta-
2000 or earlier) Simpson               J. Clin                                                                                                                 publication and   existed. Dr. Dworkind had      analysis. We cannot
Simpson DA. Gabapentin and             Neuromuscular Dis                                                                                                       Pfizer e-         serious concerns that the      confirm that this is a
Venlafaxine for the treatment of       2001                                                                                                                    correspondene     trial could not have been      genuine study. No
painful diabetic neuropathy. J. Clin                                                                                                                           with Dr. R.       performed as reported.         detailed study
Neuromuscular Dis 2001; 3: 53-62                                                                                                                               Dworkind,                                        summary prepared –
                                                                                                                                                               Rochester,                                       see Pfizer emails
                                                                                                                                                               N.Y.                                             with Prof. R. Dworkin.
Excluded 4) 1032-004                   Unpublished             Gastroprotection     Study Size: Sub-study of 002. After 1-week of treatment, patients          No                Combination product; “CI-      Not suitable for meta-
720-04481.pdf                                                                       underwent endoscopy to see whether or not Gabapentin protected against                       1032” (gabapentin +            analysis – sub study
                                                                                    Naproxen damage.                                                                             naproxen combination) for      irrelevant to
                                                                                    Treatment Duration: 1 week.                                                                  nociceptive pain††             analgesic effect of
                                                                                    Dose: See data from 002.                                                                                                    gabapentin. No
                                                                                                                                                                                                                detailed study
                                                                                                                                                                                                                summary necessary.
Excluded 5) ? 1999 (or earlier)        McCleane                Mid-line lumbar      DBR crossover trial of gabapentin vs. placebo (appears independent                           Reporting is too incomplete    Not suitable for meta-
McCleane                               The Pain Clinic 2000    back pain with           from 1 Northern Ireland hospital clinic, no discussion of                                to trace patients and thus     analysis.
McCleane GJ. Gabapentin reduces                                local tenderness         sponsorship, trial design)                                                               data cannot be used. ††        Insufficiently
chronic benign nociceptive pain : a                                                 Study size: screened ?, randomized 30 (no further description of numbers                                                    reported to use data.
double-blind, placebo-controlled                                                        Randomized to P/G vs. G/P, 24 apparently completed                                                                      No detailed summary
cross-over study. The Pain Clinic                                                   Study duration: 6 week treatments interrupted by 1 week washout                                                             table prepared due to
2000; 12: 81-5                                                                      Dose: G titrated to < 15 mg/kg (maximum 1800 mg/d)                                                                          lack of time, July 28,
                                                                                                                                                                                                                2008.
Excluded 6) ? 2001 Spira               Spira                   Chronic daily        DBR crossover trial of gabapentin vs. placebo from 12 headache                               Study of gabapentin for        Not suitable for meta-
Spira PJ, Beran RG et al.              Neurology 2003          headache                  clinics in Australia (Parke-Davis support for investigator-                             prophylaxis; outcomes differ   analysis. No detailed
Gabapentin in the prophylaxis of                               prophylaxis               initiated study)                                                                        from other studies (e.g.       summary table
chronic daily headache. A                                                           Study size: screened ?, randomized 133 (P/G=65, G/P=68 in first phase;                       headache-free days) and        prepared due to lack
randomized, placebo-controlled                                                           after washout patients continuing = P/G=52, G/P=56 for second                           are not meta-analysable.       of time, July 28, 2008.
study. Neurology 2003; 61: 1753-9                                                        phase                                                                                   There are many dropouts
                                                                                    Study duration: 8 weeks per phase, as 2 weeks dose titration and                             complicating analysis.
                                                                                         6 weeks stable dose, with 1 week intervening washout                                    WDAE and AE are similar to
                                                                                    Dose: titration to target dose of G=2400 mg/d                                                other studies.††
†† denotes studies not contained in the Cochrane Review
Indications: PDPN: painful diabetic peripheral neuropathy; PHN: post-herpetic neuralgia; NeP: „neuropathic pain‟; POPP: „post-operative pain‟; SCP: “spinal cord pain” after traumatic spinal cord injury; CIPN: cancer chemotherapy-
induced peripheral neuropathy
NB: Numbering of studies is consecutive for this matrix by apparent chronology of study performance.


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APPENDIX - GABAPENTIN PROJECT Pain Studies Summary Matrix - FINAL – August 8, 2008, Thomas L. Perry, M.D.                                                                                      17 of 17


                                     ADDITIONAL ARTICLES REVIEWED BUT NOT SUITABLE FOR META-ANALYSIS


Study Number            Lead Investigator          Indication   Details                                                                        Results        Comment                 Study Detail
Document Number         Publication Name                                                                                                       Submitted to                           Summary
                                                                                                                                               the FDA                                Completed
                        Backonja & Glanzman        --           A review of previously published studies – refers to Reckless as unpublished                  Backonja, Glanzman      We have used the
                        PFIZER_LESLIETIVE_00                    but implies it would be published soon, gives hint of results.                                Clinical Therapeutics   complete reports,
                        38508                                                                                                                                 Dosing Article          including
                                                                                                                                                                                      unpublished
                                                                                                                                                                                      Reckless report
                                                                                                                                                                                      945-224
                        Wiffen PJ, McQuay HJ,      --           The Cochrane report.                                                                          Cochrane Review         To be discussed in
                        Edwards JE, Moore RA.                                                                                                                                         Dr. Perry’s clinical
                        Gabapentin for acute                                                                                                                                          pharmacologic
                        and chronic pain                                                                                                                                              opinion report.
                        (Review). The Cochrane
                        Database of Systematic
                        Reviews 2005, Issue 3.
                        Art. No.: CD005452. DOI:
                        10.1002/14651858.CD00
                        5482
                        Gabapentin for acute and
                        chronic pain.pdf




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                                                                             Study No. 1 - Study Detail Summary and Analysis: Gorson et. Al - Draft by KI, including TLP comments        1
                                                                                                                   Final Version, July 27 2008
                                                                        Study No. 1 - Gorson 1997 - Study Detail Summary and Analysis – Final, July 27, 2008
                                                                        There are four separate reports analyzed within this document:
                                                                            1. the initial report sent to Phil Magistro at Parke-Davis Pharmaceuticals by Kenneth Gorson, M.D.,
                                                                                on August 23rd, 1997 (hereinafter referred to as the August ’97 report)
                                                                            2. an updated / altered version of the initial report distributed as a Parke Davis memorandum dated
                                                                                January 7th, 1998 (hereinafter referred to as the January ’98 report)
                                                                            3. an abstract which was published in the April 1998 issue of Neurology (Volume 50, supplement 4,
                                                                                hereinafter referred to as the abstract)
                                                                            4. a letter to the editor from Gorson et. Al published in February 1999 in The Journal of Neurology,
                                                                                Neurosurgery, and Psychiatry (Volume 66, number 2, hereinafter referred to as the letter to the
                                                                                editor).
                                                                        Both the August 1997 and January 1998 reports clearly state that 53 patients were randomized;
                                                                        however, the later reports state that 19 patients were randomized to the active drug and 21 to
                                                                        placebo during first treatment period for a total of 40 patients. Furthermore, both the abstract and
                                                                        the letter to the editor use the number 40, not 53, when referring to the number of patients in this
                                                                        study and neither make any reference to the thirteen patients who withdrew at various intervals in
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                                                                        the study. These thirteen withdrawals do not seem to have been included in any analyses. The
                                                                        patient flow diagram has been obscured in the PDF version (contents of boxes not viewable) and it is
                                                                        difficult to assemble much information with regard to time point and reason for withdrawal. This is
                                                                        problematic as it indicates that no ITT analysis was performed and also two patients dropped out in phase II
                                                                        meaning that they completed 6 weeks on either placebo or Gabapentin (impossible to tell which), and their
                                                                        results have not been incorporated into the data. The Cochrane 2005 review did not have access to the
                                                                        true ITT numbers.
                                                                        In general patient flow for this trial is unclear. This is, in part, due to the fact that Table 1, reporting
                                                                        the flow of participants contained in the January 1998 report, is obscured. However, what can be
                                                                        seen of this table does not appear to be in the correct format for a crossover trial. We are told that
                                                                        126 patients were screened, 53 were randomized and 13 dropped out, while 40 completed the trial. It
                                                                        is also reported that 11 patients withdrew in phase I, and two more in phase II; eight patients withdrew due
                                                                        to adverse effects, four while taking Gabapentin and four while taking placebo. However, it is impossible to
                                                                        discern when which patients withdrew. For example, it is not stated whether the patients who withdrew
                                                                        while receiving placebo withdrew in phase I before having received active drug, or in phase II after having
                                                                        taken Gabapentin.
                                                                        The reporting of adverse effects as is also unclear. For example, the letter to the editor states that
                                                                        12 in the Gabapentin group and one in the placebo group suffered adverse effects. The earlier
                                                                        reports (August 1997 and January 1998) state that 16 in the Gabapentin group and 5 in the placebo
                                                                        group suffered adverse effects. These earlier reports also state that, as previously mentioned, eight
                                                                        patients withdrew due to adverse effects, but do not say when, or which adverse effects were suffered, by
                                                                        whom. It can be inferred that whatever the effects, they are not properly detailed in the earlier reports as the
                                                                        letter to the editor makes no mention of the eight who withdrew but gives the same numbers as the earlier
                                                                        reports for those who suffered drowsiness (6), fatigue (4) and imbalance (3). Furthermore, different tests
                                                                        were used to assess the incidence of adverse effects with Gabapentin and placebo. The earlier reports used
                                                                        Fisher’s exact test, while the letter to the editor references McNemar’s test. The reason for this is not clear.
                                                                        The August 1997 report, states in Statistical Analysis on page 6 “Because of multiple comparisons, we used
                                                                        the Bonferroni correction and a p-value of < 0.01 was considered statistically significant”. The Statistical
                                                                        Analysis section of the January 1998 report, and for that matter the letter to the editor and the
                                                                        abstract, make no mention of the use of the Bonferroni correction or any other method which can be
                                                                        used to correct for multiple dependant comparisons. Although some might argue that Bonferroni's rule
                                                                        is too conservative, there are clearly multiple, dependant comparisons being performed in this trial (i.e.
                                                                        multiple pain scales analyzed), and therefore, the corresponding p-values should be corrected by some
                                                                        method to account for this. It would also be useful to obtain the initial statistical analysis plan to determine
                                                                        whether or not it was the pre-set plan to use a Bonferroni correction; it would seem safe to assume that it
                                                                        was. The failure to correct for multiple comparisons might seem like a minor detail, however, the p-value for
                                                                        the comparison between Gabapentin and Placebo for the difference in the reduction of the McGill Pain
                                                                        Questionnaire Score (MPQ) was 0.03. With the Bonferronni correction, this p-value is insignificant and the
                                                                        study fails to demonstrate the efficacy of Gabapentin with all three of the pain scales employed (PPI, MPQ,
                                                                        and VAS). However, without correcting for multiple comparisons, the p-value appears significant as it is less
                                                                        than 0.05. It is possible that the sentence in Dr. Gorson’s initial August 1997 study report, referring to the
                                                                        Bonferroni correction, was removed in order to demonstrate Gabapentin effectiveness on the MPQ scale.
                                                                        This assumption is supported by the observation that most of the conclusions made in subsequent reports
                                                                        which support the effectiveness of Gabapentin are based on how MPQ decreased “significantly” more for
                                                                        those in the Gabapentin group.
                                                                                                                                                                                    1 of 11
                                                                             Study No. 1 - Study Detail Summary and Analysis: Gorson et. Al - Draft by KI, including TLP comments          2
                                                                                                                   Final Version, July 27 2008
                                                                        The study protocol, signed by Kenneth Gorson, states that “Subjects will be assessed every 3 weeks for
                                                                        efficacy, safety, and compliance.” However, the January 1998 report reads “Patients were contacted every
                                                                        week by phone to insure adequate dose titration and to assess compliance and adverse effects.
                                                                        Compliance was monitored by pill counting at the end of each treatment period.” The Aug 1997 report is
                                                                        similar to the Jan 1998 report; therefore, there is a clear discrepancy between what was planned and what
                                                                        took place. Additionally, no definition of what, for this study, constituted compliance versus non-compliance;
                                                                        the details and data surrounding compliance are not reported anywhere in the reports except to say that five
                                                                        people withdrew due to non-compliance or personal/other reasons.
                                                                        Narcotics, specifically codeine, were permitted throughout this trial. Specifically ten patients continued to
                                                                        use them throughout. It would seem that no calculations were done to account for the possibility of
                                                                        interaction (either additive or synergistic) between the Gabapentin and the narcotics. This is worrisome as
                                                                        according to an article published by Gilron et. al. in 2005 in the New England Journal of Medicine,
                                                                        Gabapentin may be more effective when combined with morphine and therefore it is possible that narcotic
                                                                        use throughout this trial may have increased the apparent effectiveness of Gabapentin.
                                                                        The protocol implies that pain intensity measured on a Visual Analogue Scale (VAS pain intensity) is the
                                                                        primary variable. Furthermore, the protocol stated that a VAS of pain intensity and a VAS of pain relief
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                                                                        would be recorded daily by subjects in a diary and a weekly mean score for each VAS would be calculated
                                                                        for each week of the treatment period. The August 1997 report states that “At the beginning and end of
                                                                        each treatment period, patients rated their typical level of pain over the preceding week on a 10 cm visual
                                                                        analog pain scale (VAS) ...A composite VAS score was determined by averaging the daily VAS scores in
                                                                        the first and last week of each treatment period.” The January 1998 report states “At the beginning and end
                                                                        of each treatment period, patients rated their level of pain over the preceding 24 hours on a 10 cm visual
                                                                        analog pain scale (VAS)” This report makes no mention of how the composite score was calculated.
                                                                        Therefore, not only are the August 1997 and the January 1998 reports themselves different, but neither
                                                                        make any mention of a VAS pain relief score or about calculating VAS each week.
                                                                        Crossover designs often have greater power than parallel group designs with more patients so long as
                                                                        withdrawal rates are not too high, the underlying disease is not rapidly changing, and the washout period is
                                                                        adequate. The dropout rate in this study does not seem unreasonably high, in comparison with other
                                                                        crossover trials. PDPN is not rapidly changing and other crossover designs have been employed in clinical
                                                                        trials involving PDPN. Therefore, the main issue to be addressed is whether or not the washout was
                                                                        adequate. The January 1998 report, the August 1997 report, and the letter to the editor all state that the
                                                                        MPQ and VAS scores did not return to baseline after the washout period for those who received the active
                                                                        drug in phase I. The January 1998 report uses this supposed inadequate washout as evidence that a
                                                                        parallel study might have detected more benefit in Gabapentin group (see page 8, discussion). However,
                                                                        the baseline MPQ fell from 36.0 (SD = 16.8) to 33.1 (SD = 13.9). The baseline VAS scores fell from 6.5 (SD
                                                                        = 2.4) to 6.3 (SD = 2.2). No standard deviation for the differences is given so a paired T-test is not possible
                                                                        without more information; however, since it is not stated that the difference from baseline was statistically
                                                                        significant it seems safe to assume that it most likely wasn’t, inspection of the results don’t indicate a large
                                                                        difference. Furthermore, given the short half-life of Gabapentin and the small difference between the
                                                                        baseline values it is safe to assume that the washout was indeed adequate. Therefore, a crossover design
                                                                        was probably sufficient to detect benefit; especially given the power of the study was predetermined to be
                                                                        80% (using VAS pain intensity) so long as 40 people completed the study, which they did. Consequently
                                                                        there was a low probability of not detecting a benefit when one is present. Additionally, several crossover
                                                                        studies involving Gabapentin have employed washout periods of three weeks or less (Gilron, Nordic Study)
                                                                        and did not site inadequate washouts.
                                                                        According to page 7 of the January 1997 report, there was a treatment order effect for the Present Pain
                                                                        Intensity Score (PPI). It is not stated what this effect was or whether or not it was statistically significant but
                                                                        that fact that it’s statistical significance is not included would seem to point to insignificance. If in fact there
                                                                        was a failure to return to baseline for the MPQ / VAS scores for those given the active drug in phase 1, and
                                                                        there was a significant order effect for PPI, it could be due to the fact that an inactive placebo was used
                                                                        which lead to unblinding. According to all the reports, a significantly higher proportion of patients suffered
                                                                        adverse effects on Gabapentin than on the placebo. Although the reports were unclear as to the adverse
                                                                        effects suffered by those on placebo, it would seem that those not in common with placebo included
                                                                        drowsiness, fatigue, and imbalance. Therefore, it is probable that certain patients, as well as their assessing
                                                                        physicians, were able to determine in which phase they were on the active drug which could easily have
                                                                        affected baseline scores and order effects.
                                                                        One final point, the table included in the letter to the editor is analogous to Table 3 in the August 1997 report
                                                                        (Table 4 in the January 1998 report). However the “standard deviations” listed in the letter to the editor do
                                                                        not match those in the earlier reports and have in fact, been divided by square root of 40, the sample size
                                                                        after withdrawals. Therefore, the values in this table, although falsely labelled, are the standard error of their
                                                                        corresponding estimates. It should be noted that it is preferable and conventional to report a mean with it’s
                                                                        standard deviation, not it’s standard error.
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Study / Design / Dates          Inclusion Criteria /                Intervention(s),                   Predefined Outcomes / Issues               Outcomes Hierarchy (Cochrane, Comments / Conclusions of Kelsey Innes
                                Baseline Characteristics            Experimental Design, N of          in Statistical Analysis                    investigators: primary /
                                                                    Subjects Randomized                                                           secondary)
                                                                    (ITT) / N Who Completed
                                                                    Study
Study No. 1                     Painful diabetic neuropathy.                                           Predefined Outcomes:                       1. Mortality                                1. This study reports NO DIFFERENCE in the
Kenneth C. Gorson, M.D.                                             Study Design:                                                                                                                pre-defined primary endpoint (change from
PDPN                            Inclusion Criteria:                                                    Predefined outcomes were                   Although none of the reports                   baseline to study endpoint in VAS 10-point
                                • Age between 18 and 85             Phase I (6 weeks):                 1. MPQ                                     specifically mention mortality, the            pain scale): P=1.4 (0.3), G=1.8 (1.4),
Study Design: Prospective,      • Diabetes for at least 6           Patients randomly assigned to      2. VAS Pain Intensity                      reports state that there were no               difference = -0.4 (0.6) favouring G; p=0.42. It
randomized, double-blind,           months on a stable              Gabapentin (300 mg capsules        3. PPI scores                              serious adverse effects (p. 7 of ’98           does not account adequately for early
two-period, crossover trial.        dosage of insulin or oral       initially)                         4. Global assessment of pain relief        report, p. 8 or ’97 report, ¶ 5 of letter      dropouts and it is NOT an ITT nor even an
Study Duration: 6 weeks             hypoglycemic agent                                                     (none, mild, moderate, or              to editor)                                     ITT-LOCF study. The AE clearly suggest
Gabapentin/placebo, 3 week      • A distal symmetrical              Or                                     excellent or 0 = no pain relief, 1                                                    unblinding of the Gabapentin groups, but are
washout period, and 6               sensorimotor neuropathy                                                = slight improvement, 2 =              P = 0/53, G = 0/53                             incompletely reported such that the figures
weeks placebo/Gabapentin            as demonstrated by              Placebo                                moderate improvement, 3 =                                                             reported are at least somewhat unreliable.
                                    impaired pin prick,                                                    complete pain relief, depending        2. Serious Adverse Events                      TLP thinks that it is reasonable to use the
WLC_FRANKLIN_0000100272             temperature, or vibration       Washout (3 weeks):                     on the protocol or the report)                                                        following in meta-analysis, on conservative
WLC_FRANKLIN_0000100273                                             Phase I followed by 3-week                                                    See above                                      grounds that a negative study should not be
WLC_FRANKLIN_0000088375             sensation in both feet or
                                    absent or reduced ankle         washout period.                    None of the reports explicitly state                                                      excluded from meta-analysis where it can still
                                    reflexes.                                                          which was the primary outcome. The         P = 0/53, G = 0/53                             contribute some useful data:
Protocol approved by the
Institutional Review Board at   • All patients had daily pain       Phase II (6 weeks):                reports, seem to focus on MPQ as                                                          • WDAE can be reported as 4/53 and 4/53
                                    in the acral extremities of     Crossover.                         this score changed the most                3. Withdrawals Due to Adverse                       for want of denominator for each group;
St. Elizabeth’s Medical
                                    at least moderate severity                                         significantly with Gabapentin              Events:                                        • AE total can be included by using the
Center.
                                    for greater than three          The dose of Gabapentin or          treatment. The protocol seems to                                                               denominator 40, as Gabapentin AE would
                                    months that interfered          placebo was increased by one       imply that VAS is the primary              G = 4/53, P = 4/53                                  otherwise be significantly larger if
Parke-Davis CBU Phase IV
                                    with daily activity or sleep    capsule every three days to a      outcome as the sample size required                                                            remaining 13 patients had completed;
Protocol signed January 15th
                                    and could be attributed to      stable dosage of one capsule,      was determined with VRS and VAS in         Denominators not apparent, as no               • Specific AE similar to AE reported in other
1996 by Gorson and
                                    the neuropathy                  three times daily (900 mg/day)     mind (page 8 of protocol).                 version of report shows how many                    studies can be included by using
February 2, 1996 by
                                                                    which was maintained through                                                  patients were randomized to P or G                  denominator 40, as above;
Magistro. The document
                                Exclusion Criteria:                 the remainder of the treatment     NB: The 10 point (1-10) Visual             in “phase 1” vs. “phase 2” of                  • VAS pain score mean difference from
was also signed by Ropper
                                • Presence of another               period                             Analog Scale (VAS) is the closest          crossover.                                          baseline to “endpoint” and between-group
but no date is given.
                                    painful condition                                                  equivalent to the 11-point (0-10,                                                              difference may be reported using




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The specific time frame of       •    Cognitive or language                  Flow of Participants:               Likert) Numerical Rating Scale (NRS)                   According to p. 6 of the Aug ’97                   denominator 40, because it is impossible
the study (i.e., date of first        impairment that precluded              The table to contain the flow of    used in most Gabapentin (DBRCT).                       report “one hundred and twenty six                 to know any other denominators from this
patient randomized, date              accurate assessment                    participants (table 1 in Jan ’98    Since it is slightly compressed, (10                   patients were screened and 53                      report.
that last patient took study     •    A history of alcohol or                report) is obscured.                vs. 11 points) a 1 point difference                    fulfilled the entry criteria and were     2. Both the Aug ’97 and Jan ’98 reports clearly
medication) are unclear;              substance abuse,                       126 patients screened.              should theoretically be acceptable as                  randomized…8 patients withdrew due           state that 53 patients were randomized.
however, the protocol states          depression, or other                   53 fulfilled entry criteria and     roughly equivalent to a 1-point                        to adverse effects (four on placebo,         Further on the reports, however, it is stated
that 40 subjects will be              cause for painful                      were randomized.                    difference on the NRS.                                 four on active drug) and five due to         that 19 patients were randomized to the active
randomized to either                  polyneuropathy                         13 dropped out                                                                             non-compliance or personal                   drug and 21 to placebo during first treatment
placebo or treatment                                                         • 11 in phase I, 2 in phase II      MPQ:                                                   reasons.” P. 4 of the Jan ’98 report is      period. And, the abstract / letter to the editor
groups. As is stated by both     *Note that the protocol, pages              • 8 WDAE (4 P, 4 G)                                                                        similar but states that “…five due to        say 40, never 53. The thirteen who withdrew
the Jan ’98 and the Aug ’97      4-5, is much more specific with             • 5 withdrew due to                 Gabapentin Group                                       non-compliance or other reasons”.            do not seem to be included in any analyses,
reports, 53 patients were        regard to the inclusion and                      personal reasons/non-          Baseline: 36.0 (SD = 16.8)                             Why the change? Also, one wonders            especially since two dropped out in phase II
initially randomized, which      exclusion criteria                               compliance (note original      Week Six: 27.1 (SD = 15.5)                             what these personal reasons were.            meaning that at least two completed 6 weeks
makes one wonder whether                                                          report lists personal          P-value < 0.005.                                                                                    on either placebo or Gabapentin (although it
or not this protocol was         Patients taking tricyclic                        reasons as a reason for                                                               The JNNP article makes no mention            does not state which). It is impossible to
approved after the               antidepressants,                                 dropout, in Jan ’98            Placebo Group                                          of the 13 who withdrew and states            discern who withdrew, when, and why. This
completion of the study or if    anticonvulsants, capsaicin                       personal reasons               Baseline: 33.1 (SD = 13.9)                             only “we recruited 40 patients”.             information should have been provided
this 40 is given as it is the    cream, benzodiazepines, and                      changed to other reasons)      Week Six: 31.0 (15.3)                                                                            3. Narcotics were allowed throughout this trial
sample size required to          mexiletine discontinued these                                                   P-value: 0.33                                          The abstract also makes no mention           (10 patients continued to use throughout the
achieve 80% power.               medications three weeks                     Other info regarding dropouts?                                                             of the 13 who withdrew.                      trial) and no apparent calculations to account
                                 before study entry.                         How come not included in            Change in MPQ:                                                                                      for the possible interaction between narcotics
Date of Study: ?                                                             statistical analysis? No            Gabapentin: 8.9 (SD = 14.5)                            4. Total Withdrawals:                        and Gabapentin. According to NEJM study by
Study completed by Spring        NSAIDS and narcotics (see                   intention to treat analysis Æ       Placebo: 2.2 (SD = 13.8)*                                                                           Gilron, Gabapentin + Morphine more effective
1997.                            protocol page 5 for specific                bias.                               p-value: 0.03                                          There were 13 total withdrawals:             than Gabapentin or Morphine alone, therefore,
Blind broken: ?                  list) were allowed but the                                                      *the mean change for this scale does not reflect       • 8 WDAE (4 while on placebo, 4              use of narcotics (codeine) could have
                                                                                                                 differences between baseline and week 6 from
                                 dosage was kept unchanged                   According to the Aug ’97, the       table 2 due to statistical corrections for order and       while on Gabapentin)                     potentially increased Gabapentin’s apparent
Initial report sent to Phil      during the treatment periods.               Jan ’98 reports and the letter      washout effects                                        • 5 withdrew due to person                   effectiveness.
Magistro at Parke-Davis                                                      to the editor, 19 patients were                                                                reasons or non-compliance but         4. The conclusion in the abstract of the Aug ’97
Pharmaceuticals August           Baseline Characteristics*:                  randomized to active drug and       Notes                                                      none of the reports specify in           report states “Gabapentin, at a dose of 900
                                 *values according to Table 4 of Jan ’98
23rd, 1997.                      report. Table 2 of August ’97 report        21 to placebo in phase 1. The                                                                  which group each of these 5              mg/day, is probably no more effective than
                                 was to contain baseline characteristics     letter to the editor published in   According to the letter to the editor,                     dropped out.                             placebo in the treatment of painful diabetic
Updated / altered report sent    but is absent. The other two articles do
                                                                             Neurology makes no mention          MPQ were recorded at the initial and                                                                neuropathy”. The conclusion in the abstract of
                                 not list baseline characteristics, only
as Parke Davis                   mean change in pain scores.                 of the 13 patients who dropped      final visits of each treatment period.                 5. Total Adverse Events:                     the Jan ’98 report states “Gabapentin may be
memorandum January 7th,                                                                                          This is also implied in both the Aug                                                                effective in the treatment of painful diabetic




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1998.                        MPQ (McGill Pain                    out whatsoever.                    ’97 and Jan ’98 reports. MPQ data          Comment: Because we cannot trace           neuropathy. Our results suggest that further
Published as:                Questionnaire):                                                        collection is not detailed in the          the 13/53 patients who are not             studies evaluating higher dosages of
Abstract published in        P: 33.1 (SD=13.9)                                                      protocol.                                  reported on, we cannot adequately          Gabapentin are warranted.”
Neurology, April 1998        G: 36.0 (SD=16.8)                                                                                                 assess the total number of Adverse      5. The protocol states that “Subjects will be
(Volume 50(4) Supplement                                                                            Note: for those who received active        events for the whole trial.                assessed every 3 weeks for efficacy, safety,
4)                           VAS (Visual Analog Scale):                                             drug in Phase 1 MPQ score did not                                                     and compliance.” However, the Jan ’98 report
                             P: 6.3 (SD=2.2)                                                        return to baseline after washout. This     Total Patients with Adverse                reads “Patients were contacted every week by
Gorson KG, Schott C et al.   G: 6.5 (SD=2.4)                                                        fact is mentioned twice in the Jan ’98     Events:                                    phone to insure adequate dose titration and to
Gabapentin in the                                                                                   report, no note as to whether or not       According to Aug ’97/Jan ‘98 report        assess compliance and adverse effects.
treatment of painful         PPI (Present Pain Intensity):                                          this failure to return to baseline was     (p. 7)                                     Compliance was monitored by pill counting at
diabetic neuropathy: a       P: 4.1 (SD=3.0)                                                        statistically significant which leads me   G = 16, P = 5, p-value = 0.01 with         the end of each treatment period.” The Aug
placebo controlled, double   G: 4.6 (SD=2.8)                                                        to believe it may not have been.           Fisher’s exact test                        97’s report is similar to the Jan ’98 report.
blind, crossover trial.                                                                                                                                                                   Discrepancy. Also, compliance is not reported
(letter). J Neurol           Notes                                                                  The p-value of 0.03 for the change in      According to letter to the editor          anywhere in the reports except to say that 5
Neurosurg Psychiatry                                                                                mean change in MPQ appears                 G = 12, P = 1, p-value < 0.001 with        people withdrew due to non-compliance or
1999; 66: 251-2              What are the different                                                 significant at first, however, with the    McNemar’s test.                            personal/other reasons. No definition of what
                             numbers for each group (i.e., it                                       Bonferroni correction used to analyse                                                 would have constituted non-compliance is
                             says 53 were randomized, 13                                            the statistics, as mentioned in the        Therefore, assume that G = 16/53, P        given.
                             dropped out, 11 in phase I, 2                                          Aug ’97 report, it is in fact not          = 5/53 (including the 13 withdrawals)   6. With regard to baseline VAS: the protocol
                             in phase II, and 8 WDAE and 5                                          significant, as the Jan ’98 report,        or G = 12 / 40, P = 1 / 40 (not            stated that a VAS of pain intensity and a VAS
                             due to non-compliance or                                               which makes no mention of this             including the non-completers / the 13      of pain relief would be recorded daily by
                             personal reasons)? The report                                          correction, would have you believe.        who withdrew)                              subjects in a diary and a weekly mean score
                             also states that 19 were                                                                                                                                     for each VAS would be calculated for each
                             randomized to active drug                                              VAS                                        Both McNemar’s test and Fisher’s           week of the treatment period. The Aug ‘97
                             while 21 to placebo in phase                                                                                      test seem appropriate, however, it         report states that “At the beginning and end of
                             one, what about the other 13?                                          Gabapentin Group                           seems odd that they have been              each treatment period, patients rated their
                                                                                                    Baseline: 6.5 (SD = 2.4)                   switched, should have used one or          typical level of pain over the preceding week
                             With regard to baseline                                                Week Six: 4.7 (SD = 2.8)                   the other.                                 on a 10 cm visual analog pain scale (VAS)
                             characteristics,                                                       P-value: 0.001.                                                                       ...A composite VAS score was determined by
                             The protocol states that “The                                                                                     Because we cannot trace the 13/53          averaging the daily VAS scores in the first and
                             subjects will also provide a                                           Placebo Group                              patients who are not reported on,          last week of each treatment period.” The Jan
                             verbal rating scale of global                                          Baseline: 6.3 (SD = 2.2)                   we cannot adequately assess total          ‘98 report states “At the beginning and end of
                             assessment of pain at baseline                                         Week Six: 5.0 (2.5)                        patients with AE for the whole trial.      each treatment period, patients rated their
                             and every 2 weeks during the                                           P-value < 0.005                            If we use the following in meta-           level of pain over the preceding 24 hours on a




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treatment period as follows: 0                                                                                    analysis, I suggest the only                  10 cm visual analog pain scale (VAS)” This
= no pain relief, 1 = slight                                           Change in VAS:                             appropriate denominator is 40, but            report makes no mention of how the
improvement…etc”                                                       Gabapentin: 1.8 (SD = 3.1)                 this will omit the WDAE patients              composite score was calculated. Neither the
The Aug ‘97 report states that                                         Placebo: 1.4 (SD = 2.1)                    from the total AE.                            Aug ’97 nor the Jan ’98 reports say anything
“at the end of each treatment                                          P-value = 0.42                                                                           about a VAS pain relief score or about
period patients provided a                                                                                        Specific AE’s:                                calculating VAS each week.
global assessment of pain                                              Notes                                                                                 7. The protocol states that “The subjects will also
relief: none, mild, moderate, or                                                                                  Note that here the denominator is             provide a verbal rating scale of global
excellent, as compared to the                                          There are discrepancies between the        unknown, presumable 40; number of             assessment of pain at baseline and every 2
baseline level of pain                                                 protocol and reports of the study with     patients for placebo, for drowsiness,         weeks during the treatment period as follows:
preceding the trial”.                                                  regard to VAS data collection and          fatigue, and imbalance inferred as 0          0 = no pain relief, 1 = slight
The updated/altered report                                             analysis. See notes in Inclusion           as they are not mentioned in contrast         improvement…etc”. The Aug ’97 report states
states “At the end of each                                             Criteria / Baseline Characteristics        with reporting for other specific AE:         “At the end of each treatment period patients
treatment period patients                                              column                                                                                   provided a global assessment of pain relief:
provided a global assessment                                                                                      Drowsiness:                                   none, mild, moderate, or excellent, as
of pain relief: none, mild,                                            Note: for those who received active        G = 6*                                        compared to the baseline level of pain
moderate, or excellent, as                                             drug in Phase 1 VAS score did not                                                        preceding the trial”. The Jan ’98 report states
compared to the level of pain                                          return to baseline after washout. This     Fatigue:                                      “At the end of each treatment period patients
preceding each pain period.”                                           fact is mentioned twice in the Jan ’98     G=4                                           provided a global assessment of pain relief:
Which is it?? It would seem                                            report, no note as to whether or not                                                     none, mild, moderate, or excellent, as
that the actual study deviated                                         this failure to return to baseline was     Imbalance:                                    compared to the level of pain preceding each
from the protocol here.                                                statistically significant which leads me   G=3                                           treatment period”. Which is it?
                                                                       to believe it may not have been.                                                      8. Also with regard to the Global Assessment of
With regard to baseline VAS:                                                                                      The numbers for drowsiness,                   Pain Relief, patients rated their improvement
Page 5 of the protocol stated                                          As stated in both the Aug ’97 and the      fatigue and imbalance are the same            as none, mild, moderate, or excellent. None
that a VAS of pain intensity                                           Jan ’98 reports, the significant           in the letter to the editor and in the        and mild were then grouped as were moderate
and a VAS of pain relief would                                         improvement in the mean VAS with           Aug ’97, Jan’98, therefore, assume,           / excellent. What was the reason for this?
be recorded daily by subjects                                          placebo underscores the importance         but cannot say for sure that they are         Was this the plan always?
in a diary and a weekly mean                                           of the placebo response in treating        6/40, 4/40, 3/40 respectively. Since       9. On page 6 of the Aug ’97 report, a phrase in
score for each VAS would be                                            painful diabetic neuropathy.               these effects are detailed in the letter      Statistical Analysis section reads “The p-
calculated for each week of                                                                                       to the editor, which makes no                 values presented are two-sided. Because of
the treatment period.                                                  PPI                                        mention of the 13 subjects who                multiple comparisons, we used the Bonferroni
The Aug ‘97 report states that                                                                                    withdrew, one can only assume these           correction and a p-value of < 0.01 was
“At the beginning and end of                                           Gabapentin Group                           do not include the patients who               considered statistically significant”. The




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each treatment period,                                                   Baseline: 4.6 (SD = 2.8)                   withdrew.                                    Statistical Analysis section of the Jan’98 report
patients rated their typical level                                       Week Six: 3.4 (SD = 3.2)                                                                makes no mention of two-sided p-values or the
of pain over the preceding                                               P-value: 0.008                             Diarrhea, tremulousness, ankle               use of the Bonferroni correction. As multiple,
week on a 10 cm visual analog                                                                                       swelling, and cramps                         dependant comparisons are being performed,
pain scale (VAS) ...A                                                    Placebo Group                              G = 2, P = 2                                 the p-value should be corrected to some
composite VAS score was                                                  Baseline: 4.1 (SD = 3.0)                   (Assume this is what is meant by             degree, some say Bonferroni's rule is too
determined by averaging the                                              Week Six: 3.8 (SD = 2.9)                   “…were reported by two patients              conservative but still. In my opinion, the
daily VAS scores in the first                                            P-value: 0.62                              each” – p. 7 )                               Bonferroni correction was removed as, without
and last week of each                                                                                                                                            it, the p-value for the difference in MPQ score
treatment period.”                                                       Change in PPI                              Dizziness, slurred speech, nausea,           reduction between placebo and Gabapentin
The Jan ‘98 report states “At                                            Gabapentin: 1.2 (SD = 2.7)                 and impaired memory.                         groups (P = 0.03) becomes significant, a fact
the beginning and end of each                                            Placebo: 0.3 (SD = 3.1)*                   G = 1, P = 1                                 upon which most of the conclusions which
treatment period, patients                                               P-value: 0.2                               (Assume this is what is meant by             support the effectiveness of Gabapentin is
rated their level of pain over                                           *see above starred notes.                  “One patient each reported…”                 based in this report. With the correction, this p-
the preceding 24 hours on a                                                                                                                                      value is insignificant.
10 cm visual analog pain scale                                           According to the Aug ’97 and Jan ’98       None of the reports specify the          10. The reporting of adverse effects is very
(VAS)” This report makes no                                              reports, the standard deviations for       adverse effects suffered by the 8 who        unclear. For example, the letter to the editor
mention of how the composite                                             the change in MPQ/VAS/PPI are as           withdrew due to adverse effects.             states that 12 in the Gabapentin group and 1
score was calculated. Neither                                            above. The letter to the editor has                                                     in the placebo group suffered adverse effects.
the Aug ’97 nor the Jan ’98                                              divided all of these SDs by √(40) to       None of the reports clearly detail the       The earlier reports (Aug’97, Jan ’98) state that
reports say anything about a                                             yield the standard error of the            adverse effects suffered by those on         16 in the Gabapentin group and 5 in the
VAS pain relief score or about                                           estimates for mean change, this is         placebo. According to the Aug ’97 /          placebo group suffered adverse effects.
calculating VAS each week.                                               why there is the discrepancy.              Jan ‘ 98 reports, 5 on placebo               These earlier reports also state that 8 WDAE,
Again the reports differ from                                                                                       suffered adverse effects but can             but does not say when, or which adverse
the protocol.                                                            Global Assessment of Pain Relief:          account for a max of three (two with         effects were suffered, however, it can be
                                                                                                                    diarrhea etc, and one with dizziness         inferred that whatever the effects, they are not
Even though MPQ is heavily                                                              None / Mild
                                                                                                      Moderate /    etc,).                                       mentioned in the earlier reports as the letter to
                                                                                                       Excellent
focussed on in the study                                                                Pain Relief
                                                                                                      Pain Relief                                                the editor makes no mention of the 8 who
reports, the Protocol makes no                                             Gabapentin       23            17        The above makes it very likely that          withdrew but gives the same numbers for
mention of the MPQ unless                                                   Placebo         31             9        many patients taking Gabapentin              those who suffered drowsiness (6), fatigue (4)
this is part B. of the Data                                                                                         were unblinded.                              and imbalance (3). Furthermore, different
acquisition on page 6.                                                   The p-value for above table is 0.11                                                     tests were used to assess the incidence of
                                                                         (using McNemar’s test).                    6. Validated measures of                     adverse effects with Gabapentin and placebo.
                                                                                                                    improvement in global function               The earlier reports used Fisher’s exact test,




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                                    Let G be the event “Moderate /             including return to work, study,             while the letter to the editor references
                                    Excellent pain relief with Gabapentin”     activities of daily living:                  McNemar’s test. This seems to indicate post-
                                    Let P be the event “Moderate /                                                          hock analysis.
                                    Excellent pain relief with placebo”        •    None reported for this study.       11. In general patient flow is unclear as Table 1 in
                                                                                                                            the Jan\98 report is obscured. We know 126
                                                                               7. Greater than 50% reduction in             patients were screened, 53 were randomized
                                                                               pain score (NRS, VAS) from                   and 13 dropped out, while 40 completed the
                                                                               baseline to endpoint where this              trial.
                                                                               was a pre-defined primary or                 • 11 dropped in phase I, 2 in phase II (page
                                       G      14    3    6        P            secondary endpoint in a trial:                      5 of Jan ‘98 report / p 6 of Aug ’97 report)
                                                                                                                            • 8 WDAE 4 in placebo, 4 Gabapentin but
                                                                               •    Not a predefined outcome for                   we don’t know when. % withdrew due to
                                                    17
                                                                                    this trial.                                    non-compliance or personal/other
                                                                                                                                   reasons depending on the report.
                                    Discrepancy into how patients              8. Mean between-group difference             • The earlier reports state later that 19 were
                                    specified global pain relief and how       in change of pain score (NRS,                       randomized to the active drug and 21 to
                                    often. See notes in Inclusion              VRS) from baseline to pre-defined                   placebo in the first treatment period;
                                    Criteria / Baseline Characteristics        endpoint by true intention to treat                 however, this is clearly not the case since
                                    column.                                    (ITT) where this was the pre-                       53 were randomized.
                                                                               defined primary endpoint in a trial:     12. Also with regard to adverse effects, the letter
                                    Although the data for this indicator                                                    to the editor states that “all adverse effects
                                    was not significant, one wonders           •    None of the papers explicitly           resolved promptly after discontinuation of the
                                    about post-hoc analysis, i.e. why was           what the primary endpoint was           drug”, does not state whether or not this was
                                    none group combined with mild$                  however, according to page 8 of         the case for the ITT population…was there
                                    group and why was moderate                      the protocol, the sample size           any follow up there?
                                    grouped with excellent. This doesn’t            required for this study was         13. Crossover designs often have greater power
                                    seem to have been the initial plan              calculated to detect a difference       than parallel group designs with more patients
                                    (initially power of study was                   of 1 grade on the verbal rating         so long as withdrawal rates are not too high,
                                    calculated in order to have the ability         scale (global assessment of pain        the underlying disease is not rapidly changing,
                                    to detect a 1 grade difference on the           relief) at 6 weeks of a mean            and the washout period is adequate. The
                                    VRS from 0 – 3), and none of the                difference of at least 2 points         dropout rate in this study seems adequately
                                    numbers were given for the individual           between treatment and placebo           low, PDN is not rapidly changing as crossover
                                    groups.                                         in the 6 week VAS score.                designs are popular in assessing treatment of




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                                                                                    o    Since no data on VRS are             PDN, so that leaves the washout. The earlier
                                                                                         reported, it was inferred that       studies, as well as the letter to the editor all
                                                                                         VAS was the primary                  state that the MPQ and VAS scores did not
                                                                                         endpoint.                            return to baseline after the washout period for
                                                                                    o Note that page 5 of the                 those who received the active drug in phase I
                                                                                         January ’98 report states            and the Jan ’98 report uses this fact as
                                                                                         that the power calculations          evidence that a parallel study might have
                                                                                         were done to detect a 20%            detected more benefit in Gabapentin group
                                                                                         reduction in MPQ and VAS;            (see page 8). However, it is never stated how
                                                                                         however, this is not what            far/close to baseline the VASMPQ scores
                                                                                         the protocol says. Assume            were. No numbers are given and it is never
                                                                                         this was placed in later as          stated whether or not this deviation from
                                                                                         MPQ was the only variable            baseline is statistically significant, my feeling is
                                                                                         to show any significance.            that if it were significant, than this would have
                                                                               •    Additionally this is the closest          been stated. Therefore, a crossover design
                                                                                    outcome to the NRS (11-Point              was probably adequate to detect benefit;
                                                                                    Likert) scale used in most other          especially given the power of the study was
                                                                                    studies.                                  predetermined to be 80% (for VAS) so long as
                                                                                                                              40 people completed the study, which they
                                                                               VAS Outcome (endpoint):                        did. Consequently there was a low probability
                                                                                                                              of not detecting a benefit when one is present.
                                                                               Placebo                                    14. If besides the failure of the MPQ / VAS scores
                                                                               N: not listed, assume 40                       to return to baseline for the group who
                                                                               Endpoint: 5.0 (SD = 2.5)                       received Gabapentin in Phase 1, it is also
                                                                               P-value: < 0.005                               mentioned on page 7 of the Jan ’97 report that
                                                                               Range: Not listed                              there was a treatment order effect for the PPI
                                                                                                                              score, but again it doesn’t give any value for
                                                                               Mean Reduction: 1.4 (SD = 2.1, SE =            this effect or for its significant. The fact that it
                                                                               0.3)                                           is not stated makes me think it wasn’t
                                                                                                                              significant and therefore, it is unfair to attribute
                                                                               Gabapentin                                     the lack of improvement in VAS/PPI scores to
                                                                                                                              this and an inadequate washout.
                                                                               N = not listed, assume 40                  15. If in fact the failure to return to baseline for the
                                                                               Endpoint: 4.7 (SD = 2.8)                       MPQ / VAS scores for those given the active




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                                                                               P-Value: 0.001                                  drug in phase 1, and the order effect were in
                                                                               Range: not listed                               fact significant, it could be due to the fact that
                                                                                                                               the use of an inactive placebo caused
                                                                               Mean Reduction: 1.8 (SD = 3.1, SE =             unblinding. Although the reports state that a
                                                                               0.5)                                            stable low-dose of Gabapentin was used to
                                                                                                                               avoid unblinding, unblinding is likely.
                                                                               9. % of Patients achieving “much                According to all the reports, a significantly
                                                                               improved” or “moderately                        higher proportion of patients suffered adverse
                                                                               improved” on Patient Global                     effects on Gabapentin than on the placebo.
                                                                               Impression of Change                            Although the reports were unclear as to the
                                                                                                                               adverse effects suffered by those on placebo,
                                                                               Global Assessment of Pain Relief:               it would seem that those not in common with
                                                                                                                               placebo included drowsiness, fatigue, and
                                                                               •    Note that scale used was not a             imbalance. Therefore, it is probable that
                                                                                    7-point scale, but was 0= no pain          certain patients, as well as their assessing
                                                                                    relief; 1 = slight improvement, 2=         physicians, were able to determine in which
                                                                                    moderate improvement,                      phase they were on the active drug which
                                                                                    3=complete pain relief                     could easily have affected baseline scores and
                                                                                    (according to page 5 of the study          order effects.
                                                                                    protocol)                            16.   Although various numbers are given for the
                                                                               •    According to p. 5 of the August            mean reduction in MPQ/ VAS/PPI scores, the
                                                                                    1997 report, the scale was none,           MCID values for these scores are not given; it
                                                                                    mild, moderate, or excellent.              would be interesting to check.
                                                                                                                         17.   P-values were checked and seem accurate.
                                                                               Placebo:                                  18.   Of those who completed the study, 31 were
                                                                               Number of patients reporting                    men and 9 were women. One wonders
                                                                               moderate or excellent pain relief: 9/53         whether or not, the significantly higher
                                                                               Gabapentin:                                     proportion of men might affect results at all.
                                                                               Number of patients reporting              19.   The table included in the letter is analogous to
                                                                               moderate or excellent pain relief:              Table 3 in the Aug ’97 report (table 4 in the
                                                                               17/53                                           Jan ’98 report). However the “standard
                                                                                                                               deviations” listed do not match those in the
                                                                               It would seem that the numbers                  earlier reports. After investigation, it was
                                                                               above are all out of 40, which implies          found that the SD’s from the earlier reports




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                                                                               that there was no ITT analysis done.        have been divided by square root of 40, the
                                                                               Furthermore, there is no mention in         sample size after withdrawals, and are
                                                                               the reports of any ITT analysis being       therefore the STANDARD ERROR of those
                                                                               done.                                       estimates, which is different.
                                                                                                                       20. The protocol is different from what was
                                                                                                                           reported in many ways (see notes throughout
                                                                               10. Histogram presentation of all           document).
                                                                               PGIC 7-Point Results, where
                                                                               ported:

                                                                               1. Not applicable, PGIC was on a
                                                                                  4-point, not 7-point scale.




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Study No. 2 – MORELLO 1999 – GABAPENTIN vs. AMITRIPTYLINE FOR PAINFUL DIABETIC PERIPHERAL NEUROPATHY – DBR CROSSOVER TRIAL (PUBLISHED                                                                           1
VERSION ONLY) – final ‐ Dr. Thomas L. Perry, July 27, 2008


Study No. 2 – GABAPENTIN vs. AMITRIPTYLINE FOR PDPN – DBR CROSSOVER TRIAL (published) – FINAL – July 27, 2008
Study/Design/dates                   Inclusion                 Intervention(s), experimental          Predefined                Outcomes hierarchy (Cochrane, investigators:              Comments/conclusions
                                     criteria/baseline         design,                                outcomes/issues in        primary/secondary)                                        of Dr. Perry
                                     characteristics           N of subjects randomized (ITT)/ N      statistical analysis
                                                               who completed study
Study No. 2                          PDPN                      Study design: 15 week double           Predefined                Mortality: Not reported                                   1. This early study
Morello CM, Leckband SG et                                     blind crossover RCT comparing G        outcomes:                                                                           generally appears to
al. Randomized Double-blind          Inclusion:                with A after 2 week washout of prior                             Serious Adverse Events: Not reported                      show slightly less
Study Comparing the                  • > 18 years              drugs to baseline as 2 arms:           NB: results are not                                                                 efficacy, and greater
                                     • diabetics with          G/A x 6 weeks with 1 week              ITT, as they are          Withdrawal Due to Adverse Events:                         neurological toxicity
Efficacy of Gabapentin With
                                          chronic daily pain   washout between treatments vs.         reported for              interpreted for this table as total from each sequence    from gabapentin than
Amitriptyline on Diabetic                                      A/G with 1 week washout between                                                                                            from amitriptyline in
                                          > months                                                    completers after          including early crossers-over (by treatment) over total
Peripheral Neuropathy Pain.                                    treatments.                                                                                                                this model. It is
                                          consistent with                                             excluding data            exposed):
Arch Intern Med 1999; 159:                                                                                                                                                                virtually certain that
1931-7                                    PDPN                                                        from patients who
                                                               Patient flow (Fig 1, p 1934):                                    G=3/23; A=3/24                                            patients would be
                                     • creatinine                                                     did not complete
                                                               • Sceened: 28                                                                                                              unblended, and the
                                          clearance > 30                                              both arms.                                                                          analysis is not ITT and
Support: U.S. Veterans Affairs            mL/min               • Excluded: 3                                                    These appear suitable for meta-analysis
                                                                                                                                                                                          excludes some
San Diego Health Care System         Exclusion:                • Randomized: 25 as G/A = 12           Primary: “Pain Scale                                                                patients for efficacy
                                     •   worse “non-DPN            A/G = 13                                                     Total withdrawals: G=3/23; A=4/24
                                                                                                      Rating System” with                                                                 assessments.
Dates: Patients enrolled and             pain”                 •   Completed both arms of             conversion of
completed between March 1997 –       •   allergy or                crossover: 19/25 (76%) as          subjective ratings on a   Total patients with AE’s: (Table 6, p. 1936)
                                                                                                                                                                                          2. The authors
                                                                   G/A=9/12 (75%), A/G=10/13          “scale of 13 words” to    G total = 18/23 (78%)
December 1997                            adverse reaction                                                                                                                                 conclude that
                                                                   (77%)                              numbers (? Post-hoc       A total = 17/24 (71%)
                                         to gabapentin or                                                                                                                                 “Although gabapentin
Trial design: Independent.               amitriptyline         •   Exposed to drug (completers        – not specified in                                                                  provides pain relief in
                                                                   + withdrawals for each drug):      report)                   These appear suitable for meta-analysis
                                     •   previous dose of                                                                                                                                 patients with DPN pain,
DBR Crossover Trial, 13 weeks                                      G=23; A=24                                                                                                             it should be reserved
                                         gabapentin or
after 2 week washout to baseline,                              •   Exposed to both G and A: 21        Secondary:                                                                          as an alternative to
                                         amitriptyline
including 2 treatment periods of 6                             •   Completed assigned                 “Global Rating                                                                      patients in whom a less
                                         exceeded 1800
weeks separated by 1 week                                          treatments: G=10/23; A=20/24       Scale” to measure                                                                   costly agent fails, such
                                         mg/d or 75 mg/d                                                                                                                                  as amitriptyline, or for
washout, comparing gabapentin                                  •   Withdrawn from treatments:         pain relief, scored
(G) to maximum dose of G=1800        •   postural                                                                                                                                         whom tricyclic
                                                                   G=3/23; A=4/24                     by a neurologist
mg/d with amitriptyline (A) to           hypotension with                                                                                                                                 antidepressants are
                                                                                                      who evaluated




                                                                                                                                                                                                                1
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maximum dose of 75 mg/d                cardiovascular          Drug doses/titration (p. 1353):         patients at baseline                                                                       contraindicated…”.”
                                       symptoms                Titration according to pain from        and end of each            Most important AE’s: Table 6, p. 1936)
Concealment: identical             •   severe                  G=300 mg/d on day 1 to 600 mg/d         treatment where            Reporting is somewhat different from other studies.             3. Outcomes other
capsules                               depression or           on day 2 to 900-1800 mg/d final         patients were asked        TLP has combined [“dizziness” + “postural                       than safety are not
                                                               dose thereafter; titration from                                    hypotension”] and reported the totals as dizziness              suitable for meta-
                                       treatment for                                                   to make a global
Randomization: “randomized                                     G=12.5 mg/d on day 1 to 25 mg/d
                                       seizures                                                        rating of overall pain     comparable to other studies, “sedation” = somnolence,           analysis. .
by the VASDHS clinical research                                on day 2 to 25-75 mg final dose
                                   •   creatinine              thereafter. Gabapentin was divided      relief on a 6-point        “lethargy” = asthenia.
pharmacist, the only unblended                                                                         scale (“complete
                                       clearance < 30          into 3 doses/day vs. amitriptyline
investigator for the stuey, to                                                                                                    Dizziness: G=13/23 (57%); A=7/24 (29%)
                                       mL/min                  given only as evening dose.             relief”, “a lot”,
receive either gabapentin or                                                                                                      Somnolence: G=12/23 (52%); A=6/24 (25%)
amitripytyline in a double-blind
                                                                                                       “moderate”, “slight”,
                                                               Statistical Analysis: (p. 1933)         “none”, or “pain           Lethargy: G=4/23 (17%); A=5/24 (21%)
design per protocol…” (p. 1932)                                                                                                   Ataxia: G=5/23 (22%); A=2/24 (8%)
                                   Allowable drugs:            Conversion of verbal descriptors in     worse”). This
                                   previous analgesics         pain diary to numerical equivalents     appears to be close
                                   discontinued for 2          using Pain Scale Rating System.                                    These appear suitable for meta-analysis.
                                                                                                       to PGIC used
                                   weeks, but allowed          Comparison of mean pain scores in
                                                               each final treatment week by paired
                                                                                                       elsewhere but not          Total AE’s (patients may have > 1 as total exceeds total
                                   acetaminophen 325 mg                                                comparable as a 6-
                                   up to 4 times/day           2-tailed t test, with examination for                              patients with AE):
                                                               period and sequence effects ty t-       point vs. 7-point          Not reported
                                                               test. Global rating scale scores        scale and
                                   Baseline
                                                               analysied with paired, 2-tailed         terminology is             Disability: not reported
                                   characteristics:
                                   Mean age: 60                Wilcoxon signed rank test. …            different, e.g. “slight”
                                   22/25 Type 2 DM vs                                                  vs. “minimal” for          > 50% reduction in NRS pain score at endpoint vs.
                                   3/25 Type 1 DM                                                      PGIC.                      baseline: not reported (not an outcome)
                                   Mean creatinine
                                   clearance 76 mL/min                                                 NB: neither of             Primary outcome “Pain Scale Rating System” converted
                                                                                                       these scores is            to a numerical score:
                                   14/25 had received                                                  comparable with            NB: NOT ITT analysis (completers only)
                                   amitriptyline and 1/25                                              any other                  See Figures 2 and 3 in publication. The scores are different
                                   nortriptyline previously,                                                                      from all other studies because the numerical scale is totally
                                                                                                       commonly used
                                   and 9/25 were taking                                                                           different, and not comparable.
                                                                                                       scales.
                                   amitriptyline at
                                   recruitment (required                                               Test of blinding:
                                                                                                                                  Not suitable for meta-analysis as not comparable to




                                                                                                                                                                                                                        2
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                       washout).                                         Not described but          other studies.
                                                                         15/25 patients were        Secondary outcome “Global Rating of Pain Relief”
                       1/25 was taking                                   familiar with              (6-point scale analogous to PGIC):
                       gabapentin at                                     amitriptyline (14) or      (NB: NOT ITT; interpolated from Table 5, p. 1935
                       recruitment and                                   nortriptyline (1) and
                                                                                                    which reports results as percentages of 21 patients who
                       required washout.                                 would have been
                                                                         familiar with its AE,
                                                                                                    were exposed to both G and A)
                                                                         9/25 presumably            Pain relief (categorical):
                                                                         tolerated amitriptyline;   “Complete”: G=1/21; A=1/21
                                                                         1/25 was familiar with     “A lot”:     G=5/21; A=4/21
                                                                         gabapentin and             “Moderate”: G=5/21; A=9/21
                                                                         presumably tolerated       “Slight”:    G=3/21; A=4/21
                                                                         it. This makes it          “None”:      G=6/21; A=3/21
                                                                         virtually impossible       “Worse”: G=1/21; A=0/21
                                                                         that patients remained
                                                                         blinded.
                                                                                                    Because they use a 6-point, rather than 7-point
                                                                                                    scale, these are not meta-analysable with other
                                                                                                    studies.

                                                                                                    PGIC: not reported




                                                                                                                                                              3
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          PARKE DAVIS/PFIZER 945‐210; Study No. 3 ‐ Backonja et al – UNPUBLISHED AND PUBLISHED TRIAL SUMMARY – Prepared by Thomas L. Perry, M.D. – completed                                                                  1
          April 7, 2008 , modified July 15, 2008– FINAL – July 24, 2008


Study/Design/dates        Inclusion criteria/baseline     Intervention(s),            Predefined outcomes/issues in                   Outcomes hierarchy (Cochrane, investigators: primary/secondary)      Comments/conclusions of
                          characteristics                 experimental design,        statistical analysis                                                                                                 Dr. Perry
                                                          N of subjects
                                                          randomized (ITT)/ N
                                                          who completed study
Study No. 3               Painful diabetic peripheral     Placebo vs. forced          Predefined outcomes:                            Mortality:                                                           1. Incomplete follow-up of
Backonja, PD 945-210      neuropathy (PDPN):              titration gabapentin                                                        P = 0/81; G = 0/84 (p 51, full report)                               (unbalanced) early
8-week DBRCT                                              from 900 mg/d (wk 1),       Primary:                                                                                                             withdrawals may influence
July 2, 1996 – March      Inclusion/exclusion:            1800 mg/d (wk 2), 2400          • Pain (Likert 0-10 score) as group         Serious Adverse Events:                                              materially the final
20, 1997                       • No prior treatment       mg/d (wk 3), 3600 mg/d              mean of last 7 available scores         P = 2; G = 3 (p. 51, full report, Appendix B gives details)          conclusions of study.
                                   with gabapentin        (wk 4), to maximum                  while on study medication from          (SAE do not appear related to gabapentin’s expected toxicities.)
Investigators meeting              (potential             tolerated “regardless of            daily diary records of previous 24                                                                           2. Potentially “enriched”
March 22-23, 1996                  “enrichment bias”      any efficacy achieved               hours (LOCF for noncompleters) –        Withdrawals Due to Adverse Events:                                   study did not include any
17 USA, 3 Canadian                 by exclusion of non-   at lower dosages”, then             see p. 14, 20 of full report, p. 1833   P = 5/81; G = 7/84 (p. 51, full report, Appendix B for details)      patients previously treated
sites                              responders or non-     reduced 1 dose step “if             of JAMA report – NB this is LOCF,                                                                            with gabapentin (would tend
                                   tolerators)            intolerable adverse                 therefore does not appear to            Total Withdrawals:                                                   to exclude preferentially
Final protocol approved        • No chronic kidney        reactions occurred”,                represent the true group mean for       P=16/81; G=14/84                                                     “gabapentin failures” but not
April 24, 1996;                    disease (Cr            then 4 weeks steady                 ITT populations at 8 weeks post-                                                                             include “gabapentin
“Inferential Analysis              clearance > 60         dose.                               randomization                           Adverse events:                                                      successes”, who have no
Plan” approved by                  mL/min predicted                                                                                   Total patients with AE: P=54/81; G = 70/84                           incentive to participate in
company statisticians          • Pain score (Likert)      *see figure from            NB: In this study, by definition                Total patients with “associated” AE: P=21/81; G=52/84                trial.
April 11-12, 1997 –                >4 on daily pain       protocol in research        “baseline” = “last 7 available scores           (p. 48, appendices)
AFTER completion of                diary before           report at end of this       during the screening phase”, including          Nervous system AE’s most prominent, e.g. (# of patients):            3. Prominent neurologic AE’s
study but BEFORE                   randomization          table                       Day 0 (Visit 2) … i.e. patients were            Dizziness: P = 4/81; G = 20/84                                       appear inseparable from
breaking blind                                                                        asked to rate pain daily by Likert, as          Somnolence: P = 5/81; G = 19/84                                      analgesic effect and
                               • Pain score (VAS) >
(Appendix D.1, p. 275).                                   (59/84 patients in G        part of screening, and only those with          Confusion: P = 1/81; G = 7/84                                        contribute partly to it in post-
                                   4 at screening and
                                                          group reached 3600          mean pain >4 (last 7 scores) were to be         These are similar to all other studies of gabapentin.                hoc exploratory analysis.NB:
                                   randomization (SF-
Blind broken April 22,                                    mg/day for at least 1       randomized, so all patients should have                                                                              Median time to onset of
                                   MPS)
1997.                                                     day – p. 24/69 of final     started at pain score > 4. Close reading        Median time of onset and median duration adverse events              most AE from G was in the
                          NB: A few patients sneaked
Submitted to JAMA,                                        report; 10/84 patients in   of p. 10, 14 of full report shows “end of       (Table 27, pp. 50-51 of Final Report)                                range 2-3 weeks,
                          through screening without
March 25, 1998 (with                                      G group received 0          screening” = “screening” = “baseline” =         NB: Median time to onset of most AE from G was in the range 2-3      associated with G dose of
                          meeting criteria
Rowbotham, 945-210;                                       mg/day for up to 9 days     beginning of Day 0-1 of Week 0-1 = Visit        weeks, associated with G dose of 1800-2400 mg/day, indicating that   1800-2400 mg/day,
see Parke-Davis                                           – p. 24/69,                 2. The comparable 945-224 study                 toxicity is dose-dependent. Median duration of AE for G (e.g.        indicating that toxicity is
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           PARKE DAVIS/PFIZER 945‐210; Study No. 3 ‐ Backonja et al – UNPUBLISHED AND PUBLISHED TRIAL SUMMARY – Prepared by Thomas L. Perry, M.D. – completed                                                              2
           April 7, 2008 , modified July 15, 2008– FINAL – July 24, 2008


memorandum March           Baseline characteristics:       unexplained)              reports non-integer means of pain            dizziness: “10.8” days, somnolence 16 days, confusion: 15 days)       dose-dependent. Median
30, 1998,                                                                            scores at baseline, in contrast with this    SHOULD NOT BE INTERPRETED (as it is later by various Parke-           duration of AE for G (e.g.
WLC_CBU_093708)            Mean pain score (Likert         P = 81 randomized (81     study, which appears to “round them”.        Davis-associated and Pfizer-associated speakers) as indicating that   dizziness: “10.8” days,
                           NRS, 0-10):                     reported for safety, 80                                                patients accommodate to the adverse event – it is logically more      somnolence 16 days,
Published in JAMA          P          (N=81/81): 6.5 (SD   for efficacy –            NB: At p. 283 of report (Vol 1) reasons      reasonable that the median duration divides patients into those who   confusion: 15 days)
December 2, 1998 as        1.5) Range: 4 - 10              unexplained in JAMA       for exclusion of patients from               reduced dose or stopped taking G earlier than the median, vs. those   SHOULD NOT BE
Backonja M, Beydoun        G         (N=83/84): 6.4 (SD    report); 65 completed 8   evaluation are provided for 5 patients.      whose AE symptoms continued for longer than the median.               INTERPRETED (as it is
A, et al. Gabapentin for   1.5) Range: 4 – 10 – 1 had      weeks;                    By comparison with Appendix E.4 (pp                                                                                later by various Parke-
the symptomatic            no baseline score? Page 27                                264, 298, 299, 306, 308) it is possible to                                                                         Davis-associated and
treatment of painful       of final report (Table 9)       G = 84 randomized (84     identify the experimental groups to          Weight gain from screening to study termination (Appendix C.41, p.    Pfizer-associated
neuropathy in patients     shows ranges as P: 4.0-9.9;     reported for safety, 82   which these patients belonged:               267):                                                                 speakers) as indicating
with Diabetes Mellitus.    G: 3.9-10.0.                    for efficacy –            Pt. 4003 – placebo (quit Day 8)              P (N=76): 0.56 kg                                                     that patients accommodate
JAMA 1998; 280: 1831-      Groups appear generally         unexplained); 70          Pt. 4008 – gabapentin (quit Day 21)          G (N=80): 1.61 kg                                                     to the adverse event – it is
6                          similar.                        completed 8 weeks         Pt. 4021 – gabapentin (quit Day 7)           Weight gain > 7% of initial weight (8 weeks maximum!):                logically more reasonable
 (prior publication                                                                  Pt. 6002 – gabapentin (quit Day 5)           P =1, G =3                                                            that the median duration
abstract or meeting                                        NB: P = 16/81             Pt. 7002 – gabapentin (quit Day 2)           No statistical analysis is reported on this observation.              divides patients into those
presentation?)                                             noncompleters; G =                                                                                                                           who reduced dose or
                                                           14/80 non-completers      All 4 of the censored gabapentin treated                                                                           stopped taking G earlier
Final study report                                                                   patients experienced adverse events,         Primary outcome (endpoint):                                           than the median, vs. those
December 30, 1998                                                                    but not the placebo treated patient.                                                                               whose AE symptoms
                                                                                     (Appendix E.6)                                                                                                     continued for longer than
                                                                                                                                  P (N=80): 5.1 (SD 2.2); range 1.0 – 10.0, mean change -1.4 (SD 1.7)
                                                                                                                                                                                                        the median.
                                                                                                                                  G (N=82): 3.8 (SD 2.5); range 0.0 – 9.1, mean change -2.6 (SD 2.5)
                                                                                     The first 3 of these (4003, 4008, 4021)
                                                                                     are also censored from ITT analysis          p. 27 of study report, Table 9 “Mean Pain Scores: Descriptive
                                                                                     because they recorded no pain diaries –      Statistics” – no statistical test is made, no difference claimed.
                                                                                     unclear whether they are included in                                                                               4. Statistical interpretation
                                                                                     PGIC or CGIC impression of change            Note this is subtly different from p. 27 Table 10: “Endpoint Mean     (ANCOVA and “Inferential
                                                                                     statistics.                                  Pain Scores: Results of Analysis of Covariance”, which reports P      Analysis”) is very difficult to
                                                                                                                                  (N=80): 5.13,                                                         understand (e.g. adjustments
                                                                                                                                  G (N=82): 3.88, difference = -1.25; p = 0.0004.                       for multiple centres). The
                                                                                     Secondary:                                                                                                         group mean differences do
                                                                                     NB: all secondary outcomes are                                                                                     not appear different from the
                                                                                                                                  Appendix D.1 at p. 275 et seq of report describes “Inferential
                                                                                     dependent, not independent of primary                                                                              “descriptive statistics”,
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                                                   outcome, as they all measure various           Analysis Plan” approved by Parke-Davis April 11-12, 1997, 1 year              especially when non-
                                                   aspects of the same thing (pain relief).       after the initial protocol was filed and after March 20, 1997                 evaluable patients are
                                                       • Pain reduction evaluated by              completion of study 945-210, but just prior to April 22, 1997 breaking        considered.
                                                           comparison with baseline pain          of blind “after all decisions regarding evaluability have been made”.
                                                           score - unclear from full report (p.   This plan limited “evaluable” patients to those with >4 days of pain          5. Secondary outcome
                                                           19-20) whether comparisons by          diary during screening AND> 7 days of drug therapy. Anyone who                measures are not
                                                           ANCOVA are individual pairwise         dropped out during first week would not be evaluated, but plan was            independent of primary
                                                           comparisons (e.g. patient “x”,         to repeat analysis for ITT population. At page 278: “preliminary              measure; repeated statistical
                                                           mean of 7 diary Likert scores          analyses will be performed in order to aid in strategic planning”. It         tests are not convincing that
                                                           which must > 4 at baseline vs.         is not clear what this means.                                                 these outcomes add
                                                           mean of 7 diary Likert scores                                                                                        additional information.
                                                           during last week achieved of           Exploratory analysis of effects of dizziness or somnolence (most common
                                                           treament (weeks 1-8, LOCF) or          AE which predominate in G > P groups) on primary efficacy variable            6. Patient and Clinician
                                                           comparisons of group means             (NRS pain score) is shown at p. 49 of report and Appendices D.80, D. 81,      global impression of change
                                                       • Weekly mean pain score from              pp. 234-9 of Volume 2. Numbers of patients do not match exactly (P: 81-       groupings are post-hoc.
                                                           daily diaries                          5 for somnolence should = 76, but shown as 75; G: 84 or 83 – 19 for           Better to display all data,
                                                       • Sleep interference by pain (“how         somnolence = 65 or 64, shown as 64; P 81-4 for dizziness should = 77,         along with distribution of all
                                                           pain interfered with sleep”)           shown as 76; G: 84 or 83 – 20 for dizziness should = 64 or 63, shown as       pain score changes at
                                                                                                  62). The effect of this analysis is to reduce baseline-endpoint differences   “endpoint”, in graphs which
                                                       • Short form McGill Pain
                                                                                                  from “statistically significant” group mean difference of                     show original values.
                                                           Questionnaire (SF-MPQ): pain
                                                                                                   -1.25 favouringgabapentin to -0.89 with data from patients reporting
                                                           descriptors, visual analog scale
                                                                                                  somnolence excluded, or to -1.2 when patients reporting dizziness were        7. Blinding undoubtedly
                                                           (VAS), present pain intensity (PPI)
                                                                                                  excluded. The discussion in report (p. 49) differs from JAMA (p. 1835) by     broken due to prominent
                                                       • Patient and physician global             citing different p values and omitting the magnitude of change, which is
                                                           impression of change (includes                                                                                       neurological effects of
                                                                                                  reduced when the patients reporting somnolence are excluded.                  gabapentin – many patients
                                                           LOCF, therefore unblindedas it
                                                           will include people who dropped                                                                                      and clinicians could have
                                                           out due to “intolerability”, etc.)                                                                                   been unblended even if
                                                                                                                                                                                patient did not describe
                                                       • Profile of Mood States (POMS)                                                                                          “adverse event”, e.g.
                                                                                                  Exploratory (post-hoc) “responder” analysis:
                                                       • SF-36 Quality of Life                    Final report includes (p. 30)post-hoc “responder” analysis not pre-           somnolence might be
                                                           Questionnaire (SF-36 QOL)              specified in protocol, suggesting a discrimination between patients who       “favourable event” for those
                                                                                                  experienced a change from baseline to endpoint of >50% (P=16/80; G =          disturbed by sleep.
                                                                                                  39/82) or who experienced any increase in pain (P=15/80; G=10/82),            Gabapentin effect on “sleep
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                                                                                    claiming statistical significance for the difference between responders    disturbance” could be
                                                                                    (p=0.001,                                                                  sedative, as opposed to
                                                                                    CMH test). This claim is not made in the JAMA paper, presumably            primarily analgesic. If so,
                                                                                    because it is a post-hoc analysis which cannot be interpreted for          any benefit obtainable for
                                                                                    statistical significance. The same “responder” analysis suggests that      “sleep disturbance” might be
                                                                                    P=15/80 [19%] vs. G=10/82 [12%] of patients had “increased” pain at        best obtained by a single
                                                                                    endpoint. (I have maintained denominators of P=80 and G=82 from final      bedtime dose, as opposed to
                                                                                    report as a conservative assumption, since early dropouts would not        continuous exposure.
                                                                                    have been eligible to “worsen”.)
                                                                                                                                                               8. Information available from
                                                                                    TLP: this is not a pre-specified analysis, and therefore cannot            945-224, e.g. consumption
                                                                                    be used in the meta-analysis.                                              of analgesics by group
                                                                                                                                                               (acetaminophen) is not
                                                                                                                                                               available for this study other
                                                                                                                                                               than the comparable number
                                                                                                                                                               of patients in each group
                                                                                                                                                               using acetaminophen
                                                                                                                                                               (P=22/81, G= 23/84)
                                                                                    Secondary outcomes (endpoint and various weeks):                           (Appendix C.8, p. 211,
                                                                                                                                                               Volume 1) – no information
                                                                                    Multiple secondary outcomes are claimed to favour G > P despite            on mean consumption is not
                                                                                    disclaimer in “Inferential Analysis Plan” that multiple comparisons will   provided.
                                                                                    generate some falsely “statistically significant” findings, and lack of
                                                                                    correction for multiple comparisons. More important, the secondary         10. It is not possible from the
                                                                                    outcomes are not independent of the primary, since they all appear         data provided to tell whether
                                                                                    to rely on pain as the main factor assessed, or its influence on sleep     patients who escalated their
                                                                                    (“sleep interference”) – a drug which causes somnolence may tend           dose according to forced
                                                                                    to improve “sleep interference” over placebo, regardless of                titration protocol did “better”
                                                                                    analgesic effect.                                                          or “worse” than they would
                                                                                                                                                               have if they had continued at
                                                                                    Weekly mean pain score (Figure 2, p. 1834 in JAMA, Figure 3, p. 29         a lower dose.
                                                                                    and Figure 8 pertaining to patients taking protocol-specified G dose,
                                                                                    p. 41 in final report) do not show any increase of effect beyond 2         11. Claim of more
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                                                                                    weeks, i.e at doses > 1800 mg/day.                                     “responders” in gabapentin
                                                                                                                                                           group does not seem to fit
                                                                                    Some secondary outcomes are surprising, e.g. at Volume 2, p. 395,      clinically with more early
                                                                                    Appendix D.6, “Present pain rating” at LOCF endpoint shows little      dropouts and fewer
                                                                                    difference between groups and still fails to account for 5 patients:   completers.

                                                                                    P (N=79/81): 1.83 (present pain rating)                                12. Backonja et al
                                                                                    G (N = 81/84): 1.23 (present pain rating)                              subsequently suggest that a
                                                                                    Difference = 0.6; p =0.0004 according to p. 396                        > 50% reduction in NRS pain
                                                                                                                                                           score is a “somewhat
                                                                                    Patient Global Impression of Change (PGIC) might be best measure       artificial study goal”
                                                                                    of overall improvement in some respects (although not blinded).        (Backonja&Glantzman,
                                                                                    The analysis at p. 429 claims a 1-point difference between groups      ClinTher, 2003)
                                                                                    favouringgabapentin by ANCOVA (p=0.0001). The following scores
                                                                                    can be summed from the raw data starting at page 419 for P
                                                                                    (N=76/81 randomized) and G (N=79/84 randomized), where 1 = much
                                                                                    improved, 2 = moderately improved, 3 = minimally improved, 4 = no
                                                                                    change, 5 = minimally worse, 6 = moderately worse, 7 = much
                                                                                    worse:

                                                                                    Category 1: P = 12, G = 33
                                                                                    Category 2: P = 13, G = 14
                                                                                    Category 3: P = 13, G = 12
                                                                                    Category 4: P = 25, G = 18
                                                                                    Category 5: P = 5, G = 1
                                                                                    Category 6: P = 6, G = 1
                                                                                    Category 7: P = 2, G = 0
                                                                                    The study publication and report group these into categories 1&2,
                                                                                    3&4, 5,6&7. If one adds to the gabapentin group the early WDAE not
                                                                                    counted in primary outcome analysis (non-evaluables), Category 7
                                                                                    for G could = 4.
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                                             STUDY NO. 4 - DETAILED SUMMARY AND ANALYSIS: ROWBOTHAM 1998
                                                    PARKE-DAVIS 945-211 – POST HERPETIC NEURALGIA

Summary:

Information taken from:
a) Rowbotham M, Harden N, et al. Gabapentin for the Treatment of Postherpetic Neuralgia. JAMA 1998; 280: 1837-42 (December 2, 2008), referred to as the JAMA report
b) Parke-Davis research report number RR-995-00070 dated December 29, 1998, referred to as the unpublished report. The unpublished report is dated later than the report published in JAMA.

Enrichment bias: Patients who had previously taken gabapentin were excluded from this trial as were patients with a “hypersensitivity” to the drug This causes “enrichment bias” favouring gabapentin by excluding
patients who may have been likely to experience adverse events, or who may have previously “failed” gabapentin therapy.

Serious adverse events (SAE) and adverse events (AE):
p.1840 of the JAMA report states that “Minor adverse events that were deemed associated with the study medication were reported in a total of 62 subjects (54.9%) receiving Gabapentin and 32 subjects (27.6%)
receiving placebo” and “No serious adverse events that were determined by the investigator to be related to Gabapentin were reported.”By deferring to the investigators’ opinion about causation of SAE, the JAMA
report implies that no serious adverse events (SAEs) were associated with gabapentin use, whereas Table 35 on p. 143 of the unpublished report shows that:

        P = 5/116 patients experienced 5SAE (1 fatal, 4 non-fatal)
        G = 10/113 patients experienced 17 SAE (all non-fatal)

The JAMA report also does not provide the total number of adverse events experienced by each group whereas the unpublished report specifies:

        P = 151 AE (total)
        G = 278 AE (total)


Withdrawals due to adverse events (WDAE):
The JAMA report is again inconsistent with the unpublished report. JAMA report states at p. 1840, by qualifing for WDAE “described as related to the study medication”:

        P = 11/116 (9.5%) WDAE
        G = 15/113 (13.3%) WDAE




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However, both Figure 1 (p. 1839) of JAMA report and pp.149-150 of the unpublished report indicate:

        P = 14/116 (12%) WDAE
        G = 21/113 (19%) WDAE

In the safety reporting at p. 1840 the JAMA report accounts only for withdrawals that the investigator(s) deemed as related to the study drug, whereas the complete WDAE shown above should be used.

Estimation of NNT (number needed to treat), NNH (number needed to harm):
At p. 1842 of the JAMA report, a paragraph in the conclusion reads “From the data in Figure 4 and the text, the NNT for benefit is 3.2, the NNT (NNH) for minor adverse events is 3.7, and the NNT (NNH) for adverse
events leading to study withdrawal is 25”. Independent calculations performed for NNT benefit using the data in figure 4 yield 3.77. Calculations of NNH for minor adverse events yield 3.7 when using the numbers
reported in the published report, however the real NNH for minor adverse events must be lower as certain adverse events deemed by the investigators not associated with study drug were excluded. While the total
numbers of adverse events are provided for each study group in the unpublished report, the number of patients suffering total AE are not. Finally, the correct NNH for adverse events leading to study withdrawal is
much lower, 15.3, when the correct numbers for WDAE are used.

Probable unblinding:
The larger total number of AE in the gabapentin group, as well as the nature of AE which are more common with gabapentin than placebo (somnolence, 27.4% vs. 5.2%, dizziness 23.9% vs. 5.2%, ataxia 7.1% vs. 0%,
all from JAMA report) are likely to have caused unblinding. Neither the JAMA nor the unpublished report discuss this issue, nor make any corrections for unblinding.


Failure to account for multiple comparisons:
P. 1839 of JAMA report states that “no adjustments were made for multiple comparisons.” Both the JAMA report and the unpublished report make several dependent comparisons and therefore, a multiple
comparisons procedure (e.g., Bernoulli’s correction, Fisher’s LSD method) should have been performed; specifically, the alpha level should have been adjusted.

“ITT” population improperly defined, missing data not explained or accounted for:
P. 1838 of the JAMA report defines the intent-to-treat (ITT) population as patients who, once randomized, had evidence of taking at least one dose of study medication and provided at least 1 follow-up efficacy
assessment. This sacrifices 4 early dropout patients from gabapentin group, but 0 patients from placebo group. The JAMA report does not specify how data from dropouts were handed. However, the unpublished
report, on page 228, states that last-observation-carried-forward (LOCF) was applied to any missing post-baseline value. That is, any missing post-baseline value was replaced with the last available post-baseline
observation regardless of the assessment date. The LOCF method is biased and assumes no within-patient variability, and still fails to account for the 4 early dropouts from gabapentin group, since a more
conservative assumption, e.g. baseline observation carried forward (BOCF) was not applied to these subjects.

For most of the efficacy results, the sample size for the ITT gabapentingroup is reported as N=109, whereas for the safety analyses the size of the gabapentingroup is N=113, the same as the number of patients
randomized to the gabapentin group. Even the unpublished report does notexplain why 4 subjects randomized to gabapentin were not included in the efficacy analyses but were included in the safety analyses. Pages
25 and 26 of the unpublished report state criteria for assignment to each group. To be included in the safety analysis, patients had to have had evidence of taking at least one dose of the study medication and had at
least one follow-up assessment at which adverse events could be reported. In order to be included in the ITT population, patients had to have had evidence of taking at least one dose of the study medication




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and have had one post-baseline efficacy assessment. It is curious and unexplained that 4 patients in the gabapentin group had a post-baseline follow-up assessment during which adverse events could
have been reported but yet had no post-baseline assessment in which efficacy was reported.

Misleading reporting of secondary efficacy variable (MPQ PPI – present pain intensity at study endpoint):
For the secondary efficacy variable, McGill Pain Questionnaire (MPQ) Present Pain Intensity (PPI), the JAMA report indicates that at study endpoint (final week) there was a rating of “no pain” for:

         P = 8.8% of patients
         G = 16.0% of patients

This is misleading for several reasons. P. 26 of the unpublished report states that PPI is a 5-point scale (although it is in fact a 6-point scale ranging from 0=no pain to 5=excruciating pain); this isnot described nor
referenced in the JAMA report, such that a reader cannot interpret the results without searching for the score’s meaning. The JAMA report does not provide numerators/denominators, standard deviations, nor results
for any of the other categories of the PPI scale (i.e. mild, discomforting, etc.), yet states (p. 1840) that these results were “statistically significantly improved among subjects treated with gabapentin(P < 0.01)”.
Theunpublished report indicates that the significant difference in PPI is from baseline to endpoint, and that there was a significant difference not only for the gabapentin group, but for the placebo group as well
(P<0.01). However, neither report provides the statistical significance for the most important indicator, namely the difference for PPI between the placebo vs. gabapentingroups at endpoint (if any). As standard
deviations are not presented, it is impossible to independently assess statistical significance.

With regard to the secondary efficacy variables Subject’s Global Impression of Change (SGIC) and Clinical Global Impression of Change (CGIC), the JAMA report does not specify that these outcomes were rated on a
7-point categorical scale and does not report results for each of the 7 categories, as does the unpublished report. Instead, the percentages for certain categories are grouped together without an explanation as to
whether this was a pre-specified outcome comparison. Furthermore, graphs are provided for these results but no test of statistical significance is provided, and no reason is provided for the absence of 14 evaluations
from the placebo group and 15 from the gabapentin group. The results of categorical variables should be expressed as percentages of the true ITT N’s (P=116, G=113).

The PGIC is specified in the protocol (Appendix 3). Page 9 of the protocol clearly states that on the final visit (week 8) investigators and patients will complete a Global Impression of change. Page 16 of the protocol
also lists PGIC as a secondary efficacy variable (letter a in the list). Page nine of the protocol does refer to Appendix C after it mentions Patient Global Impression of Change, which does in fact contain the familiar 7-
point Global Impression of Change scale. Additionally, (Global Impression of Change, Patient and Investigator Assessments) contains the raw data for this variable. The main inconsistency is that page 18 of the
protocol states that "The proportion of patients with at least 'much improved' for their global impressions of change (physician and subject)along with 95% confidence intervals will be calculated." This "at least" does
not make sense as much improved is the highest category of pain relief on their scale, and as is clear in the JAMA report, much improved moderately improved were grouped .

With regard to the secondary efficacy variable SF-36 quality of life, the unpublished report shows different sample sizes for each subsection (e.g. P=99, G = 89 for health transition but P=101, G= 92 for physical
functioning). Independent calculations show that the average number of patients in the placebo group who filled out each section of the SF-36 was 100.1 (the ITT sample size of the placebo group was 116) with a
standard deviation of 1.4. The average number of patients in the gabapentin group to fill out this survey was 91.4 with a standard deviation of 2.7 (the ITT sample size of the gabapentin group was 109). It is
unexplained why a lower proportion of gabapentin patients completed this questionnaire but also why there was twice the variability in the number of patients who completed each section. Both JAMA and the
unpublished reports state that 1 questionnaire used to assess quality of life, the SF-36, was completed once at baseline and once at the week eight efficacy assessment, so the reason for these discrepancies is not
apparent.




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Inadequate reporting of compliance with dosing schedule:
Pp. 20-21 of the unpublished report present specific criteria for determination of patient compliance with medication in this study. In the JAMA report, rates of compliance for the placebo and gabapentin groups are not
reported. However, by looking at the appendices of the unpublished report , specifically appendix E.6 (Study Medication: Based on Dispensing Record) it is possible to determine compliance by looking at the number
of capsules returned vs. capsules dispensed for each patient. Appendix A.9 includes major protocol violations (e.g. not reaching minimum dose). I still cannot seem to locate a general statistic for overall compliance.




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Study / Design /           Inclusion Criteria /         Intervention(s), Experimental                Predefined Outcomes / Issues in Statistical Outcomes Hierarchy                            Comments / Conclusions of
Dates                      Baseline                     Design, N of Subjects Randomized             Analysis                                    (Cochrane, investigators:                     Kelsey Innes
                           Characteristics              (ITT) / N Who Completed Study                                                            primary / secondary)
Study No. 4                Post Herpetic Neuralgia      Study Power:                                 Primary Efficacy Measure:                            1. Mortality (p. 1840):              1. The study was published in
Rowbotham M, Harden                                         Given the assumption that the SD for         Change in average daily pain score based on                                                JAMA on December 2, 1998 and
N, et al. Gabapentin for   Inclusion Criteria:              this parameter would be 3.4, a               an 11-point Likert scale (0 = no pain, 10 =      P = 1 / 116                               the research report is dated
the Treatment of               At least 18 years of         sample size of 80 evaluable patients         worst pain ever), calculated as difference for   G = 0 / 113                               December 29th, 1998. Shouldn’t
Postherpetic Neuralgia.        age                          in each treatment was required to            each patient between mean of NRS pain                                                      the research report have been
JAMA 1998; 280: 1837-          Pain present for more        provide 80% power to detect a                score at baseline vs “endpoint” – means of       2. Serious Adverse Events (p.             finished first?
42 (December 2, 2008           than three months            difference of 1.5 on the Likert scale        differences for each group were compared,        1840):                               2.   Patients who had previously
                               after healing of a           (11 point scale) with a 5% error rate        as well as NRS pain score group means at                                                   taken gabapentin were excluded
Study Number: 945-             herpes zoster skin           for a 2-sided test. According to page        baseline and “endpoint”.                             JAMA reportstates that “No            from this trial as were patients
211                            rash                         1841, the actual power approached                                                                 serious adverse events that           with a hypersensitivity to the
                               A pain-intensity score       100%.                                    Secondary Outcome Measures:                              were determined by the                drug, however, what would
Study Design:                  of at least 40 mm on         All p-values were 2-sided and no            Average daily sleep scores                            investigator to be related to         constitute hypersensitivity is not
Multicenter,                   the 100-mm VAS on            adjustments were made for multiple          Short-Form McGill Pain Questionnaire (SF-             Gabapentin were reported.”This        stated. This may introduce
randomized, double-            the SF-MPG at                comparisons                                 MPQ)                                                  is problematic, see comments.         enrichment bias.
blind, placebo-                screening and at                                                                                                               Unpublished report (p. 143,      3.   The doses of narcotics or other
                                                                                                        Subject Global Impression of Change (SGIC)
controlled, parallel           randomization            ANCOVA                                                                                                table 35) however gives the           supplementary drugs are
design                                                                                                  Investigator-rated Clinical Global Impression
                               Average daily diary         All of the between treatment                                                                       following results for SAEs            reported in the unpublished
                                                                                                        of Change (CGIC)                                                                            report – See Appendix E.8 (Prior
                               pain score of at least      comparisons for the change from              Short-Form 36 Quality of Life Questionnaire
Study Duration: 8                                          baseline parameters were                                                                       P: 5/116 patients experienced 5           and Concomitant Medications)
                               4 on a scale of 1-10                                                     (SF-36)
weeks                          during the baseline         accomplished by ANCOVA                                                                         adverse events (1 fatal, 4 non-      4.   On page 1839 of the published
                                                                                                        Profile of Mood States (POMS)                                                               report it states that “no
                               week                        Including fixed terms of treatment,                                                            fatal)
Patients Randomized:                                       centre, treatment by center                                                                                                              adjustments were made for
                               Discontinuance of                                                     The results presented below and in JAMA report
229                                                        interaction, and baseline scoring.                                                                                                       multiple comparisons”, in this
                               muscle relaxants,                                                     Table 2 – Summary of Primary and Secondary           G: 10 patients experienced 17
                                                                                                                                                                                                    study we have several
                               anticonvulsants,                                                      Outcome Measures (p. 1840) are for the “ITT”         SAEs none of which were fatal.
Randomization                                                                                                                                                                                       dependant variables and some
                               mexiletine, topical      Study Populations:                           population.                                          For details about each of these
Procedure: see page                                                                                                                                                                                 form of adjustment should have
                               analgesics, and          According to p. 1838 of published report.                                                         serious adverse events see table
1838 of published                                                                                                                                                                                   been made on the p-values for
                               antiviral agents             “ITT” population included those                                                               35 on the page 144 of the
report                                                                                                                                                                                              this reason.
                               beginning at least 2         subjects who, once randomized to                                                              unpublished report
                               weeks prior to                                                                                                                                                  5.   Dropouts were handled with
                                                            treatment had evidence of taking at
Number of Study                screening                                                                                                                                                            LOCF – see page 28 of research
                                                            least 1 dose of study medication and
Centers: 16                                                                                                                                                                                         report, this is not specified in
                                                            provided at least 1 follow-up efficacy                                                        3. Withdrawals Due to Adverse             published report.
                                                                                                                                                                                                                5 of 16
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                           Exclusion Criteria:                 assessment (p. 1838)                                                                          Events (WDAE), JAMA p. 1840):        6. The results reported for the
Study Dates: 8/26/96 –         Prior treatment with            The efficacy-evaluable population         Change in Average Daily Pain: (pp.1839-40)                                                   primary efficacy variable for
7/14/97                        gabapentin or                   consisted of those subjects who, in                                                           According to the JAMA report:            Gabapentin say n = 109 but 113
                                                                                                             Measured by the difference in average daily
                               demonstrated                    addition to meeting the criteria              pain during baseline week and average daily                                              were randomized to the
Study Protocol: April          hypersensitivity to the         required for the ITT population met           pain score in the final study week              P = 11 / 116 (9.5%)                      gabapentin group - why are the
22, 1996 (pp. 206-             drug or its ingredients         strict protocol-specific criteria             o Evaluated from daily pain diaries             G = 15 / 113 (13.3%)                     missing 4 not reported as LOCF?
207/1194)                      Neurolytic or                   regarding study medication                    o Minimum treatment group difference in                                              7. The only results given for MPQ
                               neurosurgical therapy           compliance, use of concomitant                     chance from baseline that was                  6 / 15 on Gabapentin withdrew        PPI were that there was a rating
PUBLISHED:                     for PHN                         medications, and number of diaries                 considered clinically meaningful was 1.5       due to dizziness                     of “no pain” in final week for
Rowbotham M, Harden            Immunocompromised               returned.                                          points                                         5 / 15 on Gabapentin withdrew        16.0% of patients on
N, et al. Gabapentin for       state                                                                     The following compare the JAMA report with              due to somnolence                    gabapentincompared with 8.8%
the Treatment of               Significant hepatic or      The research report gives similar criteria    unpublished report results:                             2 / 11 on placebo withdrew due       of patients treated with placebo.
Postherpetic Neuralgia.        renal insufficiency         but provides slightly more detail on pp.25-                                                           to somnolence and 0/11 on            JAMA report states that these
JAMA 1998; 280: 1837-                                      6 of the research report.                     Placebo (n = 116/116)                                   placebo withdrew due to              results were “statistically
                               Significant
42 (December 2, 2008)                                                                                    Baseline: 6.5 (SD = 1.7)                                dizziness                            significantly improved among
                               haematological
                                                                                                         Week 8 (LOCF): 6.0 (SD = 2.4)                                                                subjects treated with
                               disease
                                                           Dose Schedule:                                Mean Change from Baseline: -0.5 (SD = 1.6)          According to the unpublished             gabapentin(P < 0.01)” however it
                               Severe pain other                                                                                                                                                      does not give standard
Final study report                                            1-week baseline                            Percent Change: 7.7%                                report (p.149):
                               than that caused by                                                                                                                                                    deviations, or sample sizes for
(unpublished):                                                4 week titration up to maximum             P-value (p. 83 of unpublished report) < 0.005
                               PHN                                                                                                                                                                    the gabapentin and placebo
RR995-00070                                                   tolerated dose or target ceiling of                                                            P = 14 / 116 (12.1%)
                               Use of experimental                                                                                                                                                    groups, omits statistically
Magnus-Miller L,                                              3600 mg/day (minimum dose of 1200          Gabapentin (n = 109/113)                            G = 21 / 113 (18.6%)
                               drugs or participation                                                    Baseline: 6.3 (SD = 1.6), SD = 1.7 in unpublished                                            significant p-value for placebo
Podolnick P.                                                  mg/day was allowed)
                               in a clinical study                                                       report                                                                                       group, and does not give a p-
December 29, 1998                                             4 week stable dosing period                                                                    We will use these for Cochrane
                               within 2 months of                                                        Week 8 (LOCF): 4.2 (SD = 2.3)                                                                value for the comparison of
                               screening                      See page 1838 for details of                                                                   systematic review.
                                                                                                         Mean Change from Baseline: -2.1 (SD = 2.1)                                                   gabapentinand placebo.
                               A history of illicit drug      titration/dosing etc.                                                                                                               8. No accounting for unblinding.
                                                                                                         Percent Change: 33.3%
                               or alcohol abuse                                                          P-value (p. 83 of unpublished report) < 0.001                                            9. No p-values or significance listed
                               within the last year        Patient Flow:                                                                                     Most common reasons for
                                                                                                                                                                                                      for SGIC / CGIC in JAMA report,
                                                                                                                                                             withdrawal:
                               Any serious or                                                                                                                                                         presumably as this is a post-hoc
                               unstable medical or                                                       P-value for the difference between placebo and                                               analysis.
                               psychological                                                                                                                 Placebo :
                                                                                                         gabapentin is < 0.001                                                                    10. JAMa p. 1840 states that “Minor
                               condition.                                                                                                                    Peripheral Edema: n=2
                                                                                                                                                                                                      adverse events that were
                                                                                                                                                             Depression: n=2
                                                                                                         Figure 2 (below) from page 1840 shows the                                                    deemed associated with the
                                                                                                                                                             Somnolence: n = 2
                           Allowed Medications:                                                          change from baseline in average daily pain score.                                            study medication were reported
                               Previously prescribed           The above is figure 1 – profile of        According to figure reduction was established at                                             in a total of 62 subjects (54.9%)
                                                               randomized controlled trial (p. 1839                                                          Gabapentin:                              receiving Gabapentin and 32
                               TCAs and/or                                                               week 2, but figure does not indicate p<0.005 for    Dizziness: n=6
                                                                                                                                                                                                                  6 of 16
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                      narcotics could be           of final report)                      placebo group at endpoint (see above).               Somnolence: n=5                           subjects (27.6%) receiving
                      continued if therapy                                                                                                    Ataxia: n=2                               placebo.” Authors cannot decide
                      was stabilized prior to   Patients Screened: 292                                                                        Nausea: n=2                               whether or not minor adverse
                      study entry and           Patients Randomized: 229                                                                      Vomiting: n=2                             events are associated with the
                      remained constant         Received Gabapentin: 113                                                                                                                study, if an adverse even occurs
                      throughout the study.     Completed Gabapentin Treatment:                                                                   For rest see table 37 of              we must assume it is associated
                                                89/113 (78.8%)                                                                                    unpublished report                    with the study drug. The
                                                Received Placebo: 116                                                                             p = 0.013 for withdrawal due to       passage also states, “No serious
                                                Completed Placebo Treatment: 95/116                                                               dizziness fromgabapentin vs.          adverse events that were
                                                (81.9%)                                                                                           placebo                               determined by the investigator to
                                                Completed Study: 184 (80.3%)             Average Daily Sleep Scores (p. 1840)                                                           be related to Gabapentin were
                                                                                            Measured similar to primary efficacy variable,                                              reported.” This is problematic for
                                                                                                                                              4. Total Withdrawals (p. 1839 of
                                                   The two treatments were comparable       change in average daily pain.                                                               the same reasons.
                                                                                                                                              published report)
                                                   with regard to the proportion of                                                                                                 11. No p-values / significance given
                                                   patients who WDAE (P = 0.2) and the   Placebo (n = 116/116)                                                                          for adverse events, why?
                                                                                                                                              Gabapentin (n=113):
                                                   proportion who completed the study    Baseline: 4.1 (SD = 2.9)                             Total Withdrawals: 24 / 113           12. For WDAE, the
                                                   (P = 0.62)                            Week 8 (LOCF): 3.6 (SD = 3.0)                        Reason for Withdrawal:                    descriptionaccounts for 11 / 15
                                                                                         Mean Change from Baseline: -0.5 (SD = 1.9)                                                     Gabapentin withdrawals (6 for
                                                                                                                                                  Treatment failure: 0 / 113
                                                                                                                                                                                        dizziness, 5 for somnolence) but
                                                                                                                                                  Adverse Event: 21/113                 does not account for the other 4.
                                                                                         Gabapentin (n = 109/113)
                                                                                         Baseline: 4.3 (SD = 2.8),                                Lack of Compliance: 1/113             The JAMAreport accounts for 2
                                                                                         Week 8 (LOCF): 2.4 (SD = 2.5)                            Other: 2/113                          of the placebo withdrawals
                                                                                         Mean Change from Baseline: -1.9 (SD = 2.5)                                                     (somnolence) but not for the
                                                                                                                                              Placebo (n = 116)                         other 9. Also, other withdrawals
                                                                                         P< 0.001 favouring gabapentin; this is not an        Total Withdrawals = 21                    are not accounted for in this
                                                                                         independent outcome from the primary outcome         Reasons for Withdrawal:                   section. WDAE numbers do not
                                                                                         (less pain = more sleep, or more sleepiness = less       Treatment Failure: 2/116              match between the
                                                                                         pain)                                                    Adverse Event: 14/116                 unpublishedreport and the
                                                                                                                                                                                        JAMAreport; according to the
                                                                                                                                                  Lack of compliance: 2/116
                                                                                                                                                                                        unpublished report the numbers
                                                                                                                                              Other: 3/116
                                                                                                                                                                                        stated in the JAMAreport for
                                                                                         Short-Form McGill Pain Questionnaire (SF-
                                                                                                                                                                                        WDAE are the treatment
                                                                                         MPQ) (p. 1840 of JAMA report, p. 95 of               5. Total Adverse Events:                  associated withdrawals – this is
                                                                                         unpublished report)
                                                                                                                                                                                        an inappropriate
                                                                                            Completed after initial screening (week -1), at   According to JAMA report, the             distinction!The reporting of SAE
                                                                                            baseline (week 0), and at weeks 2, 4, and 8.      following adverse effects occurred        also differs between JAMA and
                                                                                            Also not an independent outcome.                  among the gabapentin group at
                                                                                                                                                                                                    7 of 16
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                                                                                                                       higher incidences than those in the                 unpublished report.
                                                                          Placebo (n = 110/116)                        placebo group:                                  13. The JAMA report conclusion
                                                                                                                       *note that the results were reported in             states on page 1842 “From the
                                                                          Baseline: 18.7 (SD = 8.5)                    percentages so calculations were performed to
                                                                          Week 8 (LOCF): 16.8 (SD = 10.8)              determine actual numbers                            data in Figure 4 and the text, the
                                                                          Mean Change from Baseline: -1.8 (SD = 8.9)        Somnolence                                     NNT for benefit is 3.2, the NNT
                                                                                                                            o P = 6/116 (5.2% )                            for minor adverse events is 3.7,
                                                                          Gabapentin (n = 104/113)                          o G = 31/113 (27.4%)                           and the NNT for adverse events
                                                                          Baseline: 17.2 (SD = 9.6)                         Dizziness                                      leading to study withdrawal is
                                                                          Week 8 (LOCF): 11.4 (SD = 9.3)                    o P = 6 / 116 (5.2%)                           25”.Independent calculation for
                                                                          Mean Change from Baseline: -5.8 (SD = 8.9)        o G = 27 / 113 (23.9%)                         NNT = 3.77. For NNH
                                                                          P-Value < 0.001                                                                                  calculation is similar (NNH=3.7)
                                                                                                                            Ataxia
                                                                                                                                                                           to JAMA report, but this must
                                                                                                                            o P = 0 / 116 (0.0%)
                                                                          Additional non-independent secondary                                                             underestimate true NNH for
                                                                                                                            o G = 8 / 113 ( 7.1% )
                                                                          endpoints:                                                                                       adverse events because certain
                                                                                                                            Peripheral Edema                               adverse events that were
                                                                                                                            o P = 4 / 116 (3.4%)                           deemed not associated with the
                                                                          Sensory Pain (1st component of SF-MPQ)            o G = 11 / 113 (9.7% )                         drug were excluded. Duration of
                                                                                                                            Infection                                      harm is unknown.
                                                                          Placebo (n = 110/116)                             o P = 3 / 116 (2.6%)
                                                                          Baseline: 14.5 (SD= 6.4)                                                                     14. The quality of life gives different
                                                                                                                            o G = 9 / 113 (8.0%)                           sample sizes for each subsection
                                                                          Week 8 (LOCF): 13.0 (SD = 8.0)
                                                                          Mean Change from Baseline: -1.5 (SD = 6.8)                                                       (e.g. G = 89, P = 99 for health
                                                                                                                            In the placebo group 12/116                    transition but g = 92, and p = 101
                                                                          Gabapentin (n = 104/113)                          (10.3%) reported pain                          for physical functioning). I can
                                                                          Baseline: 13.6 (SD = 7.2)                         compared with 5/113 (4.4%) in                  see any reason for this. Also I
                                                                          Week 8 (LOCF): 9.3 (SD = 7.1)                     the Gabapentin group                           can’t understand why, in general
                                                                          Mean Change from Baseline: -4.3 (SD = 7.0)                                                       significantly more people on
                                                                          P-Value < 0.001                              According to the unpublished report                 placebo filled out the QoL (e.g.
                                                                                                                       (Table 31, p.120)                                   average sample size for placebo
                                                                                                                                                                           group on the SF-36 was 100.2,
                                                                                                                                                 P
                                                                                                                                                          G (n=113)
                                                                                                                                                                           SD = 1.39, and for Gabapentin it
                                                                          Affective Pain (2nd component of SF-MPQ)                            (n=116)                      was 91.4, SD = 2.7) i.e. lots of
                                                                                                                                               60/116       84/113
                                                                                                                         Patients with AE
                                                                                                                                              (53.1%)      (74.3%)         variability in the number of
                                                                          Placebo (n = 110/116)                           Number of AE                                     people who completed the
                                                                                                                                                151          278
                                                                          Baseline: 4.1 (SD = 3.2)                            (total)
                                                                                                                                                                           Gabapentin survey.
                                                                          Week 8 (LOCF): 3.8 (SD = 3.6)                   Number of mild
                                                                                                                                                 70          113       15. Note that page 143 of the
                                                                                                                                AE
                                                                          Mean Change from Baseline: -0.3 (SD = 3.0)        Number of                                      research report states that “In
                                                                                                                                                 57          105
                                                                                                                           moderate AE

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                                                                          Gabapentin (n = 104/113)                               Number of Severe
                                                                                                                                                      15      30          the placebo group, 5 patients
                                                                                                                                        AE
                                                                          Baseline: 3.6 (SD = 3.2)                                    Deaths         1/116   0/113        (4%) experienced 5 serious
                                                                          Week 8 (LOCF): 2.0 (SD = 2.7)                            Patients with                          adverse events (1 fatal and one
                                                                          Mean Change from Baseline: -1.5 (2.9) *note that       Serious non-fatal    4       10          non-fatal); in the Neurontin®
                                                                                                                                        AE
                                                                          this is stated as -1.5 but clearly 2.0 – 3.6 = -1.6         WDAE            14      21          group 10 patients (9%)
                                                                          P-Value < 0.001                                           Note that page 143 of the             experienced 17 serious adverse
                                                                                                                                    research report states that “In       events, none of which were
                                                                                                                                    the placebo group, 5 patients         fatal.” However, according to
                                                                          MPQ Ratings of Present Pain Intensity (PPI)               (4%) experienced 5 serious            Table 31 of page 120 of the
                                                                             Unclear what this means in JAMA report;                adverse events (1 fatal and one       research report, there were 30
                                                                             Table 26 on p. 101 of unpublished report               non-fatal); in the Neurontin®         severe adverse events. What is
                                                                             clarifies that MPQ-PPI is a “5-point” scale of         group 10 patients (9%)                the difference?
                                                                             present pain intensity (0 = no pain, 1 = mild, 2       experienced 17 serious            16. Compliance is defined very
                                                                             = discomforting, 3 = distressing, 4 = horrible,        adverse events, none of which         specifically on pages 20-21 of
                                                                             5 = excruciating) – this is in fact a 6-point          were fatal.” However,                 the research report but
                                                                             scale.                                                 according to Table 31 of page         compliance rates in the placebo
                                                                             The only results presented in JAMA report (p.          120 of the research report,           and gabapentin groups are not
                                                                             1840) were that there was a rating of “no              there were 30 severe adverse          reported.
                                                                             pain” in final week for 16.0% of patients on           events. This difference
                                                                             Gabapentin compared with 8.8% of patients              between total “serious adverse
                                                                             treated with placebo.                                  events” (P=5, G=17) vs.
                                                                             The report states that these results were              “severe adverse events” (P=15,
                                                                             “statistically significantly improved among            G=30) is not explained.
                                                                             subjects treated with Gabapentin (P < 0.01)”
                                                                             however it does not give standard deviations,      6. Validated measures of
                                                                             or sample sizes for the gabapentin and             improvement in global function
                                                                             placebo groups and implies that the cited p-       including return to work, study,
                                                                             value (<0.01) is for the comparison of             activities of daily living
                                                                             gabapentinvs.placebo (not correct)
                                                                             The unpublished report states that the results         No efficacy variable of this
                                                                             were significant for both placebo and                  nature was included in the
                                                                             gabapentin (P < 0.01) however no p-value is            reports.
                                                                             provided for the comparison gabapentin vs.
                                                                                                                                7. > 50% reduction in pain score
                                                                             placebo - with the data provided it in
                                                                                                                                (NRS, VRS) from baseline to
                                                                             unpublished report, it is not possible to
                                                                                                                                endpoint
                                                                             calculate this independently.

                                                                                                                                                                                     9 of 16
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                                                                                                                                   No efficacy variable of this
                                                                          The unpublished report presents the following            nature was included in the
                                                                          results (NB “Week 8” are LOCF).                          reports.
                                                                          These would be better expressed by using the
                                                                          true ITT denominator (113) for the gabapentin        8. Mean between-group
                                                                          group, as for the placebo group (116) – see          difference in change of pain
                                                                          comments page before table.                          score (NRS, VRS) from baseline
                                                                                                                               to pre-defined endpoint by true
                                                                          Placebo (n = 116)                                    intention to treat (ITT) –where this
                                                                                     Pain Rating   Baseline   Week 8           was the pre-defined primary
                                                                                          0         3 / 116   10 / 116         endpoint in a trial
                                                                                          1        15 / 116   29 / 116
                                                                                          2        46 / 116   38 / 116
                                                                                          3        34 / 116   27 / 116             Measured by the difference in
                                                                                          4         9 / 116   4 / 116              average daily pain during
                                                                                          5         6 / 116   5 / 116              baseline week and average
                                                                                       Missing      3 / 116   3 / 116
                                                                                                                                   daily pain score in the final
                                                                                                                                   study week on the Likert scale
                                                                          Gabapentin (n = 109/113)                                 o Evaluated from daily pain
                                                                                     Pain Rating   Baseline   Week 8
                                                                                          0         2/ 109    17 / 109                  diaries
                                                                                          1        15 / 109   34 / 109             o Minimum treatment group
                                                                                          2        48 / 109   40 / 109                  difference in chance from
                                                                                          3        27 / 109    8 /109
                                                                                          4         9 / 109    4 /109                   baseline that was
                                                                                          5         5 / 109    3 /109                   considered clinically
                                                                                       Missing      3 / 109    3/ 109                   meaningful was 1.5 points
                                                                                                                               The following compare the JAMA
                                                                          Subject’s Global Impression of Change (SGIC)         report with unpublished report
                                                                          – not independent of primary outcome                 results:
                                                                              Subjects completed SGIC at final visit, week
                                                                              8                                                Placebo (n = 116/116)
                                                                              The JAMA report implies that the SGIC was        Baseline: 6.5 (SD = 1.7)
                                                                              either a 5 point scale (Moderately Improved,     Week 8 (LOCF): 6.0 (SD = 2.4)
                                                                              Much Improved, Minimally Improved, No            Mean Change from Baseline: -0.5
                                                                              change, Worse) where Moderately/Much             (SD = 1.6)
                                                                              Improved were pooled post-hoc,or a 4 point       Percent Change: 7.7%
                                                                              scale                                            P-value (p. 83 of unpublished
                                                                          The unpublished report clarifies that SGIC is a 7-   report) < 0.005
                                                                          point categorical scale (1= much improved,
                                                                                                                                                                      10 of 16
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                                                                          2=moderately improved, 3=minimally improved,
                                                                          4= no chance, 5= minimally worse, 6=moderately                Gabapentin (n = 109/113)
                                                                          worse, 7=much worse). Furthermore, some data                  Baseline: 6.3 (SD = 1.6), SD = 1.7
                                                                          are missing.                                                  in unpublished report
                                                                              See JAMA report Figure 3 – Subjects’ Global               Week 8 (LOCF): 4.2 (SD = 2.3)
                                                                              Impression of Change at week 8 (page 1840)                Mean Change from Baseline: -2.1
                                                                                                                                        (SD = 2.1)
                                                                                                                                        Percent Change: 33.3%
                                                                                                                                        P-value (p. 83 of unpublished
                                                                                                                                        report) < 0.001

                                                                                                                                        The mean between group difference
                                                                                                                                        between change in pain score is
                                                                                                                                        estimated by change in Gabapentin
                                                                                                                                        pain score – change in placebo pain
                                                                                                                                        score = (-2.1) – (-0.5) = -1.6
                                                                          According to the JAMA report:                                 p-value < 0.001
                                                                          Placebo (n = 116/116)                                         9. % of patients achieving “much
                                                                          *note that these results were provided in percentages so we   improved” or “moderately
                                                                          have made calculations to discern N’s for each category for
                                                                          each group:                                                   improved”

                                                                          Moderately or Much Improved: 14/116(12.1%)                        Percentage of patients
                                                                          Minimally Improved: 9 / 116 (7.8%)                                achieving much improved was
                                                                          No Change: 69 / 116(59.5%)                                        o Study reports Gabapetin :
                                                                          Worse: 10 / 116 (8.6%)                                                47 / 109, 43.1% but
                                                                          No Response: 14 / 116 (12.1%)                                         should be 47 / 113, 41.6%
                                                                                                                                            o Placebo: 14/116 or 12.1%
                                                                          Gabapentin (n = 109/113)                                          o A between groups p-value
                                                                          *note that these results were provided in percentages so we           was not calculated here.
                                                                          have made calculations to discern N’s for each category for
                                                                          each group: Results should be expressed for categorical           o Note we have not decided
                                                                          variables as % of the true ITT N (113)                                what to do about missing
                                                                                                                                                values (i.e. 14
                                                                          Moderately or Much Improved: 47/109 (43.1%)                           observations missing in
                                                                          (42/113 = 42%), etc.                                                  placebo group and 15
                                                                          Minimally Improved: 19/109 (17.4%)                                    missing in Gabapentin

                                                                                                                                                                              11 of 16
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                                                                          No Change: 25/109 ((22.9%)                                               group)
                                                                          Worse: 3/109 ((2.8%)
                                                                          No Response: 15/109 (13.8%)                                      10. Histogram presentation of all
                                                                                                                                           PGIC 7-point results

                                                                          According to the unpublished report at p. 89:                        See histograms included at end
                                                                          (Results should be expressed for categorical variables as % of       of table.
                                                                          the true ITT N (113)



                                                                          Placebo (n = 116/116)
                                                                          1. Much Improved: 6 /116 (5.2%)
                                                                          2. Moderately Improved: 8 /116 (6.9%)
                                                                          3. Minimally Improved: 9/116 (7.8%)
                                                                          4. No Change: 69/116 (59.5%)
                                                                          5. Minimally Worse: 5/116 (4.3%)
                                                                          6. Moderately Worse: 5/116 (4.3%)
                                                                          7. Much Worse: 0/116 (4.3%)
                                                                          8. Missing: 14/116 (4.3%)

                                                                          Gabapentin (n = 109/113)
                                                                          1. Much Improved: 21 / 109 (19.3%)
                                                                             e.g. 21/113 = 19%, etc.
                                                                          2. Moderately Improved: 26/109 (23.9%)
                                                                          3. Minimally Improved: 19 / 109 (17.4%)
                                                                          4. No Change: 25/109 (22.9%)
                                                                          5. Minimally Worse: 3/109 (2.8%)
                                                                          6. Moderately Worse: 0 / 109 (0%)
                                                                          7. Much Worse: 0 / 109 (0%)
                                                                          8. Missing: 19 / 109 (13.8%)


                                                                          Investigator-rated Clinical Global Impression
                                                                          of Change (CGIC) – not independent of
                                                                          primary outcome

                                                                                                                                                                                12 of 16
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                                                                               Clinicians completed questionnaires at end of
                                                                               treatment (week 8)
                                                                               Similar to above, seems like a 4 or 5 point
                                                                               scale in published report but is clearly a 7
                                                                               point scale in the research report.
                                                                               JAMA Figure 4: Investigator-rated Clinical
                                                                               Global Impression of Change at week 8 (p.
                                                                               1841)




                                                                          JAMA Report:

                                                                          Placebo (n = 116)
                                                                          *note that these results were provided in percentages so
                                                                          calculations were done do discern sample sizes.
                                                                          Moderately or Much Improved: 15 / 116 (12.9%)
                                                                          Minimally Improved: 7 / 116 (6.0%)
                                                                          No Change: 71 / 116 (61.2%)
                                                                          Worse: 9 / 116 (7.8%)
                                                                          No Response: 14 / 116 (12.1%)

                                                                          Gabapentin (n = 109/113)
                                                                          *note that these results were provided in percentages so
                                                                          calculations were done do discern sample sizes. Results should
                                                                          be expressed for categorical variables as % of the true ITT N
                                                                          (113)

                                                                          Moderately or Much Improved: 43/109 (39.5%)
                                                                          e.g. 43/113 = 38%, etc.
                                                                          Minimally Improved: 19/109 (17.4%)
                                                                          No Change: 29 / 109 (26.6%)
                                                                          Worse: 3 / 109 (2.8%)

                                                                                                                                                           13 of 16
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                                                                          No Response: 15 / 109 (13.8%)


                                                                          Unpublished Report:
                                                                          Results should be expressed for categorical variables as % of
                                                                          the true ITT N (113)


                                                                          Placebo (n=116)
                                                                          1. Much Improved: 3/116 (2.6%)
                                                                          2. Moderately Improved: 12/116 (10.3%)
                                                                          3. Minimally Improved: 7/116 (6.0%)
                                                                          4. No Change: 71/116 (61.2%)
                                                                          5. Minimally Worse: 7 /116 (6.0%)
                                                                          6. Moderately Worse: 2/116 (1.7%)
                                                                          7. Much Worse: 0/116 (0%)
                                                                          8. Missing: 14/116 (12.1%)

                                                                          Gabapentin (n = 109/113)
                                                                          1. Much Improved: 17/109 (15.6%)
                                                                             e.g. 17/113 = 15%
                                                                          2. Moderately Improved: 26/109 (23.9%)
                                                                          3. Minimally Improved: 19/109 (17.4%)
                                                                          4. No Change: 29/109 (26.6%)
                                                                          5. Minimally Worse: 2 /109 (1.8%)
                                                                          6. Moderately Worse: 0 /109 (0%)
                                                                          7. Much Worse: 1/109 (0.9%)
                                                                          8. Missing: 15/109 (13.8%)

                                                                          Short-Form 36 Quality of Life Questionnaire
                                                                          (SF-36) – not independent of primary outcome
                                                                              Completed at week 0 and again at week 8 at
                                                                              the final visit
                                                                              According to P. 1840 of JAMA report, the SF-
                                                                              36 measures of physical functioning, role-
                                                                              physical, bodily pain, vitality, and mental

                                                                                                                                                           14 of 16
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                                                                              health all showed Gabapentin to be superior
                                                                              to placebo (P < 0.01; table 3)
                                                                              Table 3 (JAMA report, p. 1841) was too large
                                                                              for this column and is therefore not included
                                                                              here.
                                                                              Table 28 of the unpublished report (p. 107)
                                                                              shows the same results as Table 3.

                                                                          Profile of Mood States (POMS) – not
                                                                          independent of primary outcome
                                                                              Completed at week 0 and again at week 8 at
                                                                              the final visit
                                                                              According to page 1840 of JAMA report,
                                                                              patients treated with gabapentin showed
                                                                              significantly greater improvement than
                                                                              subjects treated with placebo in the POMS
                                                                              assessments of depression-dejection, anger-
                                                                              hostility, fatigue-inertia and confusion-
                                                                              bewilderment, as well as in total mood
                                                                              disturbance (P < 0.01)
                                                                              Results also in table 3 on page 1841 (see
                                                                              end of document)
                                                                              Results in table 30 on page 115 of
                                                                              unpublished report match results in published
                                                                              report.




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                                                  Patient Global Impression of Change
                                                          Rowbotham (945-211)

       100
        90
        80
        70
                                                        69/116
        60
                                                                                                                                   Placebo
        50
   %




                                                                                                                                   Gabapentin
        40
        30
                   21/113        26/113       19/113      25/113                                                          19/113
        20                                                                                                           14/116
               6/116         8/116        9/116                            3/113
                                                                       5/116          5/116
        10                                                                                                 0/113
                                                                                           0/113   0/116
         0
             Much Improved   Moderately   Minimally     No Change   Minimally Worse   Moderately   Much Worse      Not Evaluated
                             Improved     Improved                                     Worse




                                                                                                                                                           16 of 16
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Study No. 5 ‐ Dallochio 2000 ‐PUBLISHED TRIAL SUMMARY – OPEN‐LABEL TRIAL, THEREFORE SUMMARIZED ONLY FOR SAFETY OUTCOMES –Prepared by Thomas                                                                      1
L. Perry, M.D. – FINAL – July 23, 2008


Study No. 5 ‐ Dallochio 2000 – PDPN – GABAPENTIN VS. AMITRIPTYLINE OPEN LABEL TRIAL SUMMARY, ONLY FOR SAFETY OUTCOMES – FINAL – July 23, 2008
Study/ Design/dates            Inclusion criteria/baseline            Intervention(s), experimental design,        Predefined           Outcomes hierarchy (Cochrane          Comments/conclusions of Dr. Perry
                               characteristics                        N of subjects randomized (ITT)/ N who        outcomes/issues      safety hierarchy only – open trial)
                                                                      completed study                              in statistical
                                                                                                                   analysis
Study No. 5                    Painful diabetic peripheral            Study design: 12-week open, parallel-        Because this is      Mean Achieved Doses:                  1. Low quality open study which
Dallochio C, Buffa C, et al.   neuropathy (PDPN):                     group single centre trial of gabapentin up   an open-label        G (N=13): 1785 mg/d (351)             may not have been randomized, is
Gabapentin vs.                                                        to 2400 mg/d vs. amitriptyline up to 90      trial, this          A (N=12): 53 mg/d (16)                open-label, and has no placebo
Amitriptyline in Painful       Inclusion:                             mg/d for a total of 12 weeks. Drugs were     analysis will only                                         group.
Diabetic Neuropathy: An            • Painful DPN > 6 months           titrated over 4 weeks, starting from         look at safety       Mortality: not reported
Open-Label Pilot Study. J.         • Pain score > 2 on a 4-point      G=1200 mg/d and A-30 mg/d, then              outcomes –                                                 2. Unusual to have no drop outs in
Pain and Symptom                       categorical scale (0= no       maintained at maximum tolerated dosage       definitions at pp                                          older patients in an 8 week study at
                                                                                                                                        Serious Adverse Events (number
Management. 2000; 20:                  pain to 3=severe pain)         for 8 weeks.                                 31-32 of                                                   large doses.
                                                                                                                                        of patients or number of events):
280-283.                                                                                                           unpublished
                                   • “each patient was asked to                                                                         not reported
                                                                      Patient flow:                                report appear to                                           3. Reporting of AE inadequate to
                                       rate average pain during
Support: Parke-Davis                                                      • Screened: not reported                 be compatible                                              meta-analyse. Inappropriate to
                                       previous use of gabapentin                                                                       Withdrawal Due to Adverse
SpA, Milan, Italy is co-                                                  • Randomized: 25 (randomization          with other                                                 meta-analyse total patients with
                                       or amitriptyline”                                                                                Events: not reported
author.                                                                         procedure not described)           gabapentin                                                 AE’s as we cannot be sure patients
                               Exclusion (interpreted from apparent
                                                                                                                   studies.                                                   were randomized.
                               typographical error at p. 281):            • randomization: G=13; A=12                                   Total patients with AE’s:
Dates: Trial performed in          • Renal, hepatic, CV                   • All 25 patients “completed trial”                           G=4/13
1997 (p. 285).                         insufficiency                                                                                    P=11/12 (P=0.003, Fisher’s exact      4. Unusual to ask patients about
                                                                                                                                        test)                                 their response to gabapentin or
                                   • “other adjuvant analgesics,      NB: there is no flow diagram nor way                                                                    amitriptyline prior to randomization
                                       such as TCA’s, mexilitine,     to confirm that all 25 patients                                                                         – unclear why this was done or how
                                       carbamazepine, or other        completed an 8-week, relatively high                              Total AE’s (patients may have >
                                                                                                                                                                              it might have affected
                                       anticonvulsants...” for 1      dose trial, which is not in keeping with                          1):
                                                                                                                                                                              “randomization” or outcomes.
                                       month                          other studies.                                                    Not reported
                                                                                                                                                                              5. Outcomes are claimed to favour G
                               Overall group characteristics:                                                                           Characteristic AE for combined
                                                                                                                                                                              over A, but are not comparable to
                               Age range: 61-83                                                                                         groups:
                                                                                                                                                                              other pain outcomes and not
                                                                                                                                        Not enumerated in detail
                                                                                                                                                                              reliable.

Notes: This is an open­label trial which is not suitable for meta­analysis, even for safety outcomes.




                                                                                                                                                                                                                 1
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      PARKE DAVIS/PFIZER 945‐224 (PDPN), Study No. 6 ‐ Reckless J et al – UNPUBLISHED TRIAL SUMMARY – prepared by Thomas L. Perry, M.D. – FINAL ‐ July 22 2008                                                    1



Study/ Design/dates         Inclusion               Intervention(s),        Predefined outcomes/issues in statistical           Outcomes hierarchy (Cochrane, investigators:              Comments/conclusions of
                            criteria/baseline       experimental            analysis                                            primary/secondary)                                        Dr. Perry
                            characteristics         design,
                                                    N of subjects
                                                    randomized (ITT)/
                                                    N who completed
                                                    study
Study No. 6                 Painful diabetic        Placebo vs.             Predefined outcomes:                                Mortality (p. 84):                                        1. Despite “enrichment” by
Reckless, J                 peripheral              gabapentin (3 x/day)                                                        P = 0; Gabapentin groups = 0                              excluding patients who had
Parke-Davis (Berlin,        neuropathy (PDPN):      titrated over 3 weeks   Primary:                                                                                                      previously used gabapentin,
Germany) 945-224                                    to 600 mg/d, 1200                                                           Serious Adverse Events (p. 84):                           (partly during a period when the
                            Inclusion/exclusion:    mg/d, or 2400 mg/d;     Pain (Likert 0-10 score) as group mean of           P = 4/77                                                  Backonja publication of Study
UNPUBLISHED                 • No prior              then 4 weeks steady     individual means from patients’ last 7 available    G600 = 5/82                                               245-210 “…gave rise to hish
                                 treatment with     dose. Number            scores while on study medication (up to end of      G1200: 2/82                                               expectations concerning the
7 week DBRCT May 29,             gabapentin         screened = 432,         Week 7) from daily diary records of previous 24     G2400: 3/84                                               analgesic effects of gabapentin”
1998 – Sept. 7, 1999             (“enrichment       randomized = 325.       hours                                                                                                         (p. 136) this study shows no
                                 bias”)                                     (LOCF for noncompleters, protocol specifies         Withdrawal Due to Adverse Events (WDAE):                  beneficial effect on primary or
Final Protocol: February    • No chronic            P = 77 randomized       BOCF for any subject taking drug who had no          P = 8/77                                                 secondary outcomes of any dose
23, 1998 (p. 175/3214)           kidney disease     (77 reported for        post-baseline assessment – p. 14 of protocol).       G600 = 8/82                                              of gabapentin from 600-2400
                                 (Cr clearance >    safety, 77 for efficacy;                                                     G1200 = 3/82                                             mg/day for painful DPN.
Investigators meeting            60 mL/min          65 completed             Change in pain was also assessed by                 G2400 = 11/84                                            Secondary outcomes which
March 6-7, 1998                  predicted          7weeks)                  comparison of group means of individual patient    (“Associated AE’s” appear higher (8/84) in G2400 group)   purport to be significant are
59 European, 2 South             (violated for                               differences from baseline (screening) determined                                                             results of multiple comparisons
African sites                    some patients)     G600 = 82                from last 7 available daily pain scores during     Total withdrawals:                                        and are probably not statistically
                                                    randomized (82           screening and during double blind treatment (up    P=12/77                                                   significant.
                            • Pain score
Last statistical protocol        (Likert) >4 on     reported for safety,     to end of Week 7).                                 G600=12/82
specified October 15,            daily pain diary   82 for efficacy; 70                                                         G1200=6/82                                                2. The study confirms other
1999                             before             completed 7 weeks)       NB: 1 patient in G2400 group was not               G2400=19/84                                               findings of dose dependent
                                 randomization                               evaluable due to missing screening data.                                                                     neurotoxicity, but did not find
                                                    G1200 = 82               Other patients with protocol violations, e.g. 14   Total patients with AE’s                                  evidence for dose-dependent
Blind broken October 26,    • Pain score                                                                                                                                                  efficacy, despite finding nearly a
1999                             (VAS) > 4 at       randomized (82           patients with baseline score < 4, were             P=36/77
                                                    reported for safety,     evaluated (p. 44).                                 G600=40/82                                                nearly linear dose-concentration
                                 screening and
                                                    82 for efficacy; 76                                                         G1200=35/82                                               relationship for mean plasma
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     PARKE DAVIS/PFIZER 945‐224 (PDPN), Study No. 6 ‐ Reckless J et al – UNPUBLISHED TRIAL SUMMARY – prepared by Thomas L. Perry, M.D. – FINAL ‐ July 22 2008                                                        2



Final report February 7,       randomization    completed 7 weeks)      Sample size estimation (p. 32) was calculated    G2400=45/84                                                         concentrations at steady state.
2000                           (SF-MPS)                                 based upon results of Study 245-210 (final
                           NB: A few patients   G2400 = 84              report December 30, 1998, p. 159) showing        Total patients with AE did not differ between groups (p. 84), but
                           sneaked through      randomized (84          group mean difference at endpoint on NRS         “Associated AE’s” affecting nervous system showed the               3. It appears to have assessed all
                           screening without    reported for safety,    (Likert) score of 1.3 for target dose of 3600    usual pattern for gabapentin:                                       but one patient (in 2400 mg/d
                           meeting criteria     83 for efficacy; 65     mg/d vs. placebo. Designers of 245-224 must      P= 6/77 (8%)                                                        group) for primary efficacy
                                                completed 7 weeks)      have been aware by early 1998 of results of      G600=10/82 (12%)                                                    outpoints (true ITT-LOCF) and
                           Baseline                                     245-210.                                         G1200=10/82 (12%)                                                   thus appears to be superior in
                           characteristics:     This study appears                                                       G2400=19/84 (23%)                                                   quality to other trials.
                           • Mean pain          to be true ITT-LOCF     Analysis by ANCOVA with treatment and            No test of statistical significance reported. The authors
                               score (Likert    as all patients         cluster (pooled centres) as fixed effects and    comment (p. 90): “…The highest incidence of withdrawals             4. Exploratory or pre-specified
                               NRS, 0-10):      randomized except       baseline mean score as covariate – similar to    due to adverse events was found in the 2400 mg gabapentin           analyses of secondary outcomes
                           P       (N=77/77):   for 1 patient in        245-210. (p. 32) Analysis on ITT-LOCF            group. In this group especially adverse events of the               found no benefit of gabapentin at
                           6.18 (SD 1.68)       G2400 group who         population appears to be complete except for     nervous system resulted in withdrawal of the patients.              600-2400 mg/day for:
                           Range: 1.0 - 10      lacked baseline pain    1 patient (see above). “…Both results of         While 8 pagtients were withdrawn from the 2400 mg                       • % responders
                           G600 (N=82/82):      score appear to         original data and transformed data were o be     gabapentin group due to adverse events of the nervous
                                                                                                                                                                                                 • % “pain-free” or “virtually
                           6.30 (SD 1.49)       have been reported      displayed and discussed. In case of failure of   system, only 1 patient discontinued the study due to
                                                                                                                                                                                                      pain-free”
                           Range: 3.1 – 10      for efficacy. It does   data transformation, a nonparametric             adverse events of the nervous system in the 600 and 1200
                                                                        ANCOVA given by Conover was to be                mg gabapentin group, respectively. In the placebo group                 • patient global impression
                           G1200 (N=82’82):     not report on all
                                                                        applied…” (p. 33)                                thre was no adverse event leading to withdrawal that was                     of change
                           6.10 (SD 1.58)       patients at true
                           Range: 3.1 - 10      endpoint, and could                                                      affecting the nervous system.” (p. 91 Table 39)                         • clinician global
                           G2400 (N=83/84):     exaggerate                                                                                                                                            impression of change
                           6.23 (SD 1.58)       apparent efficacy of                                                     Total AE: not reported
                           Range: 3.7-10– 1     higher dose                                                                                                                                  5. During open-label extension,
                           had no baseline      gabapentin if                                                            Weight: (mean, or mean change, by group)                            the authors noted that “…The
                           score                efficacy                                                                 Not reported in complete report (? Appendices)                      higher patients were titrated, the
                                                determinations were     Secondary:                                       Primary outcome (endpoint):                                         more paracetamolthey took.”
                                                made at times of        NB: all secondary outcomes are dependent,                                                                            (Table 55, p. 117) THIS
                           •   Groups appear                                                                             Group mean pain scores at “endpoint” = ITT-LOCF
                                                                                                                                                                                             OBSERVATION, ALONG WITH
                               generally        early patient           not independent of primary outcome, as they      (“endpoint” = last observation carried forward as if all
                                                withdrawal due to       all measure various aspects of the same thing    endpoints were at 7 weeks):                                         THE PRIMARY OUTCOME
                               similar. Some
                                                adverse neurologic      (pain relief). There was no difference between                                                                       DATA, CHALLENGES THE
                               in each group
                                                effects (p. 91)         placebo and gabapentin groups for any                                                                                ASSUMPTION THAT THERE IS
                               had creatinine                                                                            P (N=77):             4.5 (SD 2.3)
                                                                        outcome, so this will not be discussed further                                                                       DOSE-DEPENDENT EFFICACY
                               clearance <                                                                               G600 (N=82):          4.9 (SD 2.3)
                                                                                                                                                                                             FOR GABAPENTIN, WHEREAS
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                   screening                       here.                                            G1200 (N=82):         3.9 (SD 2.4)                          DOSE-DEPENDENT TOXICITY
                   criterion.                                                                       G2400 (N=83/84):      4.1 (SD 2.5)                          IS A CONSISTENT FEATURE OF
                                                                                                                                                                ALL STUDIES.
                                                   Additional information from secondary            Change from baseline:
                                                   outcomes and post-hoc comparisons                P:      -1.7 (SD 2.1)                                       THE AUTHORS CONCLUDE (p.
                                                   apparently described (? Statistical protocol)    G600: -1.4 (SD 2.0)                                         135 et seq):
                                                   prior to unblinding data (p. 36):                G1200: -2.2 (SD 2.2)                                        “…In this study, none of the tested
                                                   • Dose of paracetamol (acetaminophen) by         G2400: -2.1 (SD 2.5)                                        gabapentin doses was superior to
                                                       number of days taken and total dose                                                                      placebo on the primary endpoint
                                                       ingested during 4-week fixed dose phase of   There was no difference between any gabapentin group vs.    weekly mean pain score; …
                                                       trial, by group                              placebo, nor pooled 1200/2400 gabapentin groups vs.
                                                   • Number and % of “responders”, defined as       placebo. The report authors state:                          “… The failure to demonstrate
                                                       patients in each group attaining > 50%                                                                   efficacy on the primary outcome
                                                       reduction in individual mean endpoint pain   “…This means that in this study efficacy of the chosen      measure may be in part due to a
                                                       score vs. baseline mean , who did not        doses of gabapentin in controlling pain associated with     high placebo effect in this study…
                                                       withdraw for non-efficacy and did not take   diabetic neuropathy could not be proven.”
                                                       any forbidden medication during days used                                                                “…Compared to study 945-210
                                                       to calculate endpoint NRS (this definition   Figure 3 p. 53) shows this visually.                        the rate of all adverse events as
                                                       could include people who withdraw due to                                                                 well as of associated adverse
                                                       adverse events!) – ITT – see p. 54/3214 of   Secondary outcomes:                                         events was much lower in study
                                                       final study report                                                                                       945-224….Thus, the decreased
                                                                                                    Paracetamol (acetaminophen) consumption during 4-week       effect with regard to efficacy
                                                                                                    fixed-dose period (not all patients used it):               parameters of lower doses of
                                                                                                    P (N=32): 16 days mean use; 26 g mean ingestion             gabapentin is coupled with a
                                                                                                    G600 (N=26): 18 days mean use; 38 g mean ingestion          decreased rate of adverse
                                                                                                    G1200 (N=28): 16 days mean use; 32 g mean ingestion         events…”
                                                                                                    G2400 (N=35): 20 days mean use; 43 g mean ingestion
                                                                                                    The authors note “… The analysis of total intake revealed   6. Publication of this trial would
                                                                                                    that the higherst amounts were taken in the 2400 mg         have FUNDAMENTALLY
                                                                                                    gabapentin group and the lowest amounts in the placebo      ALTERED INTERPRETATION OF
                                                   •   Number of “pain-free” (endpoint individual   group…”                                                     THE SMALLER BACKONJA
                                                       mean NRS score = 0) and “virtually pain-                                                                 TRIAL AND REFERENCES TO
                                                       free” (endpoint individual mean NRS score    “Responder” analysis>50% reduction in pain from baseline    IT!
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                                                      between 0 and 1) for each group – ITT-   (note conditions: this definition could include people who
                                                      LOCF                                     withdraw due to adverse events!) – this is almost certainly
                                                                                               not a pre-defined analysis in original protocol):

                                                                                               TLP conclusion: this outcome cannot be used for meta-
                                                                                               analysis as it is not pre-specified.

                                                                                               P = 19/77 (25%)
                                                                                               G600 = 13/82 (16%)
                                                                                               G1200 = 33/82 (40%)
                                                                                               G2400 = 25/84 (ITT: 30%)
                                                                                               Statistical significance is claimed for G1200 vs. placebo but there
                                                                                               is no correction for multiple comparisons – the authors note
                                                                                               placebo was better than G600 and G1200 better than G2400! (p.
                                                                                               57) -

                                                                                               Analysis of “virtually/totally pain-free” patients (post-hoc):
                                                                                               P = 8 virtually, 0 totally pain-free
                                                                                               G600 = 4 virtually, 1 totally pain-free
                                                                                               G1200 = 6 virtually, 1 totally pain-free
                                                                                               G2400 = 12 virtually, 4 totally pain-free
                                                                                               NB: these could include patients who withdrew due to adverse
                                                                                               events. The authors found no significant difference between
                                                                                               gabapentin groups and placebo group. (p. 58)

                                                                                               Sleep interference scores at endpoint:
                                                                                               P (77/77): 3.87 (SE 0.24)
                                                                                               G600 (82/82): 3.85 (SE 0.23)
                                                                                               G1200 (82/82): 2.80 (SE 0.23)
                                                                                               G2400 (82/84): 3.01 (SE 0.23) – not ITT (2 missing)
                                                                                               Authors claim significant reduction in G1200 and G2400 groups
                                                                                               (difference vs. placebo = 0.85-1.1, p = 0.001) but do not describe
                                                                                               correction for multiple comparisons. Placebo also lowered sleep
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                                                                                         interference.

                                                                                         Patient Global Impression of Change at endpoint(PGIC):
                                                                                         No significant difference was found between placebo vs.
                                                                                         gabapentin groups. Many observations missing from 3 of 4
                                                                                         groups. Imputation of missing observations as “no change” or
                                                                                         “worse” would reduce any apparent differences in graph at p. 73,
                                                                                         Figure 9.

                                                                                         TLP conclusion: Although many missing observations, this
                                                                                         can be used for meta-analysis by using ITT denominators,
                                                                                         i.e. PGIC:

                                                                                         P = 26/77 (34%)
                                                                                         G600 = 22/82 (27%)
                                                                                         G1200 = 36/82 (44%)
                                                                                         G2400 = 36/84 (ITT: 43%)
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                                                                                         Clinician’s GIC (CGIC) at endpoint:
                                                                                         Authors claim difference favouring G1200 group only vs. placebo
                                                                                         (p. 75) but do not report correction for multiple comparisons.
                                                                                         Many missing observations from other 3 groups.

                                                                                         Gabapentin plasma concentrations (p. 82):
                                                                                         P (N-65): 0 mg/L
                                                                                         G600 (N=65): 2.27 mg/L
                                                                                         G1200 (N=79): 3.71 mg/L
                                                                                         G2400 (N=72): 7.01 mg/L
                                                                                         These were measured at end of double-blind fixed dose phase
                                                                                         and “were within the expected range”, demonstrating close to
                                                                                         linear kinetics for group means.
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Study No. 7 ‐ VAN DE VUSSE 2004 – GABAPENTIN FOR CRPS‐1 – DBR CROSSOVER TRIAL (PUBLISHED VERSION ONLY) – final ‐ Dr. Thomas L. Perry, July 24, 2008                                                                1



VAN DE VUSSE 2004 – GABAPENTIN FOR CRPS‐1 – DBR CROSSOVER TRIAL (published) – FINAL – SUMMARY – Study No. 7
Study/Design/dates                       Inclusion                    Intervention(s),            Predefined                Outcomes hierarchy (Cochrane, investigators:                     Comments/conclusions
                                         criteria/baseline            experimental design,        outcomes/issues in        primary/secondary)                                               of Dr. Perry
                                         characteristics              N of subjects               statistical analysis
                                                                      randomized (ITT)/ N
                                                                      who completed study
Study No. 7                              Chronic CRPS-1               Study design: 8 week        Predefined                Mortality: Not reported                                          1. This is an unusual
Van de Vusse, Stomp-van den Berg         (complex regional pain       double blind crossover      outcomes:                                                                                  study which is not
et al. Randomised controlled trial       syndrome type 1,             RCT comparing G with P                                Serious Adverse Events: Not reported                             directly comparable
of gabapentin in Comples Regional        synonymous with “reflex      as 2 arms:                  Primary: VAS (0-10                                                                         with any other study.
                                         sympathetic dystrophy”)      P/G x 3 weeks with 2        point) pain rating for    Withdrawal Due to Adverse Events:                                Doctors were
Pain Syndrome type 1
                                                                      week washout between        last 24 hours at end of   interpreted for this table as total from each sequence (by       unblinded, and patients
[ISRCTN84121379]. BMC                                                 treatments vs. G/P with 2                                                                                              were unblinded after
                                         Inclusion:                                               phase 1, end of           treatment) over total exposed (completers + withdrawals for
Neurology 2004, 4: 13                                                 week washout between                                                                                                   crossover. The
                                         • 18-75 years                                            washout, end of           each drug):
doi:10.1186/1471-2377-4-13. (9                                        treatments.                 phase 2                   P=0/51; G=3/54                                                   authors conclude that
pages)                                   • pain > 3 on a visual
                                              analog scale (VAS) of                                                         These appear suitable for meta-analysis                          “Gabapentin had a mild
                                              0 (no pain) -100        Patient flow (Fig 1, p Secondary:                                                                                      effect on pain in
Support: Parke-Davis supplied                 (worst pain             4/9):                                                 Total withdrawals: P=6/56; G=4/53                                patients with CRPS 1
gabapentin and matching placebo               imaginable)             • Screened (files): 188 • “Global perceived                                                                            …A subpopulation of
capsules and financial support for 2                                                                                                                                                         CPRS patients may
                                         • long-standing CRPS         • Screened (invited):     effect (GPE) on             Total patients with AE’s: interpreted for this table as total
authors to attend 1 congress.                                                                         pain” as 7            from each sequence (by treatment) over total exposed per         benefit from
                                              known to academic           151
                                                                                                      categories from       treatment from Table 5.                                          gabapentin, but then
                                              hospital pain service   •   Excluded: 93
Dates: Patients enrolled and completed                                                                “worst ever” to       NB: these totals differ slightly for P (N=56) and for G (N=53)   for each individual
                                              with functional             (mostly non-
between November 1998 – December                                                                      “best ever”.          from the interpolated number for patients exposed to each        patient the benefit has
                                              impairment                  consenting or
1999                                                                                                                        drug, but the denominators are so close that it is preferable    to be weighed against
                                              anatomically separate       different diagnosis)    •   “Neuropathic pain
                                                                                                                                                                                             the frequently
                                              from initial trauma                                     scale.”               to use the numbers from Table 5 for this analysis, as
                                                                      •   Randomized: 58 as                                                                                                  occurring side effects.”
Trial design: Independent.               Exclusion:                                               •   Sensibility of skin   reported:
                                                                          P/G=29,
                                         •    “known kidney                                                                 P total = 21/51 (41%)
                                                                          G/P=29                  •   Mechanical                                                                             2. Outcomes other
DBR Crossover Trial, 8 weeks including        and/or severe liver                                                           G total = 36/54 (67%)
                                                                      •   Completed                   allodynia test
                                                                                                                            These appear suitable for meta-analysis                          than safety are not
2 treatment periods of 3 weeks separated      disease:                    crossover: 46/58        •   Physical                                                                               suitable for meta-
by 2 week washout, comparing
gabapentin (G) with placebo to final dose
                                          •   diabetes                    (79%) as P/G=24/29          examination
                                                                                                                            Most important AE’s (Table 5):                                   analysis. The number
                                                                          (83%), G/P=22/29            abnormalities
of G=1800 mg/d                                                                                                              interpreted for this table as total from each sequence (by       of patients shown as
                                                                          (76%)



                                                                                                                                                                                                                   1
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                                         Allowable drugs: usual      •   Exposed to drug                                  treatment) over total exposed per treatment from Table 5.        exposed for safety
Concealment: identical placebo           analgesics allowed              (completers +           NB: none of these        NB: these totals differ slightly for P (N=56) and for G (N=53)   outcomes are so close
capsules                                                                 withdrawals for each    scores are               from the interpolated number for patients exposed to each        to the total randomized
                                         Baseline characteristics:       drug): P=56, G=53)      comparable with          drug, but the denominators are so close that it is preferable    that they suffice as
Randomization: “assignment scheme        Mean age: 44 (range 24-     •   Completed assigned                               to use the numbers from Table 5 for this analysis, as
                                                                                                 any other commonly                                                                        denominators,
was generated by our hospital pharmacy   75)                             treatments:                                      reported:
                                                                                                 used scales.                                                                              although it was not
from a table of random numbers. The                                      P=50/56; G=49/53                                                                                                  possible to confirm
closed envelopes containing the                                      •   Withdrawn from                                   Dizziness: P=2/51 (3.9%); G=20/54 (37%)
                                                                                                 Test of blinding:                                                                         from the article
assignments were prenumbered and kept                                    treatments: P=6/56;                              Somnolence: P=3/51 (5.9%), G=15/54 (28%)
                                                                                                 Both investigators and                                                                    whether the
at the pharmacy..” (p. 2/9)                                              G=4/53;                                          Lethargy: P=1/51 (2.0%); G=11/54 (20%)
                                                                                                 subjects were                                                                             denominators are
                                                                         washout=2/?                                      “Drunken” or “disturbed gait” (ataxia):
                                                                                                 unblinded (p. 3/9)                                                                        exactly as shown.
                                                                                                                                  P=0/51 (0%); G=8/54 (15%)

                                                                     Drug doses/titration (p.                             These appear suitable for meta-analysis, using total of
                                                                     2112):                                               “drunken or disturbed gait” as equivalent to “ataxia”
                                                                     Titration from G=600                                 reported in other studies.
                                                                     mg/d on day 1-2 to 1800
                                                                     mg/d by day 5, then                                  Total AE’s (patients may have > 1 as total exceeds total
                                                                     stable to end of week 3.                             patients with AE):
                                                                                                                          Not reported
                                                                     Statistical Analysis: (p.
                                                                     3/9)
                                                                                                                          Disability: not reported
                                                                     Unusually complicated
                                                                     description. See original
                                                                     report.                                              > 50% reduction in NRS pain score at endpoint vs.
                                                                                                                          baseline: not reported (not an outcome)

                                                                                                                          Primary outcome VAS pain score:
                                                                                                                          Completer analysis only, not suitable for meta-
                                                                                                                          analysis. Numbers also are only presented
                                                                                                                          graphically.

                                                                                                                          Secondary outcomes:
                                                                                                                          See original report. None are comparable to other



                                                                                                                                                                                                                2
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                                                                                          studies, nor are clearly clinically meaningful.

                                                                                          PGIC: not reported




                                                                                                                                                      3
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Study No. 8 - PARKE DAVIS/PFIZER 945-271 – Gordh T et al – UNPUBLISHED - NEUROPATHIC PAIN DUE TO NERVE INJURY (Scandinavian trial) – Prepared by                                                                      1
K. Innes, B.Sc. June 2008; reviewed by Thomas L. Perry, M.D. – FINAL VERSION, July 23, 2008


                                                  STUDY NO. 8 - STUDY DETAIL SUMMARY AND ANALYSIS: SIRKKU LARSSON
                                             STUDY NUMBER 945-271 – POST-OPERATIVE AND POSTTRAUMATIC PAIN (POPP) STUDY


The information in the following tables was taken from:
• Gabapentin vs. Placebo in Patients with Neuropathic Pain. A Randomized, Double-Blind, Cross-Over, Multi-Center Study in the Nordic Area. Final Report of Study ISN 945-271. The POPP Study. 2003-03-07.
    Coordinating Investigator Assoc. Prof. Torsten Gordh. Authors Gunilla Borg, Ph.D., Sirkku Larson, M Sc. Pharm.
• Analysis Plan Protocol 945-271. Gabapentin vs. Patients with Neuropathic Pain. A Randomized, Double-Blind, Cross-Over, Multi-Center Study in the Nordic Area. Post-Operative and Posttraumatic Pain Study
    (POPP Study). 23.02.2001.

This trial may not have been published because the results show considerably less difference between gabapentin and placebo than were described in published trials for:

•   "50% pain reduction" (as assessed - see details in table)
•   Difference in group mean pain scores (VAS) at end of treatment (minimal, << 10/100, where a 11/100 difference was pre-defined as the minimal clinically significant difference; note that 10/100 VAS is presumably
    approximately "equivalent" to 1/10 NRS)
•   PGIC, the only outcome where results can be used in our meta-analysis (because a standard 7-point rating scale was utilized and the correct ITT denominators can be used): P=8/111( 7.2%); G=21/113
    (18.6%)

According to P. 31 of the final report, the” ITT” population consisted of all randomized patients who completed both treatment periods (n = 98; Gabapentin-Placebo Arm = 48, Placebo-Gabapentin Arm =
50). This is not the correct definition of ITT, but rather a “completer” or “per protocol” analysis. To analyze on the basis of ITT, the outcomes of all patients are analysed with the group to which they
were originally assigned, whether or not they completed the protocol.

There are several dependant comparisons made throughout this study, however no correction was employed to account for this (e.g. Bonferrroni’s correction).

According to page 46 and Table 32, 21/107 (19.6%) of patients taking Gabapentin were treated with a dose of Gabapentin of less than 2400 mg (average does was 2243 mg, SD = 402). In comparison, 7/103 (6.8%)
of patients on placebo were treated with less than 2400 mg (mean = 2363 mg, SD = 172). The final report calls this a difference that could be seen which one would assume to mean statistical significance in which
would in turn indicate that people found it difficult to reach the maximum dose of Gabapentin for this study, 2400 mg, when in fact patients are often prescribed up to 3600 mg of Gabapentin.

No carry-over effects were observed which implies the washout period was adequate; therefore, the use of a crossover design was appropriate. Period effect were deemed significant, however, details are sparse. For
both “ITT” (completer population) and PP (Per Protocol) analyses, those who took Gabapentin first saw almost no reduction in pain score when on placebo (reduction = 0.5 for “ITT” or completer population and 0.7 for
PP) compared to greater reductions when on placebo seen when placebo taken first (6.9 for “ITT” or completer population, 7.1 for PP), this would seem to indicate unblinding due to an inactive placebo. Also, MPIS
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shows no improvement over placebo in the “ITT” (completer population) and PP populations (P = 0.20, P = 0.16 respectively), the “ITT” (completer population) only included those who completed both trials, Therefore,
the results are probably even less significant when one accounts for withdrawals.

This study precluded past Gabapentin use, this leads to enrichment bias.

With regard to Quality of life (“ITT” or completer population), it is stated that there were significant improvements in Vitality, Role Emotional, Mental Health, and a borderline improvement in bodily pain, as compared
with placebo. Although a marker can be statistically significant is it clinically significant? For example, mental health supposedly improved by 3.95189 after treatment with Gabapentin but what does that mean? Is
there actually a noticeable difference? Furthermore, the tables for the QoL markers (before and after Gabapentin or placebo) are listed in the back (Tables 38, 39, and 40, page 60, 61 of the March report) however
the calculated value for change in Gabapentin – change in placebo are not consistent (Table 40 values are not consistent with values in table 39). The corrected version of the tables shows a larger improvement in
Role Physical, Bodily Pain, and Social Functioning with placebo. There are similar problems with the QoL tables for the PP population.
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       Study No. 8 - PARKE DAVIS/PFIZER 945-271 – Gordh T et al – UNPUBLISHED - NEUROPATHIC PAIN DUE TO NERVE INJURY (Scandinavian trial) – Prepared by                                                                          3
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Study / Design / Dates Inclusion Criteria / Baseline Intervention(s),        Predefined Outcomes / Issues in                                          Outcomes Hierarchy                    Comments / Conclusions of Kelsey
                       Characteristics               Experimental Design, N Statistical Analysis                                                      (Cochrane, investigators:             Innes
                                                     of Subjects Randomized                                                                           primary / secondary)
                                                     (ITT) / N Who Completed
                                                     Study
Study No. 8                  Neuropathic pain due to nerve       Study Populations:              NB: The number of patients randomized was            1. Mortality:                         1. MPIS, MSIS, and each dimension of SF-
Study Manager: Sirkku        injury.                                                             120. The number of patients reported as “ITT”        P = 0/111, G = 0/113                     36 were analyzed by means of standard
Larson.                                                          •   According to P. 31 of       was 98, in reality this “ITT” population consisted                                            normal-theory based methods,
                             Inclusion Criteria:                     the final report, the       only of those patients who completed both            TLP: Mortality OK for meta-              ANCOVA, adjusting for the baseline…
Coordinating                 • Male or female, at least 18           “ITT” population            treatment periods. The Per Protocol (PP)             analysis                                 (See p. 26 of March report for details).
Investigator: Torsten            years of age                        consisted of all            population consisted of 85 patients, this was the                                             Treatment and period were used as
Gordh                        • Patients with a peripheral            randomized patients         number of patients with no major protocol            2. Serious Adverse Events                explanatory variables; however, it does
                                 nerve injury who have               completed both              deviations.                                          • See definition on p. 24 of March       not seem as though treatment centre
Randomized, double-              experienced this form of            treatment periods (n =      • Before any statistical analyses were                   report                               was used as a possible explanatory
blind, placebo-controlled,       pain for greater than 6             98) (Gabapentin-                 performed, decisions were made, see p. 28       • See table 61 on page 72 for            variable, it should have been.
cross-over, multicentre          months                              Placebo – 48, PI-G –             for details.                                        details.                          2. According to P. 31 of the final report, the
study.                       • The diagnosis according to            50). This is not the        • P. 27 of March report: study was expected                                                   “ITT” population consisted of all
                                 ICD-10 will include                 definition of ITT, but is        to have at least 80% power to detect a          TLP: Number of patients with SAE         randomized patients completed both
Protocol Number: ISN             o Post-traumatic                    in actuality the                 clinically significant difference between P     OK for meta-analysis                     treatment periods (n = 98) (Gabapentin-
945-271                               neuralgia                      completer population             and G (a diff of < 11 on a 100 mm VAS not                                                Placebo – 48, PI-G – 50). This is not the
                                 o Postoperative                     see comments for                 considered clinically significant)              Number of patients with SAEs:            definition of ITT, rather, is the completer
Clinical Study Protocol               neuralgia                      details.                         o They say this but continuously point          P = 3 / 111 (2.7%)                       population. As far as I know, to analyze
approved April 7, 1998 (1    • Patients who is judged by         •   The safety analysis was                out VAS results less than 11 mm as if     G = 2 / 113 (1.8%)                       on the basis of ITT, the outcomes of all
amendment implemented            the investigator to fulfill a       based on all patients                  they are something significant (e.g.                                               patients are analysed with the group to
before enrolment, 2              pain score of greater than          who took at least one                  with mean sleep interference score on                                              which they were originally assigned,
addenda during course of         30 on a VAS (0-100) at              dose of study                          p.37, with ¶4 of discussion p. 49)        TLP: Total SAE OK for descriptive        whether or not they completed the
study, see. Pp.27-28 for         randomization                       medication.                 • If no carry over effect then SE was to be          statistics                               protocol.
details)                     • Randomization procedure                                                reduced by 1.4 Æ 80% power to detect an                                               3. There are several dependant
                                 explained on page 19 of         Patient Flow:                        8-unit effect difference                        Total number of SAEs:                    comparisons made throughout this
Date First Patient               the March report, state that    Screened: 159                        o Note that period effects but no carry-        P=3                                      study, however not correction was
Included: 12-November-           the randomization list is in    Randomized: 120                            over effects were detected.               G=4                                      employed to account for this (e.g.
1998                             appendix 7 (we don’t have       Gabapentin-Placebo Arm:                                                                                                       Bonferrroni’s correction).
                                 appendices)                     61                              Primary Variable                                     (i.e. 2 patients experienced 4 SAEs   4. According to page 46 and Table 32,
                                                                  Case 1:04-cv-10981-PBS Document 1457-14 Filed 10/06/08 Page 69 of 116

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Date Last Patient             •   Must show presence of           Placebo-Gabapentin Arm:        Mean Pain Intensity Score (VAS) (P. 22 of          while on Gabapentin, 3 patients          21/107 (19.6%) of patients taking
Completed: 30-                    hyper- or hypo phenomena        59                             March report)                                      experienced 3 SAEs while on              Gabapentin were treated with a dose of
November-2001                     in sensibility tests within a   Exposed to G: 113              • Was calculated based on last 14 pain             Placebo)                                 Gabapentin of less than 2400 mg
                                  neuro-anatomical                Exposed to P: 111                  assessments during run-in, T1, Washout,                                                 (average does was 2243 mg, SD = 402).
Date of Report: 7-                distribution area                                                  and T2, needed at least 10/14 (was             3. Withdrawals Due to Adverse            In comparison, 7/103 (6.8%) of patients
March-2003, note there is     •   Able to understand and                                             changed to 9/14 before data analyses) .        Events:                                  on placebo were treated with less than
a second sub-study                cooperate with study                                               There is no LOCF analysis for those                                                     2400 mg (mean = 2363 mg, SD = 172).
report dated 2003-09-18.          procedures                                                         patients who withdrew early.                   WDAE Total = 11                          The final report calls this a difference
The main report will be       •   Capable of completing the                                          o This is a “completer: analysis.              TLP: WDAE OK for meta-analysis           that could be seen which one would
referred to throughout            study                                                          • No carry-over effect (i.e. drugs taken in                                                 assume to mean statistical significance
this document as the          •   Written and informed            •    See Figure 2 p. 29 for        treatment period 1 had no residual effect in   P = 4/111 (3.6%)                         in which would in turn indicate that
March report.                     consent given                        diagram                       treatment period 2, washout effective)         G = 7 / 113 (6.19%, not 5.8% as          people found it difficult to reach the
All page numbers and          •   At randomization                • Time point for               • Period effects were significant however, I       stated in passage, as N = 113, not       maximum dose of Gabapentin for this
Table numbers refer to            o An average of 14                   withdrawals given in          would assume this might have something to      120, see reasoning below)                study, 2400 mg, when in fact patients are
the March report.                       measurements of pain           Table 3, p. 30 of March       do with unblinding because of use of                                                    often prescribed up to 3600 mg of
                                        score greater than 30          report.                       inactive placebo (see comments)                WDAE during phase 1:                     Gabapentin.
Publication: Not                        on a VAS (0-100)          • Reasons for withdrawal       • Figure 3 (P. 36 of the March report) shows       P = 2/59 (3.39%)                      5. In total 22/120 (~18%) patients were
Published                               during the last week of        in Table 4, p. 30             MPIS by week, note relative ineffectiveness    G=6/61 (9.84%)                           non-compliant (P. 34 of March report)
                                        screening                 Study Procedure                    of Gabapentin in treatment phase II.                                                    compliance so low? Was this accounted
Unpublished Report:                                               Baseline: 2 weeks                                                                 WDAE during washout:                     for?
Gabapentin vs. Placebo        Exclusion Criteria                  Titration: 2 weeks             MPIS “ITT population” (Completer                   P = 1 /59 (1.69%) (after taking       6. No carry-over effects Æ adequate
in Patients with              • Pregnant and lactating            Treatment at Fixed Dose:       Population)                                        placebo)                                 washout and therefore crossover
Neuropathic Pain. A               women, and fertile women        3 weeks                        Treatment Period 1:                                G = 0 / 61 (0.0%)                        appropriate. Period effect significant,
Randomized, Double-               not using appropriate           Washout: 3 weeks                                                                                                           details are sparse. However, for both
Blind, Cross-Over, Multi-         contraception                   Crossover                      Gabapentin-Placebo                                 WDAE during phase 2:                     “ITT” (completer population) and PP
Center Study in the           • Previous treatment with           Total: 15 weeks                N: 48                                              P = 1/52 (1.92%)                         analyses, those who took Gabapentin
Nordic Area.                      Gabapentin                      (see diagram on p. 10 of       Baseline: 52.2 (16.4)                              G = 1/52 (1.92%)                         first saw almost no reduction in pain
                                                                                                 Week Five: 45.2 (23.6)                                                                      score when on placebo (reduction = 0.5
                              • Decreased renal function          protocol, p. 16 of March
Randomization code was                                            report)                        Difference: 7.2 (17.8)                             •   See Table 62, p. 72, Table 4 p.      for “ITT” or completer population and 0.7
                              • Serious hepatic, respiratory
broken for one patient (pt.                                                                                                                             30                                   for PP) compared to greater reductions
                                  or hematologic illnesses,
# 5158, due to the                                                                               Placebo-Gabapentin                                 •   Table 3 lists the phases in          when on placebo seen when placebo
                                  unstable cardiovascular         •   Titration began at 300
occurrence of an SAE),                                                                           N: 50                                                  which the withdrawals occurred       taken first (6.9 for “ITT” or the completer
                                  disease or symptomatic              mg daily increased to
the code breaking was                                                                            Baseline: 54.1 (15.4)                                  but doesn’t specify which            population, 7.1 for PP), this would seem
                                  peripheral vascular disease         max of 2400 mg daily
performed in accordance                                                                                                                                 withdrawal occurred where.           to indicate unblinding due to an inactive
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       Study No. 8 - PARKE DAVIS/PFIZER 945-271 – Gordh T et al – UNPUBLISHED - NEUROPATHIC PAIN DUE TO NERVE INJURY (Scandinavian trial) – Prepared by                                                                5
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with the requirements      •   Other pain that may                  (see Table 2 of March    Week Five: 47.1 (22.2)                         •   Additionally, 1 patient withdrew      placebo.
(see p. 20 of the March        confound assessment or               report, p. 20, for       Difference 6.9 (15.5)                              due to lack of efficacy while on   7. MPIS shows no improvement over
report for requirements)       self-evaluation of the               recommendations).                                                           Gabapentin (2 on placebo)             placebo in the “ITT” (completer
                               neuropathic pain                     Titration schedule)      Treatment Period 2:                                                                      population) and PP populations (P =
                           •   History of chronic alcohol       •   During 3-week            Gabapentin-Placebo                             4. Total Withdrawals:                     0.20, P = 0.16 respectively), the “ITT”
                               or drug abuse within                 treatment period the     N: 48                                          • A total of 22 patients withdrew         (completer population) population only
                               previous 3 years                     study medication         Baseline: 50.9 (21.6)                              from the study                        included those who completed both
                           •   Patient not expected to              dosage must be           Week Thirteen: 49.9 (24.3)                     TLP: Total patient withdrawals OK         trials, Therefore, the results are probably
                               complete the trial                   unaltered. (For          Difference: 0.5 (9.7)                          for meta-analysis                         even less significant when one accounts
                           •   Participation in other               recommended dosing                                                                                                for withdrawals.
                               experimental and/or drug             schedule see P. 26 of    Placebo-Gabapentin                             Placebo: 11/111 (9.91%)                   • Furthermore, given that this study
                               studies.                             protocol)                N: 50                                          • Adverse Events: 4/111 (3.60%)                 precluded past Gabapentin use (a
                                                                                             Baseline: 52.6 (21.1)                          • Non-Compliance:1/111 (0.9%)                   criteria for which no rationale is
                           Note: by not allowing prior          Compliance                   Week Five: 47.2 (25.1)                         • Consent-Withdrawn: 3/111                      given), anyone who had used
                           treatment with Gabapentin,           • See table 11.3 (P. 34 of   Difference: 5.1 (11.6)                             (2.70%)                                     Gabapentin earlier only to have it
                           creating bias in favour of the          the March report)         ANCOVA shows no difference between the         • Other                                         not work was precluded from the
                           drug as those who have used it                                    treatments (P = 0.20)                              o Lack of efficacy: 2/111                   study.
                           and have not had it work will be                                                                                          (1.80%)                       8. With regard to mean reduction in mean
                           excluded from study.                                              MPIS PP Population (Per Protocol)                  o Use of Prohibited Drug:             sleep interference score in the “ITT”
                                                                                             NB:                                                     1/111 (0.9%)                     population (completer population), the
                           Allowable Treatments:                                             Total PP Population: N= 85                                                               Gabapentin-Placebo arm saw a mean
                           • Occasional use of NSAID                                         Gabapentin-Placebo for PP population: n = 43   Note that two patients withdrew           reduction of 10.2 mm when taking
                               for other type of pain will be                                Placebo-Gabapentin for PP population: n = 42   during the washout period after           Gabapentin and 0.5 mm when taking
                               allowed during the study                                                                                     having taken placebo in phase 1: 1        placebo. The Placebo-Gabapentin arm
                           • Use of benzodiazepines,                                         •    For Gabapentin-Placebo arm reduction in   patient withdrew due to adverse           saw a reduction of 3.8 when taking
                               zolpidem or zopiclon for                                           mean pain score during Gabapentin         effects and one patient withdrew          Gabapentin and 6.3 when taking
                               insomnia will be allowed, if                                       treatment was 8.1 m, 0.7mm with placebo   consent. These patients were              placebo. With regard to the PP
                               they are prescribed before                                         (n = 43)                                  included in the placebo withdrawals.      population the Gabapentin-Placebo arm
                               inclusion                                                     • For Placebo-Gabapentin arm reduction in                                                saw a mean reduction of 11.0 mm when
                                                                                                  pain score during Gabapentin treatment     Gabapentin: 11/113 (9.73%)               taking Gabapentin and 0.7 mm on
                           Prohibited:                                                            was 4.7, and 7.1 mm with placebo. (n = 42) • Adverse Events: 7/113 (6.19%)          placebo while the Placebo-Gabapentin
                           • TENS                                                                                                            • Non-Compliance:2/113 (1.77%)           arm saw a 3.5 mm reduction when taking
                           • Regular use of weak                                             ANCOVA shows no difference between the two • Consent-Withdrawn: 1/113                    Gabapentin and a 6.4 mm reduction
                                                                                             treatments (p = 0.16)                                                                    when taking placebo. Supposedly these
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                  opioids and tramadol not                                                                                (0.88%)                               results favour Gabapentin (p = 0.0016
                  allowed                                              Secondary Analysis                             •   Other:                                for “ITT” or completer population, p =
              •   No concomitant medication                            Median Pain Intensity                              o Lack of efficacy: 1/113             0.0024 for PP). This makes no sense to
                  that might affect                                    • In the analysis plan, it is stated that a             (0.88%)                          me for a few reasons
                  neuropathic pain include:                               secondary analysis was going to be done         o Use of Prohibited Drug:             • In both “ITT” (completer population)
                  o Antidepressive drugs                                  on median pain intensity; however, the               0/113 (0%)                             and PP populations the Placebo-
                  o Skeletal muscle                                       March report does not contain any results                                                   Gabapentin arm saw a greater
                       relaxants with centrally                           pertaining to this.                         5. Total Adverse Events:                        decrease in sleep interference while
                       acting properties                                                                                                                              taking placebo. This is clearly
                  o Mexiletine                                         Secondary Variables:                           Denominators corrected to show                  demonstrated by Figure 4 (p. 39 of
                  o Antiepileptic drugs                                                                               patients who received at least one              March report)
                  o Dextromethorphan                                   Weekly mean sleep interference score (VAS)     dose of Gabalentin or Placebo –           • The largest decrease seen in either
                  o Narcotics                                          (P. 22, p. 37 of March report)                 True ITT. N = 113 for Gabapentin                arm in both “ITT” (completer
                  o Capsaicin                                          “ITT” population (completer population):       and 111 for placebo not 120 for both            population) and PP populations was
                  o Anxiolytics                                        Treatment Period 1:                            as reported, as only 113 patients               11.0 mm. The report clearly states
                                                                                                                      were exposed to Gabapentin and                  on page 27 that a VAS score of less
              Escape Medication                                        Gabapentin-Placebo                             111 were exposed to placebo.                    than 11.0 mm is not considered to
              • Paracetamol with +                                     N: 48                                                                                          be clinically significant.
                 codeine,                                              Baseline: 37.9 (26.0)                          Adverse Events:                           • None of the withdrawals were
                 dextropropoxyphen as                                  Week Five: 28.0 (26.1)                                                                         considered in this. Several patients
                 rescue medication was                                 Difference: 10.2 (15.6)                        Percentages in brackets                         withdrew due to adverse effects (7
                 permitted (according to                                                                              TLP: Total patients with AE OK                  on Gabapentin) and 3 due to
                 protocol this was an                                  Placebo-Gabapentin                             for meta-analysis                               unacceptable pain. I am still trying
                 allowable medication)                                 N: 50                                                                                          to figure out when those
              • In amendment 1, Escape                                 Baseline: 37.4 (21.8)                          Total Patients with AEs:                        experiencing unacceptable pain left
                 Medication was more                                   Week Five: 31.4 (20.9)                         P = 72 / 111 (64.9%)                            but I imagine those with AE and pain
                 clearly defined as “any                               Difference: 6.3 (12.5)                         G = 91/113 (80.5%)                              were not experiencing great
                 other medication taken for                                                                                                                           improvements in mean sleep
                 pain”                                                 Treatment Period 2:                                                                            interference score.
                                                                       Gabapentin-Placebo                                                                    9. With regard to Quality of life (“ITT”
              Protocol deviations: (see P. 31),                        N: 48                                                                                    Population or the completer population).
              note also in p. 14                                       Baseline (week eight): 32.3 (25.5)                                                       • It is stated that there were significant
                                                                       Week Thirteen: 31.0 (26.5)                                                                     improvements in Vitality, Role
                                                                       Difference: 0.5 (10.5)
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                                                                                                              TLP: Total number of AE OK for                     Emotional, Mental Health, and a
                                                            Placebo-Gabapentin                                descriptive statistics                             borderline improvement in bodily
                                                            N: 50                                                                                                pain, as compared with placebo.
                                                            Baseline (week eight): 32.9 (21.1)                Total Number of AEs:                               Although a marker can be
                                                            Week Thirteen: 28.6 (22.6)                        P = 168                                            statistically significant is it clinically
                                                            Difference: 3.8 (9.3)                             G = 241                                            significant? For example, mental
                                                                                                                                                                 health improved by 3.95189 after
                                                            Using ANCOVA to adjust for baseline values,       Most common AE’s (N adjusted from                  treatment with Gabapentin but what
                                                            Gabapentin superior to placebo in reducing        120 to 113 and 111 for G and P respectively)       does that mean? Is there actually a
                                                            mean sleep interference score (p = 0.0016)        Dizziness and Vertigo                              noticeable difference?
                                                                                                              P = 9 / 111 (8.1%)                             •   There was an effect of period, i.e.
                                                            PP Population:                                    G = 39 / 113 (34.5%)                               for these markers, people felt better
                                                            NB:                                               Malaise and Tiredness                              after the first round of treatment (G
                                                            Total PP Population: N= 85                        P = 17 / 111 (15.3%)                               or P) which is not surprising and
                                                            Gabapentin-Placebo for PP population: n = 43      G = 31 / 113 (27.4%)                               should be considered given that
                                                            Placebo-Gabapentin for PP population: n = 42      Headache including migraine                        people were most likely excited /
                                                                                                              P = 20/111 (18.0%)                                 hopefully to be on a new drug.
                                                            Mean reduction in score for Gabapentin-           G = 18/113 (18.9%)                             •   Finally, the tables for the QoL
                                                            Placebo arm was 11.0 mm when taking               Nausea and Vomiting                                markers (before and after
                                                            Gabapentin, and 0.7 mm for placebo.               P = 10 / 111 (9.0%)                                Gabapentin or placebo) are listed in
                                                                                                              G = 8/113 (7.1%)                                   the back (Tables 38, 39, and 40,
                                                            For the Placebo-Gabapentin arm, the mean          Infections                                         page 60, 61 of the March report)
                                                            reduction was 3.5 mm when taking Gabapentin       P = 15 / 111 (13.5%)                               however the calculated value for
                                                            and 6.4 mm when taking placebo.                   G = 10 / 113 (8.8%)                                change in Gabapentin – change in
                                                                                                              Skin Disorders                                     placebo DO NOT MATCH i.e. Table
                                                            Supposedly these results favour Gabapentin (p     P = 5 / 111 (4.5%)                                 40 values are not consistent with
                                                            = 0.0024) however I cannot understand how.        G = 10/113 (8.8%)                                  values in table 39.
                                                            (see comments column)                             Confusion                                      •   In the Predefined Outcomes /
                                                                                                              P = 2/111 (1.8%)                                   Issues in Statistical Analysis
                                                            Quality of Life (SF-36)                           G = 16 / 113 (14.2%)                               column 40 a corrected version of
                                                                                                              Mouth Dryness                                      Table 40 has been included
                                                             “ITT” Population (completer population) (P. 22   P = 3/111 (2.7%)                                   (Difference in the 8 dimensions of
                                                            of March report)                                  G = 9/113 (8.0%)                                   SF-36 after Gabapentin vs. after
                                                            NB:
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                                                            Total “ITT” or completer Population: N= 98          •   Because of the above                         placebo, Treatment Arms
                                                            Gabapentin-Placebo for “ITT” or completer               discrepancies, all the                       Combined, “ITT” Population or
                                                            population: n = 48                                      percentages listed are incorrect;            completer population); note my table
                                                            Placebo-Gabapentin for “ITT” or completer               above I have listed the correct              values do not match the values in
                                                            population: n = 50                                      percentages.                                 table 40.
                                                                                                                •   Dizziness and vertigo were with         • Note larger improvement in Role
                                                            •   According to P. 39 of the March report,             two exceptions in the placebo                Physical with placebo
                                                                Gabapentin was found to be statistically            group, always regarded as               • Placebo also better with Bodily pain,
                                                                significantly superior to placebo in                drug-related as well as                      and Social functioning
                                                                improving                                           confusion and mouth dryness.            • Similar problems as above for the
                                                                o Vitality (p = 0.012)                              See comments.                                PP population and have also
                                                                o Role-Emotional (0.024)                                                                         included my own table for the table
                                                                o Mental Health (p = 0.0017)                    6. Validated measures of                         analogous to table 40 but for the PP
                                                                o Bodily Pain, borderline (p = 0.056)           improvement in global function                   population in the Predefined
                                                            •   Significant period effect for General Health,   including return to work, study,                 Outcomes / Issues in Statistical
                                                                borderline significance (p < 0.1) for Role      activities of daily living                       Analysis column
                                                                Physical, Bodily Pain, Role Emotional, and                                              10. The discussion says that “the
                                                                Mental Health.                                  •   None reported for this study.           improvement during the 5 weeks of
                                                                o In all cases better improvement in QoL                                                    Gabapentin treatment was statistically
                                                                     at end of first treatment period.                                                      better than during the placebo treatment,
                                                                o HOWEVER, these looking at Table 40,           7. > 50% reduction in pain score            but the absolute improvement was small.
                                                                     Difference in the 8 dimensions of          (NRS, VAS) from baseline to                 However, 5 weeks is a short period of
                                                                     SF-36 after Gabapentin vs. after           endpoint                                    time and a longer study might be
                                                                     placebo, Treatment Arms                                                                necessary to confirm the beneficial effect
                                                                     Combined, “ITT” Population                 Not suitable for meta-analysis as           of Gabapentin in that respect.” First off
                                                                     (completer population) the values do       this endpoint is not based on               this may not even be true given that the
                                                                     not match my findings which makes          comparison of patient final VAS             calculations were completely inaccurate
                                                                     me think the p-values are off as well.     versus baseline VAS.                        but also, is 5 weeks a short time, there
                                                                o Below is my version of table 40 ( I have                                                  seems to be nothing in this study to
                                                                     not calculated p-values as this would      For the Pain/Relief Scale one of the        indicate that this period of time is too
                                                                     be extremely labour intensive, I will if   questions asked is pain at least half       short to detect a benefit and no reasons
                                                                     needed though), note my values do not      gone during treatment, the                  are given as to why a longer study would
                                                                     match those in table 40.                   proportion of yes’ was as follows:          detect such a change. One familiar
                                                                   Dim.   ΔGaba    ΔPlacebo   ΔG- ΔP
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                                                                   PF    2.98151     1.27835   1.70316           The paper reports:                           study (Gilron I, Bailey JM et al.
                                                                   RP    -0.2139     9.35374   -9.56764                                                       Morphine, Gabapentin, or their
                                                                   BP    2.22449     2.69398   -0.46949          G = 22 / 98                                  Combination for Neuropathic Pain. N
                                                                   GH    0.66072    -0.88302   1.54374
                                                                                                                 P = 8 / 98                                   Engl J Med 2005; 352:1324 – 34) of
                                                                   VI       5        1.87075   3.12925
                                                                   SF    -0.2551     3.35578   -3.61088
                                                                                                                                                              patients suffering from neuropathic pain
                                                                   RE    3.95189    1.08418    2.86771           However, this is not true ITT,               did see significant improvements in QoL
                                                                   MH    3.43878     0.37755   3.06123           therefore:                                   for Morphine and Gabapentin-Morphine
                                                            •   Note that according to my values placebo         G = 22/113 (19.47%)                          combo after 5 weeks total on the drug (3
                                                                much better in Role Physical, and also           P = 8/111 (7.21%)                            of which were titration, 1 dose tapering,
                                                                slightly better in Bodily Pain and Social        • According to the March report,             and only 1 of which was maximal
                                                                Function.                                             statistically significantly more        dosage). The power of this study should
                                                            PP population (p. 39)                                     patients reported that the pain         have been enough to detect benefit.
                                                            NB:                                                       had subsided half during                Furthermore, if a drug for pain takes
                                                            Total PP Population: N= 85                                Gabapentin treatment (G = 22,           longer than 5 weeks to improve quality of
                                                            Gabapentin-Placebo for PP population: n = 43              P = 8, p = 0.012) however this          life, is it very good?
                                                            Placebo-Gabapentin for PP population: n = 42              p-value again was most              11. With regard to pain relief (“ITT” or
                                                                                                                      calculated using N=98 which is          completer population) and the question
                                                            •   Says the results were generally similar to            not true ITT but is the completer       measuring the degree of pain relief on a
                                                                the “ITT” population (completer population)           population, therefore is not            5 point rating scale (1 = complete pain
                                                                                                                      useful.                                 relief…5 = no pain relief)
                                                            •   However, I have the same problem with
                                                                Table 43 (Difference in the eight                                                             • The numbers did not add up in the
                                                                dimensions of SF-36 after Gabapentin vs.         If using the variable “Response to                  tables for the placebo group
                                                                after Placebo, Treatment arms Combined,          Treatment:                                          implying sloppy work.
                                                                PP population) as I did with its analog in the   The paper reported > 50% Pain                • Even though significantly more
                                                                “ITT” population (completer population)          Reduction as                                        patients supposedly had better pain
                                                                (Table 40), see my table below.                  G = 13 /98                                          relief with Gabapentin than with
                                                            •   Notice with y table, the effect for Role         P = 9 / 98                                          placebo, 54/98 (55.1%) patients still
                                                                Physical from placebo was much much                                                                  had no pain relief with Gabapentin.
                                                                better than that for Gabapentin. Social          However, taking the true ITT                        If you include the 13 who only had
                                                                                                                 population into account                             some pain relief that means that 67 /
                                                                functioning improved more with placebo as
                                                                did bodily pain.                                 > 50% Pain Reduction                                98 (68.4%) experienced none or
                                                                  Dim.   ΔGaba      ΔPlacebo   ΔG- ΔP            G = 13 /113 (11.50%)                                some pain relief with Gabapentin i.e.
                                                                  PF     3.13208    1.24549    1.88698           P = 9 / 111 (8.12%)                                 less than moderate pain relief.
                                                                  RP     -5.81186   8.72549    -14.53735                                                  12. With regard to CGIC
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                                                                  BP    2.48235    2.94846   -0.4611         •   P-value = 0.29 Note this p-value       •    The March report states that
                                                                  GH    0.23235    0.16988   0.06247             was probably used with N=98                 “Statistically significantly more
                                                                  VI    4.82353    1.82353   3
                                                                  SF    -1.17647   3.72374   -4.90021
                                                                                                                 therefore is most likely not                patients had, in the opinion of the
                                                                  RE    4.7619     1.30404   3.45786             useful.                                     clinician, improved more during
                                                                  MH    3.44706    -0.3647   3.81176         •   Also note that here p-values are            Gabapentin treatment than during
                                                                                                                 with regard to the significance             placebo treatment” however,
                                                                                                                 of the number more of patients              clinicians were not asked to
                                                            Consumption o f Escape Medication (P. 22 of          who responded to Gabapentin                 compare the two treatments, they
                                                            March report)                                        treatment than to placebo                   were asked at the end of each
                                                            • Not mentioned in protocol but is in analysis       treatment                                   period how they felt their patient’s
                                                                plan                                                                                         pain had improved over the
                                                            • Only counted number of days escape             8. Mean between-group difference                treatment period so the wording is
                                                                medication needed, no attn. paid to amount   in change of pain score (NRS,                   misleading.
                                                                of daily intake.                             VAS) from baseline to pre-defined          • Significantly more people improved
                                                            • “ITT” population (completer population)        endpoint by true intention to treat             more on Gabapentin than on
                                                                o 66.3% took no escape medication            (ITT) –where this was the pre-                  placebo, p = 0.037 but...
                                                                     when on Gabapentin, 62.2% during        defined primary endpoint in a trial        • Only 29 / 98 patients (29.6%)
                                                                     placebo.                                                                                improved much or moderately,
                                                                o 3 had to take escape medication all        This outcome is not meta-                       whereas there was no change 38 /
                                                                     days when on Gabapentin and 3 when      analyzable for two reasons. First               98 (38.8%). If you include the 12
                                                                     on placebo.                             of all because the mean between-                who became minimally or
                                                                o 16 patients had fewest days on escape      group difference in change of                   moderately worse, we get 50/98
                                                                     medication during Gabapentin            VAS pain score from baseline to                 (51.0%) of patients, according to
                                                                     treatment vs. 22 on placebo, not        pre-defined endpoint was not the                their doctor, saw no improvement or
                                                                     significant (p = 0.9, very large)       primary efficacy variable, mean                 worsened.
                                                                                                             pain intensity during the last         13. With regard to PGIC, the March report
                                                            Pain / Relief Scale(P. 23,40 of March report)    week of each treatment period              states that “Statistically significantly more
                                                                                                             was. Furthermore, this data                patients, had in their own opinion
                                                            For the question regarding pain relief with      cannot be meta-analysed because            improved more during Gabapentin
                                                            treatment with 5 responses, “ITT” POP            the number of patients used in             treatment than during placebo treatment”
                                                            (completer population) (Completed, marked,       calculations did not reflect the           (p = 0.023). However…
                                                            moderate, some, no)                              true ITT population but instead,           • Patients were not asked to compare
                                                                                                             the completer population.                       the two treatments, they were asked
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                                                            Note that for the following results the            Regardless, the results for VAS pain           at the end of each treatment period
                                                            denominator is 98 which does not reflect the       intensity are listed below.                    how they felt their pain had
                                                            true ITT, rather the completer population                                                         improved over the treatment period
                                                            Complete                                           •   Note was assessed on a 100                 so the wording is misleading.
                                                            G = 0/98                                               mm VAS scale (0 = no pain,             • 36/98 patients (36.7%) experienced
                                                            P = 0/98                                               100 = worst possible pain)                 no change on Gabapentin. When
                                                            Marked                                             •   Also note that the primary                 you include those patients who felt
                                                            G =18/98                                               efficacy variable was not the              that their condition worsened you
                                                            P = 5/98                                               change from baseline but was               can see that 52/98 (53.1%) felt that
                                                            Moderate                                               MPIS (mean pain intensity                  they made no change or worsened.
                                                            G = 13/98                                              score) during last week of each            Again would you want to take this
                                                            P = 9/98                                               treatment period (adjusted for             drug?
                                                            Some                                                   baseline score)                        • With regard to PGIC and CGIC
                                                            G = 13/98                                                                                         nothing is stated as to whether or
                                                            P = 14/98                                          MPIS “ITT” (completer                          not the period was significant. This
                                                            No Pain Relief                                     population) population                         seems rather crucial and is left out.
                                                            G = 54/98                                                                                 14. With regard to adverse effects
                                                            P = 70/98                                          Treatment Period 1:                        • Table 20 on page 47 of March report
                                                                                                               Gabapentin-Placebo                             lists the adverse effects and
                                                            •   The numbers for placebo in table 14 and        N: 48                                          corresponding percentages. The
                                                                figure 7 do not add up to 98 for the placebo   Baseline: 52.2 (16.4)                          incorrect N was used for
                                                                group                                          Week Five: 45.2 (23.6)                         Gabapentin. The table says N =
                                                                o The “some” column for placebo adds           Difference: 7.2 (17.8)                         120, however, 61 patients had
                                                                     up to 14, not 13 as written and                                                          Gabapentin treatment in Treatment
                                                                     demonstrated in figure 7                  Placebo-Gabapentin                             1 while only 52 of the initial 59
                                                                o The no pain relief column for placebo        N: 50                                          randomized to placebo first went on
                                                                     adds up to 70, not 59 as shown in         Baseline: 54.1 (15.4)                          to take Gabapentin. Therefore N =
                                                                     figure 7 and table 14; however, the       Week Five: 47.1 (22.2)                         113 similarly the table states that N
                                                                     writing on page 41 says 70.               Difference 6.9 (15.5)                          = 120 for placebo however, 59 had
                                                                o With the above changes, the placebo                                                         placebo during Treatment I and only
                                                                     group adds up to 98                       Treatment Period 2:                            52 crossed over to placebo after,
                                                            •   The analysis plan stated that “the two-        Gabapentin-Placebo                             therefore N = 111 for placebo. N =
                                                                alternative question and the 5-alternative     N: 48                                          120 was used throughout the March
                                                                one are analysed in the same way: for each     Baseline: 50.9 (21.6)
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                                                                patient we check which of the two               Week Thirteen: 49.9 (24.3)                reports so all the percentages are
                                                                treatments gave the best relief; and then a     Difference: 0.5 (9.7)                     inaccurate.
                                                                sign test is performed.” However, the March                                           •   N = 39 in the Gabapentin group who
                                                                report, states that pain relief was analysed    Placebo-Gabapentin                        experienced Dizziness and Vertigo
                                                                after a transformation (detailed on p.27)       N: 50                                     which was considered as drug-
                                                                and analysis was done with a Mainland-          Baseline: 52.6 (21.1)                     related, n = 9 in placebo group who
                                                                Gart test…different.                            Week Five: 47.2 (25.1)                    experienced this effect however 2 of
                                                            •   The Mainland-Gart test is also used on          Difference: 5.1 (11.6)                    these cases were not considered as
                                                                binary variables in order to determine which    ANCOVA shows no difference                drug-related. Therefore, 39/113
                                                                was better; it is usually used in crossover     between the treatments (P = 0.20)         (34.5%) vs. 7/111 (6.3%)
                                                                trials when asking patients which treatment                                               experienced this side effect which
                                                                period they preferred. This was not asked       9. % of patients achieving “much          could have easily caused unblinding
                                                                and instead a data transformation was           improved” or “moderately              •   Table 62, Listing of Adverse
                                                                made in order to change this variable to        improved”                                 Events Leading to Withdrawal
                                                                binary (when there were 5 responses) the        TLP: % of patients OK for meta-           from Study lists, among other
                                                                transformation done is fairly unclear and I     analysis                                  things, the 11 patient numbers of
                                                                am not sure if this is valid.                                                             those patients who withdrew from
                                                                                                                •   Note here that the                    the study and the period. They say
                                                            For the question with two responses to “pain            denominators have been                in this table that the period is
                                                            at least half gone”…                                    changed from 98 (as reported in       Gabapentin run-in which I think is
                                                            (Note that for the following results the                the study) to 113 for the             meant to mean titration. A run-in is
                                                            denominator is 98 which does not reflect the            Gabapentin group, and 111 for         usually a period in which no drugs
                                                            true ITT, rather the completer population)              the placebo group (true ITT           are taken. This would make sense
                                                                                                                    populations)                          as according to this table, 7 patients
                                                            Half Pain Gone During Treatment (Yes)                                                         WDAE in a run-in period (G and P)
                                                            G = 22 / 98                                         G = 21/113 (18.58%)                       where as the text says 7 patients
                                                            P = 8 / 98                                          P = 8/111 (7.21%)                         WDAE during titration periods.
                                                            Half Pain Gone During Treatment (No)                                                      •   The adverse events for placebo do
                                                            G = 76 / 98                                                                                   not add up. Table 55 on page 70
                                                            P = 90 / 98                                         10. Histogram presentation of all         would imply that there were 145
                                                            • According to the March report, statistically      PGIC 7-point results                      adverse events on placebo while
                                                                significantly more patients reported that the                                             table 56 (and the rest of the study
                                                                pain had subsided half during Gabapentin        •   See end of document for               for that matter) states that there
                                                                treatment (G = 22, P = 8, p = 0.012)                histogram.
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                                                                                                                                    were 168 adverse; events for
                                                            Clinical Global Impression of Change(P. 23                              placebo. Not a big deal overall, but
                                                            of March report)                                                        again, is sloppy.
                                                            “ITT” Population (completer population)                            • Furthermore, people on Gabapentin
                                                                                                                                    were more likely to experience more
                                                            Note that for the following results the                                 adverse events (see excel graph at
                                                            denominator is 98 which does not reflect the                            end of document). Only 29/113
                                                            true ITT, rather the completer population                               (25.7%) patients taking Gabapentin
                                                            Much Improved:                                                          did not experience any adverse
                                                            G = 7/98                                                                events 48/11 (43%) of those taking
                                                            P = 2/98                                                                placebo experienced no adverse
                                                            Moderately Improved                                                     events.
                                                            G = 22/98                                                          • The discussion states that adverse
                                                            P = 11/98                                                               effects were 60/40
                                                            Minimally Improved                                                      Gabapentin/Placebo; however, this
                                                            G = 19/98                                                               is only one, and possibly the best
                                                            P = 14/98                                                               way of looking at it. If you calculate
                                                            No Change                                                               the average number of AE’s
                                                            G = 38/98                                                               experienced by Gabapentin patients
                                                            P = 58/98                                                               you get 241/113 = 2.13, and either
                                                            Minimally Worse                                                         168/111 =1.51 or 145/111 = 1.31
                                                            G = 8/98                                                                (depending on which number is
                                                            P = 12/98                                                               correct, the report implies both) for
                                                            Moderately Worse                                                        placebo. This implies up to 60%
                                                            G = 4/98                                                                more AEs on Gabapentin than on
                                                            P = 1/98                                                                placebo. The 60/40 is just a more
                                                            Much Worse                                                              convenient way to look at it.
                                                            G = 0/98                                                       15. With regard to “Response to Treatment”
                                                            P = 0/98                                                           we do see a significant difference in
                                                                                                                               Placebo and Gabapentin for most of the
                                                            •   See table on p. 23 of March report                             criteria, however, for all categories more
                                                            •   See table 16 and figure 8 on p. 42 of March                    patients seemed to not respond to
                                                                report (numbers do add up this time)                           treatment than did respond to treatment.
                                                                                                                           16. For PGIC and CGIC, patients and
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                                                            •   Statistically significantly more patients had,                 clinicians compared the improvement at
                                                                in the opinion of the clinician, improved                      the end of each treatment period with the
                                                                more during Gabapentin treatment than                          status prior to the study; however,
                                                                during placebo treatment, but see                              patients/clinicians cannot have been
                                                                comments.                                                      expected to remember exactly how they
                                                                                                                               felt given that at least 15 weeks had
                                                            Patient Global Impression of Change                                passed, further regression to the mean is
                                                            ITT Population                                                     not taken into account, and order effects
                                                            • Note here that the denominators have been                        are not addressed. It is preferable in a
                                                                changed from 98 (as reported in the study)                     crossover design to compare baseline
                                                                to 113 for the Gabapentin group, and 111                       with end of treatment 1, and
                                                                for the placebo group to reflect the true ITT                  measurement after washout with end of
                                                                population sizes as this efficacy variable                     treatment 2. This is addressed in the
                                                                was suitable for meta-analysis.                                discussion (p. 49) however no mention of
                                                                                                                               regression to the mean is made.
                                                            Much Improved:                                                 17. The discussion states that results may
                                                            G = 11/113 (9.73%)                                                 have been hampered due to study
                                                            P = 2/111 (1.80%)                                                  design. Crossover designs are more
                                                            Moderately Improved                                                powerful than parallel designs if, as
                                                            G = 10/113 (8.85%)                                                 stated, the underlying condition does not
                                                            P = 6/111 (5.41%)                                                  change over time and if the washout is
                                                            Minimally Improved                                                 adequate (i.e. no carry over effects).
                                                            G = 25/113 (22.12%)                                                • There are no qualms in this study
                                                            P = 14/111 (12.61%)                                                      about carry-over effects. As stated
                                                            No Change                                                                in the conclusion “statistical analysis
                                                            G = 36/113 (31.86%)                                                      could not reveal any carry-over
                                                            P = 48/111 (43.35%)                                                      effect”; in addition, the blood plasma
                                                            Minimally Worse                                                          levels of Gabapentin returned to 0.
                                                            G = 5/113 (4.42%)                                                  • Taking into account this issue of
                                                            P = 23/111 (20.72%)                                                      disease fluctuation, the passage
                                                            Moderately Worse                                                         points out that, for the primary
                                                            G = 7/113 (6.19%)                                                        efficacy variable, the scores after
                                                            P = 2/111 (1.80%)                                                        the washout period were lower than
                                                            Much Worse                                                               at baseline. However, for the
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                                                            G = 4/113 (3.54%)                                                       Gabapentin-Placebo arm the score
                                                            P = 3/111 (2.70%)                                                       at baseline was 52.2 (SD =16.4)
                                                            Missing:                                                                while the score at week 8 was 50.9
                                                            G = 15/113 (13.27%)                                                     (21.6), a difference of 1.3 mm. For
                                                            P = 13/111 (11.71%)                                                     the Placebo-Gabapentin arm the
                                                                                                                                    baseline score was 54.1 (15.4) while
                                                            •   See table on p. 23 of March report                                  at week at the scores were
                                                            •   Statistically significantly many patients                           52.6(21.1), a difference of 1.5 mm.
                                                                believed they improved more during                                  These differences are so small,
                                                                Gabapentin treatment than during placebo                            much lower than the MCID.
                                                                treatment p = 0.023, but again assume p-                       • The discussion then goes on to note
                                                                value uses the non-ITT sample size of 98                            that the placebo effect was greater
                                                                for this calculation.                                               in the first treatment period (6.9 mm)
                                                                                                                                    than in the second (0.5 mm) where
                                                            Response to Treatment(p. 44)                                            as the Gabapentin effects were of
                                                            “ITT” Population (completer population)                                 the same magnitude (7.20 mm
                                                                                                                                    during first period, 5.09 during the
                                                            Note that for the following results the                                 second period). This seems to be a
                                                            denominator is 98 which does not reflect the                            sign of unblinding i.e. those who
                                                            true ITT, rather the completer population                               received Gabapentin in the first
                                                                                                                                    period, due to side effects such as
                                                            Also note that here p-values are with regard to                         vertigo etc., knew they were on
                                                            the significance of the number more of patients                         placebo in the second treatment
                                                            who responded to Gabapentin treatment than to                           period.
                                                            placebo treatment and were also most likely                    18. The last statement in the discussion of
                                                            calculated with N = 98, the value for the                          the March report states that “this study
                                                            completer population not the true ITT population                   indicates that Gabapentin may be of
                                                            and are therefore less useful.                                     benefit for patients with neuropathic
                                                                                                                               pain” however no evidence is given here.
                                                            > 50% Pain Reduction                                               Furthermore, there was no improvement
                                                            G = 13/98                                                          in the primary variable; and although the
                                                            P = 9/98                                                           improvements in certain other variables
                                                            P-value = 0.29                                                     were statistically significant compared
                                                            > 30% Pain Reduction                                               with placebo, they study, in my opinion,
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                                                            G = 29/98                                                         failed to demonstrate that Gabapentin
                                                            P = 19/98                                                         had any marked improvements. All the
                                                            P-Value = 0.04                                                    “significant” improvements were
                                                            At Least Marked Pain Relief                                       extremely small.
                                                            G = 18/98
                                                            P = 5/98
                                                            P-value = 0.007
                                                            At Least Moderate Pain Relief
                                                            G = 31/98
                                                            P = 14/98
                                                            P = 0.003
                                                            • This is called responders in analysis plan
                                                                and the definition has changed slightly (in
                                                                analysis plan the definition for one indicator
                                                                is at least 25% pain relief, here it is 30).
                                                                o With regard to marked and moderate
                                                                      pain relief, the analysis says that this
                                                                      was measured on a 5-alternative
                                                                      question; the report doesn’t mention
                                                                      this…same 5-alternative question from
                                                                      Pain Relief Scale?
                                                                o These changes are not mentioned in
                                                                      any amendments to the study.

                                                            Plasma sampling (concentration of
                                                            Gabapentin)
                                                            • See p. 25, 46 of March report for details
                                                            • Table 19 displays details but serum
                                                                concentration of Gabapentin was slightly
                                                                lower during the second treatment period
                                                                (i.e. in patients in Placebo-Gabapentin arm)
                                                                as compared with those who were treated
                                                                with the active drug in the first treatment
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                                                                period, a paired t test I did on my own
                                                                showed that this difference was not
                                                                significant.

                                                            The serum concentrations (μmol/L) of
                                                            Gabapentin by treatment period and Study
                                                            population mean are listed below (“ITT” or
                                                            completer population), standard deviations are
                                                            in brackets.

                                                            Gabapentin-Placebo Arm:
                                                            Titration I: 40.3 (20.4)
                                                            Treatment I:38.7 (23.7)
                                                            Washout: 0
                                                            Titration II: 0
                                                            Treatment II: 0
                                                            Placebo-Gabapentin Arm:
                                                            Titration I: 0
                                                            Treatment I: 0
                                                            Washout: 0
                                                            Titration II: 38.0 (20.77)
                                                            Treatment II:34.3 (20.73)

                                                            General Physical Exam
                                                            • At visit 1 and 7 or termination visit
                                                            • Weight, height, vital signs

                                                            Brief Neurological Exams
                                                            • At visit 1 and 7 or termination visit
                                                            • Reflexes and gait
                                                            • Sensibility in pain area also evaluated as
                                                                compared to contralateral side at visit 1
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                                                            Additional Variables:

                                                            Pain during other parts of treatment period

                                                            Analysis of carry-over effects and Analysis
                                                            of period effects
                                                            • It is stated in the analysis plan that an
                                                                analysis of period effects and an analysis of
                                                                carry-over effects would be performed
                                                                however, I can find nothing in the March
                                                                report that says anything about this
                                                                analysis besides that there were not carry-
                                                                over effects but there were period
                                                                effects…what were they?

                                                            Subgroup analysis by duration of pain
                                                            • See p. 44 of March report
                                                            • No difference in treatment effect could be
                                                               seen when time since diagnosis was taken
                                                               into consideration
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                                                             Patient Global Impression of Change


      100

       90

       80

       70

       60
                                                                                                                                                              Gabapentin
       50
  %




                                                                               48/ 111                                                                        Placebo
       40
                                                                     36/ 113
       30
                                                 25/ 113
                                                                                                 23/111
       20
                                                           14/ 111                                                                         15/ 113
                                                                                                                                                     13/111
            11/ 113            10/ 113                                                                    7/113
       10                                                                                5/113
                                         6/111                                                                              7/ 113 3/111
                      2/ 111                                                                                      2/ 111
       0
               Much            Moderately        Minimally            No Change          Minimally        Moderately       Much Worse         Missing
            Improv ed          Improv ed         Improv ed                                Worse             Worse
                                                                        Gabapentin project study summary – Study No. 9 - 945-295 - RICE PHN(Pain 2001) –                            1
                                                                        prepared by Kelsey Innes and Dr. Tom Perry - FINAL - July 27, 2008
                                                                             STUDY NO. 9 - STUDY DETAIL SUMMARY AND ANALYSIS: RICE
                                                                        STUDY NUMBER 945-295 – POST HERPETIC NEURALGIA – FINAL – JULY 27, 2008
                                                                        Summary:
                                                                        Information taken from:
                                                                        a) Rice A.S.C., Maton S., Postherpetic Neuralgia Study Group. Gabapentin in postherpetic neuralgia: a
                                                                        randomized, double-blind, placebo controlled study. Pain, 2001; 94: 215-224. Referred to as the Pain
                                                                        report
                                                                        b) Parke-Davis research report number RR-430-00124 dated April 3rd, 2000, referred to as the unpublished
                                                                        report.
                                                                        The exclusion criteria for this study lead to enrichment bias. See table for details.
                                                                        The Pain report describes the primary outcome as the change in average daily pain score from the baseline
                                                                        week to the final study week. However, the study protocol (83 of 1357 of unpublished report) states that
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                                                                        the primary outcome will be the mean weekly pain score. The Inferential Analysis Plan states (193 of
                                                                        1357, unpublished report) that the primary objective is to compare the mean pain scores from the final week
                                                                        of the daily pain diary for each dose of Gabapentin compared with placebo. Furthermore, the “Main
                                                                        Model” section of the October 30th, 1998 final protocol (87 of 1357 of unpublished report) and the
                                                                        “Inferential Analysis Plan” (193 of 1357 of unpublished report) clearly show that the predefined
                                                                        outcome was not change from baseline and that the change from baseline was “not to be subjected
                                                                        to statistical analysis” (p. 193 of 1357).
                                                                        According to page 17 (22 of 1357) of the unpublished report, “The study was analysed on an intention to
                                                                        treat basis, therefore no patients were excluded from the analysis population. Other than diary assessments
                                                                        made after the cessation of study medication no individual visits or assessments were excluded.” In fact,
                                                                        an ITT-LOCF was used to analyse certain endpoints. ITT without excluding or dropping patients should
                                                                        show the same sample sizes for assessments of each treatment group (placebo, Gabapentin 1800 mg/day,
                                                                        and Gabapentin 2400 mg/day) as at randomiation:
                                                                             • The number of patients randomized to placebo, Gabapentin 1800 mg/day, and Gabapentin 2400
                                                                                  mg/day) was 111, 115, and 108 respectively.
                                                                             • For sleep interference score, page 17 (22 of 1357) states that “One of these patients could not be
                                                                                  included in the analysis of sleep diaries as there were no baseline sleep entries” this patient I
                                                                                  assume was in the placebo group as the baseline numbers (Table 9, p. 26, 31 of 1357) state that N
                                                                                  = 110, not 111 for the placebo group. However, this table indicates that at the end of study, N =
                                                                                  111 for the placebo group. One wonders how this could have occurred.
                                                                             • The number of patients analysed for the patient global impression of change (PGIC) efficacy
                                                                                  variable were 105, 107, and 98 for the placebo, Gabapentin 1800 mg/day, and Gabapentin 2400
                                                                                  mg/day groups
                                                                        This study involves a number of dependent comparisons but no correction is made. This is acknowledged
                                                                        in both the protocol and the statistical analysis plan. A correction should have been made if statistical
                                                                        significance is to be claimed..
                                                                        The Pain report did state the mean duration of treatment for each treatment group of this study. From the
                                                                        unpublished report it is clear that patients assigned to gabapentin took the medication for less time.
                                                                        However standard deviations for these results cannot be located in the unpublished report making it hard
                                                                        to assess statistical significance. Reported duration of treatment:
                                                                            •    46.0 days for placebo
                                                                            •    43.3 days for Gabapentin 1800 mg/day
                                                                            •    43.7 days for Gabapentin 2400 mg/day
                                                                        The Pain report and the unpublished report both seem to contain no information regarding the statistical
                                                                        significance for difference between placebo vs. gabapentin (1800 mg/d or 2400 mg/d) of adverse effects or
                                                                        withdrawals. As in other studies, adverse events and withdrawals appear much more common in the
                                                                        gabapentin treatment groups.
                                                                        P. 222 of the Pain report states (in the discussion) that “The study was not set up to show equivalence
                                                                        between the 2 doses and no statistical comparison was made between them. A visual inspection of the data
                                                                        suggests no difference between the 1800 and 2400 mg groups”. It is peculiar to design a trial using two
                                                                        dose groups and then not compare them. The raw data suggest that G2400 mg/d is not superior to G1800
                                                                        mg/d, but may cause more AE. This adds to evidence from other studies that benefits from gabapentin are
                                                                        not dose-dependent, whereas harms are.
                                                                                                                                                                             1 of 1
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                                                                        “Responder” analysis appears to include patients with > 50% reduction in weekly pain score, even if they
                                                                        dropped out due to AE. In this sense, a “response” is not necessarily beneficial. This is common to
                                                                        other “responder” analyses in the similar P-D/Pfizer trials.
                                                                        Examination of Figure 2 of the Pain report (Change from baseline in average daily pain scores, p. 219),
                                                                        suggests that for ITT-LOCF observations, a group mean difference from placebo is discernible within the
                                                                        first week, whereas both gabapentin group curves then follow placebo quite closely for the remainder of the
                                                                        trial. This observation is mirrored in the graph of mean daily sleep scores (see appendix C of unpublished
                                                                        report for details). Week 1 pain scores are the average of patient pain or sleep ratings during a week when
                                                                        the starting dose was lower than the final Day 7 dose, indicating that any effect discernible by patients from
                                                                        gabapentin may occur before the end of Week 1. This phenomenon was observed by Dr. Jewell, UC
                                                                        Berkely statistician, while analyzing the Backonja trial, and was also observed for the Gilron data. Patient
                                                                        unblinding due to obvious effects of gabapentin (at least in some patients) may cause this initial drop in the
                                                                        pain score. This experiment strengthens the evidence that gabapentin effects typically are discernible early,
                                                                        and at lower daily doses, both for benefits and harms.
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Study / Design /          Inclusion Criteria /         Intervention(s), Experimental Design, N          Predefined Outcomes / Issues in                    Outcomes Hierarchy                    Comments / Conclusions of
Dates                     Baseline                     of Subjects Randomized (ITT) / N Who             Statistical Analysis                               (Cochrane, investigators:             Kelsey Innes/Dr. TL Perry
                          Characteristics              Completed Study                                                                                     primary / secondary)
Study Number: 945-        Postherpetic neuralgia      Patient Flow:                                     Predefined Outcomes:                               1. Mortality (Table 3 on P. 221 of    1. The exclusion criteria cause a
295                                                   • Number of patients screened: 411                                                                   Pain Report):                            marked “enrichment bias” This
                          Inclusion Criteria:         • Number of patients randomized: 334              Primary Efficacy Variable: average daily                                                    would artificially reduce the
                          • At least 18 years of      • Number of patients randomized to placebo:       pain score from final study week (p. 193/1357      Placebo: 0 / 111                         number of patients enrolled who
Study Design:                 age                         111                                           unpublished report).                               Gabapentin 1800 mg/day: 0/115            are unlikely to respond to
Multicentre, double       • Pain present for more • Number of patients randomized to                    • Evaluated from daily pain diary for Week         Gabapentin 2400 mg/day: 1/108            Gabapentin as well as the number
blind, randomized,            than 3 months after         Gabapentin 1800 mg/day: 115                       7 or LOCF                                                                               of adverse events suffered during
placebo controlled            the healing of the      • Number of patients randomized to                • 11-point Likert Scale with 0 as no pain          •   The patient in the Gabapentin        this trial.
study (UK and Ireland),       acute herpes zoster         Gabapentin 2400 mg/day: 108                       and 10 as worst possible pain.                     2400 mg/day group, who died,
consultant                    rash                    • See figure 1 from page 218 of Pain report –     • Baseline score consisted of the mean of              died outside the 1 month          2. In this study Intent-to-Treat is
anaesthetists’            • Average pain scores of        patient flow diagram.                             the last seven pain diary entries                  follow-up after study                defined properly; however, ITT-
outpatient pain clinics       4 or more based on an                                                         preceding randomisation                            completion. Death was                LOCF is used, which does not
and “specialist               11-point Likert scale                                                     • The final weekly mean pain score was                 recoded as other causes and          account fully for all patients. The
research GP practices)        on the week before                                                            defined as the mean pain score from the            not related to the adverse           graphs from Pain report and
(p.                           commencing study                                                              last 7 days preceding the final visit or the       events ongoing at the time.          unpublished report do not
                              medication.                                                                   last 7 days on the study medication for            o See Table 15, p. 39/1357           display the numbers reporting
Study manager:                o Note that                                                                   patients who did not complete the study                 of unpublished report at        at each week.
ImroTramarko Ltd. For              according to the                                                         (LOCF)                                                  end of document
Parke-Davis UK,                    unpublished                                                          • The author’s performed a percent change          •   For details regarding this        3. This study involves a number of
“study advisor” Dr.                report 13 patients                                                       transformation on the data however, the            patient see end of document,         dependent comparisons, and
Andrew Rice                        were randomised                                                          raw data is included in Table 8 (29 of             although it is unlikely that         multiple statistical comparisons
                                   to treatment                                                             1357 of the unpublished report), and this          Gabapentin treatment caused          but no correction is made. This is
Protocol finalized                 despite having a                                                         table has been included at the end of this         the death of this patient, few       acknowledged in both the protocol
October 30, 1998                   mean baseline                                                            document.                                          details surrounding his death        and the statistical analysis plan.
                                   pain score less                                                                                                             are given in the unpublished         Specifically, the analysis plan
Investigators meeting                                 Study Design:                                                                                            and published reports.               states on page 195 of the
                                   than 4                                                               NB: Pain report (Rice 2001) reports the
February 27, 1999             o 11of these cases      •   1 week baseline                                                                                                                           unpublished report that “there are
                                                                                                        primary outcome as the CHANGE from
                                   the mean score     • After baseline patients randomized to either                                                       TLP recommendation: since we             a large number of inferential
                                                                                                        baseline (comparison of means for each
Study Duration: 7                  was greater than       Gabapentin or placebo                                                                            cannot interpret this and the            analyses of various assessments
                                                                                                        group); whereas both the “Main Model” in
weeks                              3.5.               •   Week 1: 4-day forced titration to 1200 mg/d   the final protocol of October 30, 1998 (at p.      authors report it as death in            of pain. As stated in the protocol
                                                          then 3 days stable dose                       87/1357) and the inferential analysis plan         gabapentin group, we should              no adjustment will be made for
Medication Dosage:        Exclusion Criteria          • Start of week 2: dose increment to 1500         (part of experimental protocol) at p.              record it in meta-analysis as shown      these. The nomination of a

                                                                                                                                                                                                                        3 of 3
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1800 mg/day, 2400        •   Failure to respond to        mg/d x 1 day, then 1800 mg/d                    193/1357 clearly shows that the predefined      by authors.                               primary efficacy parameter (mean
mg/day                       previous treatment       •   Start of week 3: increment to 2100 mg/d x 1     outcome was NOT the change from                                                           pain scores from the final week of
                             with Gabapentin at >         day for those patients randomized to the        baseline, and that change from baseline         2. Serious Adverse Events (Table          the daily pain diary) ensures the
Patients                     1200 mg/day                  2400 mg/day group                               but was “not to be subjected to statistical     3 on P. 221 of Pain Report):              overall type I error rate for the
Randomized:              •   Failure to respond to    •   then placebo, G 1800 mg/d or G 2400 mg/d        analysis”! (p. 198/1357) The final protocol                                               whole study is controlled at 5%.
334                          Gabapentin at any            stable x final 4 weeks                          appears to distinguish weekly pain scores and   •   Placebo: 1/111 (0.90%)                However, due to the large number
                             dose level due to side   •   For details see page 216-217                    change from baseline to endpoint in group           o Depression                          of secondary analyses being
Randomization                effects                  •   See Figure 1 from page 4 (9 of 1357) of         mean scores as “supplemental analyses”, but     •   Gabapentin 1800 mg: 3/115             performed, some significant
Procedure:               •   Contraindications to         unpublished report.                             does not make clear how these were to be            (2.61%)                               results are expected to occur by
computer-generated           Gabapentin treatment                                                         regulated, other than to state that no              o Fever                               chance alone. Undue
randomization list in                                                                                     adjustments were to be made for multiple            o Infection                           consideration will not be given to
blocks of 6 (p. 216 of   Concomitant                                                                      comparisons, but that some comparisons              o Retinal vein thrombosis             any particular significant
published report)        Medications:                                                                     would appear significant by chance alone.                and haemoptysis                  difference: rather, interpretation of
                         • The following                                                                                                                 •    Gabapentin 2400 mg: 1/108             the results will be based on
Number of Study             medications were                                                              Secondary Efficacy Variables:                       (0.93%)                               patterns of significant
Centers: 48 hospital        permissible at a stable                                                       • Mean weekly pain and sleep interference           o Congestive heart failure            differences.” A correction should
outpatient clinics and      dose prior to and         •                                                      score (11-point Likert scale)                                                          have been made, and the pre-
three general               during study (could not                                                       • Short Form-McGill Pain Questionnaire         3. Withdrawals Due to Adverse              defined primary efficacy test is in
practices.                  be initiated during       Study Power                                            (SF-MPQ)                                    Events (Table 3 on P. 221 of Pain          fact NOT reported as the primary
                            study)                    • Study was estimated to have a 90% power           • Clinician Global Impression of Change        Report):                                   efficacy outcome.
Study Dates: April          o Antidepressants             to detect a difference of 1.0 on the pain          (CGIC) assessed on a 7-point scale at
1999 – December             o Mild opiates (e.g.          diary scale as statistically significant (P <      study endpoint (LOCF)                       • Placebo: 7 /111 (6.31%)              4. A test called Dunnett’s test to
1999                             aspirin, codeine)        0.05, 2 sided)                                  • Patient Global Impression of Change          • Gabapentin 1800 mg: 15/115              correct for the multiplicity of
                            o NSAIDS                  • The observed power was 95% to detect the             (PGIC) assessed on a 7-point scale at            (13.04%)                             comparing two doses of
Study Approval: The                                       specified difference                               study endpoint (LOCF)                       • Gabapentin 2400 mg/day:                 Gabapentin with 1 dose of
South and West                                                                                            • Quality of Life (QoL) using the Short             19/108 (17.59%)                      placebo was made. This was not
Multicentre Research                                  Study Populations:                                     Form-36 (SF-36) Health Survey               See Appendix B.2 (P. 167 of 1357)         stated in the protocol but was in
Ethics Committee as                                                                                       • Percentage of patients achieving a 50%       of unpublished report for narratives      the inferential analysis plan,
well as each centre’s                                 The intent-to-treat population was defined as          or greater reduction in pain                and details relating to withdrawals.      specifically, the analysis plan
Local Research Ethics                                 patients who, once randomized, received at             o Note that this is not specified as a                                                states on page 196 that “Although
Committees                                            least one dose of study medication.                         secondary efficacy variable in the     4. Total Withdrawals (p. 217 of           not stated in the protocol
                                                                                                                  protocol but rather as an additional   Pain report,)                             adjustment will be made in the
PUBLISHED: Rice                                       Statistical Analysis                                        analysis. P. 193 of the unpublished    *Also see unpublished report, page        primary efficacy analysis for
A.S.C., Maton S.,                                                                                                 report (in the analysis plan) does     17 (22 of 1357)                           multiplicity involved in comparing
Postherpetic Neuralgia                                •   ANCOVA was employed to assess                           specify this as a secondary objective.                                           2 doses of Gabapentin with
Study Group.                                              between group (P vs. G1800/d vs.                                                               Total of patients who withdrew: 62        placebo. In order to control the
Gabapentin in                                                                                                                                                                                      overall probability of claiming a
                                                                                                                                                                                                                       4 of 4
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postherpetic neuralgia:                              G2400/d) changes in pain and sleep           Average Daily Pain Score (p. 218-19 of        Placebo: 17/111 (15.32%)                significant advantage of
a randomized, double-                                scores. Group mean change from baseline      published report)                             Gabapentin 1800 mg: 22/115              Gabapentin over placebo
blind, placebo                                       to be tabulated, but not analysed                                                          (19.13%)                                comparisons with placebo for the
controlled study. Pain,                              statistically. (p.                                                                         Gabapentin 2400 mg/day: 23 /108         primary efficacy analyses will be
2001; 94: 215-224.                               •   CMH chi-square for 50% “responders”,                                                       (21.30%)                                made using Dunnett’s procedure.”
                                                     repeated comparison of G1800 mg/d vs.                                                                                              It is not clear whether this is an
                                                     placebo, G2400 mg/d vs. placebo; patients                                                  The reasons listed for withdrawal       appropriate post-hoc statistical
Final study report                                   withdrawing due to lack of efficacy to be                                                  were:                                   approach.
(unpublished):                                       regarded as non-responders, whereas                                                        • Lack of Compliance:
Parke-Davis research                                 WDAE may qualify as responders if NRS                                                          o Placebo: 3/111 (2.70%)        5. An interesting observation,
report number RR-                                    pain score declines sufficiently prior to                                                      o Gabapentin 1800 mg:              although not a predefined
430-00124 dated April                                withdrawal (see p. 197/1357)                                                                       2/115 (1.74%)                  outcome, was the mean duration
3rd, 2000. PD Authors                                                                             Above is Figure 2 from page 219 of the Pain                                          of treatment during the study. It
                                                 •   PGIC/CGIC to be analysed by modified ridit                                                     o Gabapentin 2400 mg:
include, Sarah-Jane                                                                               report showing weekly average daily pain              1/108 (0.93%)                  was 46.0 days for placebo, 43.3
                                                     transformation and CMH procedure
Bibby, Steve Maton, &                                                                             scores, below are the average daily pain                                             days for Gabapentin 1800
                                                 •   See pp. 193-200/1357 of unpublished                                                        • Lack of Efficacy
Dr Jan Paul Rosen                                                                                 scores for the week at baseline and week 7                                           mg/day, and 43.7 days for
                                                     report for details.                                                                            o Placebo: 4/111 (3.60%)
                                                                                                  along with Standard Deviations.                                                      Gabapentin 2400 mg/day. Clearly
                                                                                                                                                    o Gabapentin 1800 mg:
                                                                                                  Placebo:                                                                             those on Gabapentin took the
                                                                                                                                                        2/115 (1.74%)
                                                                                                  Baseline: 6.4 (SD = 1.6)                                                             medication for less time - likely
                                                                                                                                                    o Gabapentin 2400 mg:
                                                                                                  Week Seven:5.3 (SD = 2.4)                                                            reflecting earlier dropouts.
                                                                                                                                                        1/108 (0.93%)
                                                                                                  Week Seven-LOCF: 5.3 (SD = 2.3)                                                      However; standard deviations for
                                                                                                                                                • Adverse Event
                                                                                                  Change in Average Daily Pain Score: -1.1                                             these results cannot be located in
                                                                                                                                                    o Placebo: 7/111 (6.31%)
                                                                                                  Percent Change: -15.7%                                                               the Pain report nor in the
                                                                                                                                                    o Gabapentin 1800 mg:
                                                                                                                                                        15/115 (13.04%)                unpublished report making it
                                                                                                  Gabapentin 1800 mg/day:                                                              impossible to assess statistical
                                                                                                                                                    o Gabapentin 2400 mg:
                                                                                                  Baseline: 6.5 (SD = 1.7)                                                             significance.
                                                                                                                                                        19/108 (17.59%)
                                                                                                  Week Seven: 4.1 (SD = 2.5)
                                                                                                  Week Seven – LOCF :4.3 (SD = 2.5)             • Other
                                                                                                                                                    o Placebo: 3/111(2.70%)         6. According to page 18 of the
                                                                                                  Change in Average Daily Pain Score:-2.2                                              unpublished report, “Four patients
                                                                                                  Percent Change: -34.5%                            o Gabapentin 1800 mg:
                                                                                                                                                        3/115 (2.61%)                  were entered into the study with
                                                                                                                                                    o Gabapentin 2400 mg:              less than 4 days sleep diary
                                                                                                  Gabapentin 2400 mg/day                                                               although all had sufficient pain
                                                                                                  Baseline: 6.5 (SD = 1.6)                              2/108 (1.85%)
                                                                                                                                                                                       diary data. One of these patients
                                                                                                  Week Seven:4.2 (SD = 2.0)                                                            could not be included in the
                                                                                                  Week Seven – LOCF: 4.2 (SD = 2.1)             5. Total Adverse Events:
                                                                                                                                                                                       analysis of sleep diaries as there
                                                                                                  Change in Average Daily Pain Score:-2.3                                              were no baseline sleep entries. All
                                                                                                  Percent Change: -34.4%                        Number of patients in each group
                                                                                                                                                                                       other patients have been included
                                                                                                                                                                                                          5 of 5
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                                                                                                                                      who experienced adverse events         in the analysis… The initial SF-36
                                                                                      Difference between Gabapentin 1800 mg           • Placebo: 55/111 (49.55%)             questionnaires in 5 patients at
                                                                                      and placebo: 18.8%, P < 0.01                    • Gabapentin 1800 mg: 81/115           one centre were administered
                                                                                                                                          (70.43%)                           after the start of treatment. These
                                                                                      Difference between Gabapentin 2400 mg           • Gabapentin 2400 mg/day:              patients have been excluded from
                                                                                      and placebo: 18.7%, P < 0.01                        81/108 (75%)                       the analysis of SF-36.” –
                                                                                                                                                                             However, the sample sizes do not
                                                                                      •   I have highlighted the percent changes in   Total adverse events were              add up! They are all different for
                                                                                          red because they are not the values         • Placebo: 112                         the efficacy analysis and baseline
                                                                                          obtained when using the normal formula          o Mild:57                          numbers for SF-36 = same as
                                                                                          for percent change (i.e. (week 7 –              o Moderate:47                      number randomized?
                                                                                          baseline)/baseline) those values are then       o Severe:8
                                                                                          o Placebo: -17.2%                           • Gabapentin 1800 mg/d: 180        7. The Pain report states that
                                                                                          o Gabapentin 1800 mg/day: -33.8%                o Mild: 89                        “Three hundred and twenty-one
                                                                                          o Gabapentin 2400 mg/day: -35.4%                o Moderate: 67                    patients completed the SF-36
                                                                                      •   This discrepancy is because data were           o Severe: 24                      questionnaire at baseline and 289
                                                                                          percent change transformed due to non-      • Gabapentin 2400 mg/d: 206           had evaluable SF-36 results from
                                                                                          normality                                       o Mild:96                         the treatment period.” What does
                                                                                          o Note that percent change from                 o Moderate:80                     this mean? What is evaluable?
                                                                                               baseline was not a prespecified            o Severe: 30
                                                                                               outcome.                                                                  8. The Pain report and the
                                                                                                                                      Note that table 3 on page 221 of      unpublished report both seem to
                                                                                      Mean Sleep Interference Score:                  Pain report lists the Adverse         contain no test of statistical
                                                                                      • The author’s report that for the last week    Events Occurring in > 5% …            significance for adverse effects in
                                                                                         the difference between placebo and           • Dizziness                           each group. As in other studies
                                                                                         Gabapentin 1800 mg was 0.9, P < 0.01.            o Placebo: 11/111 (9.91%)         adverse events are much more
                                                                                         However, the LOCF changes from                   o Gabapentin 1800 mg:             common in the Gabapentin
                                                                                         baseline for mean sleep interference                  36/115 (31.30%)              groups.
                                                                                         score for placebo and Gabapentin 1800            o Gabapentin 2400 mg:
                                                                                         mg/day were -0.9 and -1.7 respectively,               36/108 (33.33%)           9. P. 222 of the Pain report
                                                                                         an absolute difference of 0.8.                                                     (discussion) states “The study
                                                                                                                                      • Somnolence
                                                                                      • The authors report that the difference                                              was not set up to show
                                                                                                                                          o Placebo: 7/111 (6.31%)
                                                                                         between placebo and Gabapentin 2400                                                equivalence between the 2 doses
                                                                                                                                          o Gabapentin 1800 mg:
                                                                                         mg was 1.1, P < 0.01. However, the                                                 and no statistical comparison was
                                                                                                                                               20/115 (17.39%)
                                                                                         LOCF changes from baseline for mean                                                made between them. A visual
                                                                                                                                          o Gabapentin 2400 mg:
                                                                                         sleep interference score for placebo and                                           inspection of the data suggests no
                                                                                                                                               22/108 (20.37%)
                                                                                                                                                                            difference between the 1800 and
                                                                                                                                                                                               6 of 6
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                                                                                          Gabapentin 2400 mg/day were -0.9 and -        •   Peripheral oedema                  2400 mg groups” It is odd to
                                                                                          2.1 respectively, an absolute difference of       o Placebo: 0/111 (0%)              establish two dose groups without
                                                                                          1.2.                                              o Gabapentin 1800 mg:              comparing them. The reasonable
                                                                                                                                                 6/115 (5.22%)                 inference is that there is no
                                                                                      Placebo:                                              o Gabapentin 2400 mg:              efficacy advantage to the larger
                                                                                      Baseline: 4.0 (SD = 2.6)                                   12/108 (11.11%)               dose, as appears in the raw
                                                                                      Week Seven: 3.2 (SD = 2.6)                        •   Asthenia                           statistics.
                                                                                      Week Seven-LOCF: 3.1 (SD = 2.6)                       o Placebo: 4/111 (3.60%)
                                                                                      Change in Daily Sleep Interference Score: -           o Gabapentin 1800 mg:          10. This study suggests like other
                                                                                      0.9                                                        7/115 (6.09%)                 studies that separation of NRS
                                                                                                                                            o Gabapentin 2400 mg:              score (LOCF) occurs at week 1
                                                                                      Gabapentin 1800 mg/day:                                    6/108 (5.56%)                 for Gabapentin vs. placebo, and
                                                                                      Baseline: 4.0 (SD = 2.8)                          •   Dry Mouth                          then levels off. A longer time
                                                                                      Week Seven: 2.0 (SD = 2.5)                            o Placebo: 1/111 (0.90%)           does not appear necessary to
                                                                                      Week Seven – LOCF : 2.3 (SD = 2.6)                    o Gabapentin 1800 mg:              discern this effect.
                                                                                      Change in Daily Sleep Interference Score: -                7/115 (6.09%)
                                                                                      1.7                                                   o Gabapentin 2400 mg:          11. Note patients who dropped out
                                                                                                                                                 5/108 (4.63%)                 due to adverse effects could
                                                                                      Gabapentin 2400 mg/day                            •   Diarrhoea                          qualify as “responders” in 50%
                                                                                      Baseline: 4.4 (SD = 2.7)                              o Placebo: 1/111 (0.90%)           responder analysis. This
                                                                                      Week Seven: 2.1 (SD = 2.5)                            o Gabapentin 1800 mg:              means that even if pain
                                                                                      Week Seven – LOCF: 2.3 (SD = 2.6)                          7/115 (6.09%)                 response benefit occurred in a
                                                                                      Change in Daily Sleep Interference Score: -           o Gabapentin 2400 mg:              patient experiencing intolerable
                                                                                      2.1                                                        5/108 (4.63%)                 AE, the patient could count as a
                                                                                                                                                                               “responder”, i.e. “response” is
                                                                                                                                        NB: For all positive outcomes          not necessarily desirable.
                                                                                      SF-MPQ (Page 219 of Pain Report)                  (e.g., Average Daily Pain Score,
                                                                                      • The pain report states that “The SF-MPQ         Mean Sleep Interference Score,     12. One of the inclusion criteria was
                                                                                         showed improvements in all parameters          etc.) significance testing has         that the average pain scores of 4
                                                                                         during treatment with greater                  been performed and is reported.        or more based on an 11-point
                                                                                         improvements in Gabapentin treated             However, for adverse events, no        Likert scale on the week before
                                                                                         patients. The difference between               statistical significance is            commencing study medication,
                                                                                         Gabapentin and placebo was statistically       reported; the raw data suggest         yet according to page 18 (23 of
                                                                                         significant (P < 0.05) for the sensory         that significantly more adverse        1357) of the unpublished report
                                                                                         score (both doses); total score (both          events (serious, severe,               13 patients were randomised to
                                                                                         doses); and visual analogue scale of pain      moderate and mild) occurred in         treatment despite having a mean
                                                                                                                                                                               baseline pain score less than 4
                                                                                                                                                                                                 7 of 7
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                                                                                            during the previous week (2400 mg              the Gabapentin groups as
                                                                                            only).”                                        compared with placebo

                                                                                      Patient Global Impression of Change (P.
                                                                                      219 of Pain report)                                  6. Validated measures of
                                                                                                                                           improvement in global function
                                                                                      •     The Pain report only gives the data for        including return to work, study,
                                                                                            much improved/very much improved               activities of daily living
                                                                                      •     Table 12 from the unpublished report (p.
                                                                                            35/1357) summarizes the data for PGIC          •   None reported in this study
                                                                                            and has been included at the end of this
                                                                                            document                                       7. > 50% reduction in pain score
                                                                                      •     The unpublished report and the Pain            (NRS, VRS) from baseline to
                                                                                            report state the sample sizes for this         endpoint
                                                                                            outcome as Placebo = 105, Gabapentin
                                                                                            1800 mg = 107, and Gabapentin 2400             Placebo: 16/111 (14%)
                                                                                            mg = 98 this can bee seen from Table 12        Gabapentin 1800 mg/day 37/115
                                                                                            of the unpublished report on page 35 of        (32%)
                                                                                            1357.                                          Gabapentin 2400 mg/day: 37/108
                                                                                      •     The table below uses for the                   (34%)
                                                                                            denominators the actual number of
                                                                                            patients randomized to each group i.e.         •   Proportion of patients showing
                                                                                            Placebo = 111, Gabapentin 1800 mg =                a 50% or greater reduction in
                                                                                            115, and Gabapentin 2400 mg = 108                  mean pain score between
                                                                                            therefore the percentages are smaller              baseline and end of treatment
                                                                                            than those indicated in either report.             was significantly higher in
                                                                                                                                               both the Gabapentin groups (P
                                                                                                                 Gabapentin
                                                                                                                              Gabapentin       = 0.001)
                                                                                                      Placebo     1800 mg
                                                                                                      N=111        N=115
                                                                                                                               2400 mg     •   Note patients who dropped
                                                                                                                                N=108          out due to adverse effects
                                                                                          Very Much     7/111      18/115       12/108         could qualify as
                                                                                          Improved     (6.31%)    (15.65%)     (11.11%)
                                                                                            Much        17/111     26/115       30/108         “responders” in above
                                                                                          Improved    (15.32%)    (22.61%)     (27.78%)        analysis, i.e. “response” is
                                                                                          Minimally     23/111     22/115       21/108         not necessarily desirable.
                                                                                          Improved    (20.72%)    (19.13%)     (19.44%)
                                                                                                        45/111     34/115       27/108
                                                                                          No change
                                                                                                      (40.54%)    (29.57%)     (25.00%)    8. Mean between-group
                                                                                          Minimally      7/111      3/115        3/108

                                                                                                                                                                                8 of 8
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                                                                                         Worse        (6.31%)      (2.61%)      (2.78%)     difference in change of pain
                                                                                          Much         3/111        3/115        5/108
                                                                                         Worse        (2.70%)      (2.61%)      (4.63%)     score (NRS, VRS) from baseline
                                                                                       Very much       3/111        1/115        0/108      to pre-defined endpoint by ITT-
                                                                                         worse        (2.70%)      (0.87%)        (0%)      LOCF :
                                                                                         Missing       6/111        8/115        10/108
                                                                                       observation    (5.41%)      (6.96%)      (9.26%)
                                                                                       Mean (SD)      3.5 (1.3)
                                                                                                                   2.9 (1.3)    2.9 (1.3)   NB: the group differences from
                                                                                        Median       no change
                                                                                                                  minimally    minimally    baseline were NOT the pre-
                                                                                                                  improved     improved
                                                                                                                                            defined primary endpoint (see
                                                                                                                                            column to left). The difference
                                                                                      Clinical Global Impression of Change (P.
                                                                                                                                            from baseline appears to be a
                                                                                      219-20 of Pain report)
                                                                                                                                            post-hoc secondary analysis,
                                                                                      • The Pain report only gives the data for             although it is common to other
                                                                                          much improved/very much improved                  studies. TLP concludes it is
                                                                                      • Table 13 (36/1357) of the unpublished               reasonable to meta-analyze the
                                                                                          report summarizes the data for CGIC and           comparison of group mean
                                                                                          has been included at the end of this              changes from baseline to LOCF
                                                                                          document.                                         endpoint. as shown below:
                                                                                      • The unpublished report and the pain
                                                                                          report state the sample sizes for this            Placebo (N=111):
                                                                                          outcome as Placebo = 107, Gabapentin              Baseline: 6.4 (SD = 1.6)
                                                                                          1800 mg = 108, and Gabapentin 2400                Week 7: 5.3 (SD = 2.4)
                                                                                          mg = 103, while the number of patients            Week 7-LOCF: 5.3 (SD = 2.3)
                                                                                          randomized to each group was Placebo =            Change in Average Daily Pain
                                                                                          111, Gabapentin 1800 mg = 115, and                Score (LOCF): -1.1
                                                                                          Gabapentin 2400 mg = 108
                                                                                      • The table below reflects the true ITT               Gabapentin 1800 mg/day
                                                                                          sample sizes and therefore the                    (N=115):
                                                                                          percentages listed are smaller than those         Baseline: 6.5 (SD = 1.7)
                                                                                          in either of the reports.                         Week 7: 4.1 (SD = 2.5)
                                                                                                                  Gabapentin   Gabapentin
                                                                                                      Placebo
                                                                                                                   1800 mg      2400 mg     Week 7–LOCF :4.3 (SD = 2.5)
                                                                                                      N =111
                                                                                                                    N = 115      N = 108    Change in Average Daily Pain
                                                                                       Very Much       6/111        14/115       12/108     Score: (LOCF) - 2.2
                                                                                       Improved       (5.41%)      (12.17%)     (11.11%)
                                                                                         Much          14/111       34/115       33/108
                                                                                       Improved      (12.61%)      (29.57%)     (30.56%)    Gabapentin 2400 mg/day(N=108):
                                                                                       Minimally       30/111       16/115       26/108     Baseline: 6.5 (SD = 1.6)
                                                                                       Improved      (27.03%)      (13.91%)     (24.07%)
                                                                                                       46/111       37/115       25/108     Week 7: 4.2 (SD = 2.0)
                                                                                       No change
                                                                                                     (41.44%)      (32.17%)     (23.15%)    Week 7–LOCF: 4.2 (SD = 2.1)
                                                                                                                                                                              9 of 9
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                                                                                       Minimally     8/111        5/115        4/108      Change in Average Daily Pain
                                                                                         Worse      (7.21%)      (4.35%)      (3.70%)
                                                                                         Much        3/111        1/115        3/108      Score (LOCF): -2.3
                                                                                         Worse      (2.70%)      (0.87%)      (2.78%)
                                                                                       Very Much     0/111        1/115        0/108      •   Difference between
                                                                                         Worse        (0%)       (0.87%)        (0%)
                                                                                                     4/111        7/115        5/108          Gabapentin 1800 mg and
                                                                                         Missing
                                                                                                    (3.60%)      (6.09%)      (4.63%)         placebo: show numerically P
                                                                                                                 2.9 (1.3)    2.9 (1.2)       < 0.01 indicate statistical
                                                                                       Mean (SD)    3.4 (1.1)
                                                                                                                Minimally    Minimally
                                                                                        Median     No Change
                                                                                                                Improved     Improved         technique (? ANCOVA)

                                                                                      Quality of Life Questionnaire (p. 220 of            •   Difference between
                                                                                      Pain report):                                           Gabapentin 2400 mg and
                                                                                      • The pain report states that “Three                    placebo: show numerically P
                                                                                           hundred and twenty-one patients                    < 0.01 indicate statistical
                                                                                           completed the SF-36 questionnaire at               technique (? ANCOVA)
                                                                                           baseline and 289 had evaluable SF-36
                                                                                           results from the treatment period.” What       9. PGIC, % of patients achieving
                                                                                           does this mean? What is evaluable?             “much improved” or
                                                                                      • The Pain report states the number of              “moderately improved”
                                                                                           patients to complete the questionnaire in      (equivalent to PGIC in US
                                                                                           each group as                                  studies, but expressed with
                                                                                           o Placebo: 106                                 similar but different words in
                                                                                           o Gabapentin 1800 mg/day: 105                  UK/Ireland):
                                                                                           o Gabapentin 2400 mg/day: 95
                                                                                      • According to the Pain report…                     •   Note that in this report, the
                                                                                           o Patients receiving either dose of                scale used to assess PGIC
                                                                                                Gabapentin experienced significantly          was as follows: 1=very much
                                                                                                greater improvements in mean score            improved; 2=much improved;
                                                                                                for the vitality scale (P < 0.05)             3=minimally improved; 4=no
                                                                                           o Patients receiving the 1800 mg dose              change; 5=minimally worse;
                                                                                                of Gabapentin also showed                     6=much worse; 7=very much
                                                                                                significantly greater improvements in         worse.
                                                                                                mean score for scales of bodily pain          o The scales employed in
                                                                                                (P < 0.01) and mental health (P <                 other studies have
                                                                                                0.05) than those receiving placebo                generally been as follows:
                                                                                      Figure 3: Summary of changes in domains of                  1 = much improved, 2 =
                                                                                      the SF-36 (P. 220 of published report)                      moderately improved, 3 =

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                                                                                                                                              minimally improved, 4 =
                                                                                                                                              no change, 5 = minimally
                                                                                                                                              worse, 6 = moderately
                                                                                                                                              worse, 7 = much worse
                                                                                                                                          o   The scales are clearly
                                                                                                                                              analogous and therefore,
                                                                                                                                              for this study we analysed
                                                                                                                                              the percentage of patients
                                                                                      Proportion of Patients Achieving at Least               achieving “very much
                                                                                      50% Pain Reduction                                      improved” or “much
                                                                                                                                              improved”
                                                                                      Placebo: 16/111 (14%)
                                                                                                                                      According to page 219 of Pain
                                                                                      Gabapentin 1800 mg/day 37/115 (32%)
                                                                                                                                      report, the percentage of patients
                                                                                      Gabapentin 2400 mg/day: 37/108 (34%)
                                                                                                                                      achieving “very much improved” or
                                                                                                                                      “much improved” were:
                                                                                      •   Proportion of patients showing a 50% or
                                                                                                                                      • Placebo: 24/105 (23%) of
                                                                                          greater reduction in mean pain score
                                                                                                                                          patients
                                                                                          between baseline and end of treatment
                                                                                          was significantly higher in both the        • Gabapentin 1800 mg: 44/107
                                                                                          Gabapentin groups (P = 0.001)                   (41%)
                                                                                      •   Note patients who dropped out due to        • Gabapentin 2400 mg: 42/98
                                                                                          adverse effects could qualify as                (43%)
                                                                                          “responders” in above analysis, i.e.
                                                                                          “response” is not necessarily desirable.    These are more
                                                                                      •   See page 26 of 1357 of unpublished          conservatively and
                                                                                          report and page 219 of Pain report.         appropriately shown as:
                                                                                      •   It should also be noted that the
                                                                                          achievement of 50% reduction in mean        Placebo: 24/111 (22%)
                                                                                          pain scores was not listed as a secondary   Gabapentin 1800 mg/d: 44/115
                                                                                          outcome                                     (38%)
                                                                                          o It is listed on page 89 or 1357 of the    Gabapentin 2400 mg/d: 42/108
                                                                                               unpublished report (Section 9.1.1.5    (39%)
                                                                                               of the protocol) as a supplementary
                                                                                               analysis                               TLP: we should consistently use
                                                                                          o “To compare the percentage of             the ITT denominator for all such
                                                                                               patients achieving a 50% reduction     % calculations.

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                                                                                              in mean pain scores from the daily
                                                                                              pain diaries for each dose of           10. Histogram presentation of all
                                                                                              Gabapentin with that for placebo.” Is   PGIC 7-point results
                                                                                              also listed on page 193 of 1357 of
                                                                                              the unpublished report (in the          •   See histograms at end of
                                                                                              statistical analysis plan) as a             document.
                                                                                              secondary objective.                    •   Note that in the denominator I
                                                                                                                                          have used the total number of
                                                                                                                                          patients randomized to each
                                                                                                                                          group, NOT the numbers given
                                                                                                                                          as denominators in the
                                                                                                                                          Pain/unpublished reports.
                                                                                                                                      •   Also notice that upon
                                                                                                                                          observation the groups do not
                                                                                                                                          look so significantly different.




                                                                                                                                                                             12 of 12
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                                                                             Patient Global Impression of Change

           100
            90
            80
            70
            60                                                                                                                                                                                                         Placebo
                                                                                                                                                                                                                       Gabapentin 1800 mg
            50
     %




                                                                                               4 5 / 111
                                                                                                                                                                                                                       Gabapentin 2400 mg
            40
                                                                                                   3 4 / 115
            30                                       3 0 / 10 8
                                              2 6 / 115
                                                                          2 2 / 115                        2 7 / 10 8
                                                                                   2 1/ 10 8
            20
                                                                  2 3 / 111
                          18 / 115          17 / 111
                                  12 / 10 8                                                                                                                                                                10 / 10 8
            10     7 / 111                                                                                              7 / 111
                                                                                                                                      3 / 10 8      3 / 115 5 / 10 8        1/ 115
                                                                                                                                                                                           6 / 111
                                                                                                                                                                                                     8 / 115
                                                                                                                              3 / 115                                3 / 111       0 / 10 8
                                                                                                                                              3 / 111
             0
                       Very Much          Much Improv ed                Minimally                No Change              Minimally Worse         Much Worse              Very Much               Missing
                        Improv ed                                        Improv ed                                                                                         Worse




                                                                                                                                                                                                                                   13 of 13
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                                                                        Table 8 from page 29 of 1357 of the unpublished report               Table 9 from page 31 of 1357 of the unpublished report
                                                                        Table 12: Summary of Patient Global Impression of Change, from page 35 of 1357 of unpublished report.
                                                                                      Table 13: Summary of Clinical Global Impression of Change, from page 36 of 1357 of unpublished report
                                                                           .
                                                                                                                                                                                   14 of 14
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                                                                        Table 15: Overview of Adverse Events, page 39 of 1357 of unpublished report.
                                                                        Unpublished report, Appendix C.1a: Mean Weekly Pain Score, ITT-LOCF (181 of 1357)
                                                                        Unpublished report, Appendix C.1b: Mean Weekly Sleep Diary Scores, ITT-LOCF (182 of 1357)
                                                                                                                                                                      15 of 15
                                                                         Gabapentin project study summary – Study No. 9 - 945-295 - RICE PHN(Pain 2001) – prepared by    16
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                                                                         The above is taken from 198 of 1357 of the unpublished report (Inferential Analysis Plan).
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                                                                         The above is taken from 88 of 1357 of the unpublished report (The Protocol)
                                                                         The above is taken from 89 of 1357 of the unpublished report (The Protocol)
                                                                                                                                                                    16 of 16
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                                                                         Deceased Patient: Supplemental Information:
                                                                         The patient who died was an 88-year-old male born December 22nd, 1910. His patient number was 46 (centre 17),
                                                                         initials BCW and was randomized to the Gabapentin 2400 mg/day treatment group (p. 485 of 1357). According to
                                                                         page 1135 of 1357 he was screened at centre 17 on April 22nd, 1999 and the date of his first visit, as well as the date
                                                                         that he started his dose was April 19th, 2999; his last dose was on June 16th, 1999. According to appendix E.13 he
                                                                         had no elective surgeries during the study. At study day -7, which one assumes is at the beginning of baseline or
                                                                         one-week prior to treatment, his vital signs were as follows (p. 523 of 1357):
                                                                         •   Weight: 58 (assume 58 kg, although units not specified)
                                                                         •   Sitting heart rate: 88
                                                                         •   Sitting Blood Pressure: 110/70
                                                                         •   Standing Heart Rate: 90
                                                                         •   Standing Blood Pressure: 106/68
                                                                         At study day 50, which one can assume, is following 7 weeks of treatment, his vitals were as follows (p. 523 of 1357):
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                                                                         •   Weight: 60 (assume 60 kg, although units not specified)
                                                                         •   Sitting heart rate: 84
                                                                         •   Sitting Blood Pressure: 136/80
                                                                         •   Standing Heart Rate: 86
                                                                         •   Standing Blood Pressure: 130/76
                                                                         According to page 1153 of 1357 the medications he was taking concurrently were:
                                                                         • Becotide
                                                                         • Co-amilofruse (Frumil)
                                                                         • Nifedipine
                                                                         • Quinine
                                                                         • Ventolin Salbutamol
                                                                         • Salazopyrin
                                                                         His Significant Medical/Surgical History / Concurrent Illnesses were as follows (p. 556-57 of 1357)
                                                                                             Condition                           Start Date         End Date
                                                                         Ulcerative Colitis                                          80             Continuing
                                                                         Airflow Obstruction                                         91             Continuing
                                                                         Cardiac Failure                                             91             Continuing
                                                                         Iron Deficiency / Anemia                                    91             Continuing
                                                                         Herpes Zoster                                               92                92
                                                                         Intermittent Claudication: Leg Cramps at Night              94             Continuing
                                                                         Prostatectomy                                               94                94
                                                                         Hernia Repair                                               96                96
                                                                         Vertigo                                                     98             Continuing
                                                                         Septal Perforation-Nasal                                    99             Continuing
                                                                         From his pain score data (p. 731-32 of 1357) patient 46 submitted pain and sleep scores for the entirety of the study.
                                                                         Furthermore, according to p. 1095 of 1357 he was listed as compliant at all three visits; no capsules are listed as
                                                                         returned. He completed the study on day 49 and was seen on day 50 (p. 1118 of 1357). No data is listed for PGIC
                                                                         or CGIC for this patient (p. 1125 of 1357).
                                                                                                                                                                                       17 of 17
                                                                         Gabapentin project study summary – Study No. 9 - 945-295 - RICE PHN(Pain 2001) – prepared by                                 18
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                                                                                                                      Patient 46: Daily Pain and Sleep Scores
                                                                                               10
                                                                                                 9
                                                                                                 8
                                                                                                 7
                                                                                                 6
                                                                             Likert Score




                                                                                                                                                                                                            Pain Score
                                                                                                 5
                                                                                                                                                                                                            Sleep Score
                                                                                                 4
                                                                                                 3
                                                                                                 2
                                                                                                 1
                                                                                                 0
                                                                                                   ay   -4   -1   3   6   9   12   15   18    21   24    27   30   33   36   39   42   45   48
                                                                                                 yD
                                                                                               ud
                                                                                            St
                                                                                                                                             Study Day
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                                                                         According to 1301-02 of 1357
                                                                         •        The patient suffered a single episode of peripheral oedema (ankle swelling) on day 43 for which the duration is
                                                                                  listed as 50 (unknown whether or not this 50 is 50 day duration or the oedema resolved itself on day 50 of the
                                                                                  study); the severity was deemed moderate and the investigator deemed this event unlikely related to the study
                                                                                  drug.
                                                                         •        On day 19 he suffered a single episode of back pain, duration 75, severity moderate, deemed unlikely related to
                                                                                  the study drug
                                                                         •        On day 2 he suffered dizziness (bouts of giddiness) and ataxia (off balance) both of continuous duration. Both
                                                                                  were deemed mild and possibly related to the study drug.
                                                                         •        All the above adverse events were treatment emergent.
                                                                         No comments for this patient are listed in appendix E.16. No narratives regarding his death are listed in appendix b.
                                                                         There is no information given pertaining to cause of death except for that the investigator deemed this death
                                                                         unrelated to the study drug.
                                                                                                                                                                                                 18 of 18
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Study No. 10 ‐ PARKE DAVIS/PFIZER 945‐430‐306 (MIXED NEUROPATHIC PAIN), Serpell et al 2002 – PUBLISHED (2002) AND UNPUBLISHED (2000) TRIAL                                                                                  1
SUMMARY –Thomas L. Perry, M.D. – FINAL – July 26, 2008


Study No. 10 PARKE DAVIS/PFIZER 945­430­306 (MIXED NEUROPATHIC PAIN), Serpell et al 2002 – PUBLISHED (2002) AND UNPUBLISHED (2000) TRIAL
SUMMARY ­ Thomas L. Perry, M.D. – FINAL – July 26, 2008



Study/ Design/dates      Inclusion         Intervention(s), Predefined                                    Outcomes hierarchy (Cochrane, investigators: primary/secondary)                                   Comments/conclusions of
                         criteria/baseline experimental     outcomes/issues in                                                                                                                              Dr. Perry
                         characteristics design,            statistical analysis
                                           N of subjects
                                           randomized
                                           (ITT)/ N who
                                           completed
                                           study
Study No. 10             Mixed neuropathic     (from final study       Predefined outcomes:               Mortality:                                                                                        1. “Enrichment” by excluding
Published                pain (including       report, p.                                                 P = 2, G = 0 (final study report, p. 36/1358)                                                     patients who had failed to
Serpell, MG,             complex regional      84/1358)                Primary:                           P = 0; G = 0 (calculated by TLP)*                                                                 respond to gabapentin at > 900
Neuropathic Pain         pain syndrome,        Placebo vs.                                                * p. 36/1358 states “Two patients died within one month of receiving their last dose of           mg/d or had not tolerated it.
Study Group.             PHN,                  gabapentin (3           (“Main model”, from p.             placebo medication, one due to ischemic heart disease and one due to heart failure. Full          Many potentially eligible patients
Gabapentin in            radiculoparhy,        x/day) titrated         74/1358, final study report):      narratives are provided in Appendix B.1.” Appendix B.1. (148/1358) clarifies that it does not     may have been exposed prior to
neuropathic pain         postlaminectomy,      over first 3 days                                          seem reasonable to attribute these deaths to placebo, and the published report makes no           commencement of study in June
syndromes: a             etc.):                to 900 mg/d, then       NRS pain score (Likert 0-10        mention of them (p. 562).                                                                         1999, due to publication of JAMA
randomized, double-                            held at 900 mg/d        scale) as group mean of                                                                                                              articles in December 1998 and
blind, placebo-          Inclusion:            until end of week       individual means from patients’    Serious Adverse Events (non-fatal) (pp. 35-36/1358):                                              promotion of gabapentin even
controlled trial. Pain   • Various             2. At “visit 2”         last 7 available scores while on   NB: TLP cannot tell how these numbers are derived in final report. They are not reported in       earlier. Published report (2002)
2002; 99: 557-66              characteristic   (end of week 2)         study medication (up to end of     the publication (Serpell, 2002). Appendix B.1. shows that for P=2, G=2 SAE, the event             refers to N=351 “eligible
                              s of             increase to 1200        Week 8) from daily diary           arose before, or well after the end of the trial and is not plausibly related … for patient 06-   patients” (i.e. not gabapentin
Unpublished                   neuropathic      mg/d-1800 mg/d          records of previous 24 hours,      417, the event arose after open-label gabapentin was prescribed to a patient who had taken        “failures”, whereas final study
Parke-Davis                   pain             further titration, if   compared with baseline.            placebo as study drug.                                                                            report (2000) refers to N=351 as
(Eastleigh, UK) 945-     • Pain score          target 50% NRS          Endpoint for non-completers of                                                                                                       screened. Neither reports N of
430-306                       (Likert) >4 on   mean pain               8 week trial is LOCF.              Patients experiencing SAE (non-fatal):                                                            patients rejected for prior
Research Report               daily pain       reduction not                                              P = 2/152 (final report); 2/152 (TLP calculation)                                                 gabapentin “failure”.
No. RR 430-00135,             diary before     reached. At “visit      Supplemental analysis is           G = 4/153 (final report); 2/153 (TLP calculation)
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Study No. 10 ‐ PARKE DAVIS/PFIZER 945‐430‐306 (MIXED NEUROPATHIC PAIN), Serpell et al 2002 – PUBLISHED (2002) AND UNPUBLISHED (2000) TRIAL                                                                  2
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May 5, 2000                    randomization   3” (end of week      weekly mean pain scores from                                                                                             2. The primary outcome
                           Exclusion:          4), increase to      baseline to week 8 or dropout       Total SAE (non-fatal): NR                                                            (difference from baseline in
8 week DBRCT June          • Failure to        2100mg/d-2400        (LOCF).                             Calculated from Appendix B.1. SAE narratives and patient assignments Appendix:       group mean NRS pain scores
17, 1999 – February            respond to      mg/d if target                                           P = 2 (TLP calculation)                                                              at study week 8 endpoint) was
                               gabapentin at   50% NRS mean         ANCOVA for these analyses           G = 2 (TLP calculation)                                                              not significantly different:
8, 2000
                               >900 mg/day     pain reduction       was problematic, so “a decision     TLP recommendation: I suggest we use for mortality P=0, G=0, and either NOT          change for P = -1.3, for G = -
                               or failure to   not reached (or      was made to perform a rank          include these non-fatal SAE in Cochrane meta-analysis, or alternatively we use the   1.6; difference = -0.3 points,
UK and Ireland                                 maintain at 900      based analysis of the data …”       recalculated total non-fatal SAE (2 in each group).                                  p=0.31, nor for LOCF-
                               tolerate any
                               dose of         mg/d or 1800         (p. 19/1358 and elsewhere).                                                                                              endpoint: change for P = -1.0,
Final Protocol: February       gabapentin      mg/d) for                                                                                                                                     for G = -1.5; difference = -0.5
3, 1999, amended July          (“enrichment    “responders” to                                                                                                                               points, p=0.046, or p=0.0.57, or
                                                                    “Responder” analysis: because       Withdrawal Due to Adverse Events (WDAE, p. 30/1358):
7, 1999 (p. 8/1358)            bias”)          end of study (end                                                                                                                             p=0.06 (variously reported). If
                                                                    a 50% reduction in mean pain        P = 25/152
                           • nown chronic      of week 8) or        score at end of week 2 (visit 2)    G = 24/153                                                                           the LOCF difference were
Investigators                                  early drop out.      and end of week 4 (visit 3) was                                                                                          statistically significant, there
                               kidney
meeting:May 7,1999                                                  a criterion for titration                                                                                                is no meaningful clinical
                               disease or Cr                                                            Total withdrawals:
Investigators were UK                          Screened: 351        decisions, and this is specified                                                                                         difference to a 0.5 point mean
                               clearance <                                                              P=41/152
and Irish consultant                                                in the experimental protocol, it                                                                                         difference between treatment
                               60 mL/min                                                                G=32/153
anesthetists who run                           Randomized:          is reasonable to accept this as                                                                                          with P and G. The weekly
outpatient chronic pain                        307                  a pre-specified outcome                                                                                                  (LOCF) plot of group mean
                           Baseline                                                                     Total patients with Adverse Events (p. 30/1358):
clinics. (p. 8/1358 of                         (ITT = 305 - 2       (unclear in other study reports).                                                                                        change from baseline (Figure
                           characteristics:                                                             P = 103/152
final study report). Dr.                       patients withdrew    Percentage responders                                                                                                    3 in Serpell 2002, p. 171/1358
Michael Serpell                                                                                         G = 117/153                                                                          in final report) indicates that
                           Mean pain score     prior to receiving   analysed by Manetel-Haenzel
(Glasgow, Scotland)                            drug)                Chi-square test adjusting for                                                                                            any separation of groups
was “study advisor”.       (Likert NRS, 0-                                                              Total Adverse Events:
                                                                    cluster (groups of trial centres                                                                                         occurred DURING FIRST
                           10):                                                                         P = 223
                                               P = 152 (152         with few patients each).                                                                                                 WEEK, at G = 900 mg/d,
                           P (152/152): 7.3                                                             G = 336
Randomization:             (SD 1.5)            reported for         Patients withdrawing early due                                                                                           whereas separation of groups
Central randomization                          safety               to lack of efficacy were classed                                                                                         was no longer apparent at end
                           G (152/153): 7.1
sequentially to            (SD 1.6)            analysis,148         as “non-responders”. It             Specific AE:                                                                         of trial … THIS SUGGESTS
assignment to G or P                           reported for         appears that patients who           Dizziness: P=12/152 (7.9%); G=37/153 (24.2%)                                         THAT EFFICACY (IF ANY) IS
in block sizes of 4                            responder            “responded” (achieved mean          Somnolence: P=8/152 (5.3%); G=22/153 (14.4%)                                         NOT DOSE-DEPENDENT
                      Groups appear
                                               analysis, varying    NRS pain score < 50% of             Infection: P=19/152 (12.5%); G=14/153 (9.2%)                                         ABOVE 900 mg/d.
                           generally similar
Data analysis:             (Table 1,           numbers for          baseline) but withdrew due to       Headache: P=21/152 (13.8%); G=14/153 (9.2%)
                                               LOCF for primary     adverse events or other                                                                                                  3. A pre-defined aspect of the
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Parke Davis           publication), but     endpoint, 112       reasons would be classified                                                                                                   primary outcome, which was a
Biometrics Group,     neither publication   completed trial)    as “responders”, even                                                                                                         determinant of titration
Eastleigh handled     nor final report                          though this does not make         Primary outcome, difference from baseline at endpoint:                                      strategy, the % of patients
data entry and        gives breakdown       G = 153(153         clinical sense as a good                                                                                                      achieving > 50% reduction
                      by type of pain       reported for        outcome.                          Baseline N, final scores (SD)                                                               from baseline on weekly NRS
analysis (/ 4/1358,
                      condition, so one     safety analysis,                                      P (152/152): 7.3 (1.5)                                                                      pain scale is not significantly
final report)         cannot tell if                                                                                                                                                          different:
                                            150 for                                               G (152/153): 7.1 (1.6)
                      groups are            responder           Secondary:
                      balanced for type     analysis, varying   NB: all secondary outcomes        Week 8 N, final scores(SD), difference (SD):                                                P = 22/152 (14%)
                      (e.g. CPRS)           numbers for         are dependent, not                P (111/152): 6.0 (2.8), difference -1.3                                                     G = 32/153 (21%); p=0.16
                      without manually      LOCF for primary    independent of primary            G (120/153): 5.4 (2.6), difference -1.6; p=0.31
                      calculating from      endpoint, 122       outcome, as they all measure
                      appendices.           completed trial)    various aspects of the same       Endpoint (LOCF) N, final scores: (SD), difference (SD):                                     4. For PGIC, a secondary
                                                                thing (pain relief). The study    P (148/152): 6.3 (2.6), difference -1.0                                                     outcome, the claimed
                      Median age = 57       This study          made no adjustments for           G (150/153): 5.6 (2.6), difference -1.5; p=0.048 (0.057) or p=0.06                          statistical significance of the
                                            appears NOT to      multiple comparisons.             (Appendix C.2, p. 176/1358 vs. p. 27/1358 in final study report; published report Serpell   apparent difference between
                                            be true ITT-        • Individual pain symptoms        2002 reports “p=o.048, rank-based ANCOVA”)                                                  “very much or much
                                            LOCF as P=4,        • SF-MPQ                                                                                                                      improved” categories,
                                            G=3 patients        • PGIC, CGIC                      This difference does not appear to be significant according to the pre-specified protocol   favouring gabapentin, is
                                            patients                                                                                                                                          doubtful. The statistical
                                                                • SF-36 QOL survey                (presentation of statistics confusing).
                                            randomized                                            TLP suggests we use the LOCF endpoint N’s for consistency in Cochrane meta-analysis,        analysis does not appear to
                                            appear NOT to       • Safety
                                                                                                  with understanding they are LOCF, not true ITT endpoints.                                   specify this comparison,
                                            have been                                                                                                                                         which is one of multiple
                                            reported for        Since most of the dependent
                                                                secondary outcomes are not                                                                                                    comparisons not appropriately
                                            efficacy. It does                                                                                                                                 tested. (see detailed notes and
                                            not report on all   part of systematic review, only   Responder rate (>50% reduction in NRS at LOCF endpoint – appears to include
                                                                                                                                                                                              references in adjacent
                                            patients at true    PGIC and safety will be           WDAE if they achieved >50% reduction):
                                                                discussed further.                                                                                                            column.) Accepting the
                                            endpoint.                                                                                                                                         numbers of patients achieving
                                                                                                  P = 22/152 (14%)                                                                            this outcome (LOCF)
                                                                                                  G = 32/153 (21%); p=0.16                                                                    expressed with the ITT
                                                                                                                                                                                              denominators, as in adjacent
                                                                                                  (p. 561 publication, p. 28/1358 final report; these are reported by both published and      column, seems appropriate for
                                                                                                  unpublished report to show P=22/148, G=32/150, whereas TLP has adjusted above               Cochrane meta-analysis which
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                                                                       to show true ITT denominators for each group. The rounded % are identical to           also shows all other
                                                                       those in the published and final study reports.)                                       categories – i.e. achieving a
                                                                                                                                                              pre-specified meta-analytic
                                                                                                                                                              outcome for all trials where
                                                                                                                                                              suitable pre-specified PGIC
                                                                                                                                                              data are available.
                                                                       Patient Global Impression of Change at endpoint(PGIC):
                                                                                                                                                             5. The published report’s
                                                                       (p. 197/1358 statistical analysis plan suggests that “Objective G” (PGIC and CGIC)
                                                                                                                                                             conclusions are not justified
                                                                       will be analysed by CMH ridit transformation, but does not-prespecify grouping by
                                                                                                                                                             by the data presented.
                                                                       any categories – the following table from p. 31/1358) shows the original presentation
                                                                       of data. Grouping of categories 1 and 2 (“very much or much improved”, similar to
                                                                       “much improved or moderately improved” in other PGIC scales) appears to be a post-
                                                                       hoc comparison.)

                                                                       As a conservative assumption, it may be more reasonable to report percentages as
                                                                       the number reporting the outcome divided by the ITT denominator:

                                                                       “Very much or much improved”:

                                                                       P = 22/152 (14%)
                                                                       G = 48/153 (31%)
                                                                       (This does not appear to be statistically significant, as not a pre-defined outcome)

                                                                       NB: both the published report (Serpell 2002 and the final study report (p. 31/1358)
                                                                       state these data as:
                                                                       P = 22/138 (16%)
                                                                       G = 48/141 (34%) “p=0.03, Mantel-Haenszel”
                                                                       However, there is no correction for multiple tests of significance and this is of
                                                                       doubtful statistical significance, as the statistical analysis document (p. 193/1358
                                                                       notes that given the number of secondary analyses, some apparently “significant”
                                                                       results will occur by chance alone, in the absence of correction.
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Study No. 10 ‐ PARKE DAVIS/PFIZER 945‐430‐306 (MIXED NEUROPATHIC PAIN), Serpell et al 2002 – PUBLISHED (2002) AND UNPUBLISHED (2000) TRIAL                         5
SUMMARY –Thomas L. Perry, M.D. – FINAL – July 26, 2008


                                                                       The summary statistics in the original table show that the mean change is similar between
                                                                       groups:
                                                                       P (N=138/152): 3.6 (1.2)
                                                                       G (N=141/153): 3.2 (1.4)
                                                                       No claim is made for an overall difference between groups in the PGIC
                                                  Case 1:04-cv-10981-PBS Document 1457-14 Filed 10/06/08 Page 108 of 116

Study No. 11 ‐ BONE 2002 – GABAPENTIN FOR POSTAMPUTATION PHANTOM LIMB PAIN – DBR CROSSOVER TRIAL (PUBLISHED VERSION ONLY) – FINAL ‐ Dr.                                                                   1
Thomas L. Perry, July 23, 2008


Study No. 11 ­ BONE 2002 – GABAPENTIN FOR POSTAMPUTATION PHANTOM LIMB PAIN – DBR CROSSOVER TRIAL (Published) ­ SUMMARY
Study/ Design/dates          Inclusion                  Intervention(s), experimental        Predefined outcomes/issues         Outcomes hierarchy (Cochrane,        Comments/conclusions of Dr. Perry
                             criteria/baseline          design,                              in statistical analysis            investigators: primary/secondary)
                             characteristics            N of subjects randomized (ITT)/ N
                                                        who completed study
Study No. 11                 Post-amputation            Study design: 14 week double         Predefined outcomes:               TLP: for this trial, no outcome is   1. This is a very low quality study
Bone M, Critchley P, Buggy   phantom limb pain          blind crossover trial RCT                                               suitable for meta-analysis.          which claims a difference in mean
DJ. Gabapentin in                                       gabapentin (target dose 2400 mg/d)   Primary (“endpoint vs.                                                  change in VAS pain score at 6 weeks
Postamputation Phantom       Inclusion:                 with placebo as 2 arms:              baseline”):                        Mortality: Not reported              vs. baseline, favouring gabapentin.
Limb Pain: A Randomized,     •   18-75 years            P/G x 6 weeks, each with 1 week
                                                                                                                                                                     However, this is clearly
Double-Blind, Placebo-       •   Phantom limb > 6       washout between treatments; vs       VAS pain intensity difference      Serious Adverse Events: Not
Controlled, Cross-Over                                  G/P x 6 weeks, each with 1 week
                                                                                                                                                                     unsupportable, as there is no ITT
                                 months                                                      from baseline to end of each       reported
Study. Reg Anesth Pain                                  washout between treatments                                                                                   analysis, and even the completer
                             • “Pain score > 40 on                                           treatment.
Med 2002; 27: 481-6                                                                                                                                                  numbers are not apparent. The
                                 a 100 mm VAS” at                                                                               Withdrawal Due to Adverse
                                                        Patient flow (Fig 2, p 483):         “Categorical pain intensity of     Events: Not reported
                                                                                                                                                                     authors conclusion that “After 6
                                 screening                                                                                                                           weeks, gabapentin monotherapy was
Support: Pfizer supplied     Exclusion:                 • Sceened: 33                        episodes of phantom pain”,
study medication, Prof.                                 • Excluded: 14                       documented daily as a 4-point      Total withdrawals: not reported so   better than placebo in relieving
David Rowbotham advised      • Epilepsy                                                                                                                              postamputation limb pain” is not
                                                        • Randomized: 19 as P/G=9,           score where 0=none, 1=mild         that treatment group during which
on statistical analysis.     • “significant hepatic                                          pain, 2-moderate pain,                                                  supported by the experimental report.
                                                             G/P=10                                                             withdrawal occurred can be
                                 or renal
                                                                                             3=severe pain.                     identified - not interpretable       No other differences are claimed.
Trial design: independent        insufficiency”, etc.   • Completed crossover: 14/19
                                                             as:
                                                             P/G = 6/9                                                          Total patients with AE’s:            2. The description of patient flow and
DBRCT, 15weeks . After 1                                     G/P = 8/10                      Secondary (all compared at         not reported                         presentation of statistics is
                             Allowable drugs: TCA’s
week run-in, randomization                              • Withdrawn from treatments:         “endpoint vs. baseline”):                                               inadequate, but suggests that the
                             could be continued,
to 6 weeks of placebo (P)    patients “asked to         NB: the patient flow figure and      NB: all secondary outcomes         Total AE: not reported               report concerns only completers, i.e.
or gabapentin (G) – to                                  text do not allow ascertainment      are dependent, not                                                      14/19 patients. It is not clear how the
                             discontinue muscle
maximum tolerated dose of                                                                    independent of primary             Most frequently reported AE’s,
                             relaxants, other           of the number of patients who                                                                                crossover design is analysed in an
G, ceiling of 2400 mg/d;                                dropped out of each treatment        outcome, as they all measure       reported as number of patients
                             anticonvulsants, and
                                                                                             various aspects of the same
                                                                                                                                                                     unusual statistical analysis.
then 1-week washout,         topical analgesics”.       phase/group, nor the timing of                                          (Table 5):
                                                        drop outs.                           thing (pain relief).               Somnolence: P=2, G=7
followed by crossover to                                                                                                                                             3. Presentation of safety data is
the alternative arm for 6    Baseline                                                                                           Dizziness: P=1, G=2                  inadequate and the methods section
                                                                                             See report p. 482-3 for details.   Headache: P=1, G=2
weeks.                       characteristics:




                                                                                                                                                                                                          1
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Study No. 11 ‐ BONE 2002 – GABAPENTIN FOR POSTAMPUTATION PHANTOM LIMB PAIN – DBR CROSSOVER TRIAL (PUBLISHED VERSION ONLY) – FINAL ‐ Dr.                                                                        2
Thomas L. Perry, July 23, 2008


                                                         crossover 6 weeks are                  Barthel Index (see text) could    Nausea: P=1, G=2                      does not discuss how safety was
Drugs described as             G/P arm: N=10/19                                                 be relevant to disability, but                                          assessed.
“identical tablets” (p. 482)   P/G arm: N=9/19           Drug doses/titration (p. 484):         the authors claim no
or described alternatively     Mean age: 56 (17.5)       Titration schedule not detailed.       difference for gabapentin vs.     Primary outcome(s):
                               Age range: 24-68          Median final dose of gabapentin        placebo, and the lack of ITT
as “gabapentin and                                                                                                                NB: number of patients is <<
                                                         was 2400 mg/d (range 1800-2400         analysis makes this unsuitable    number randomized but not
placebo capsules” supplied                                                                      for meta-analysis – therefore
                                                                                                                                                                        TLP: I don’t think we can meta-
                               Pain characteristics:     mg/d).                                                                   determinable for each treatment
by Pfizer Pharmaceuticals                                                                       not described in detail in this                                         analyse any of these results with any
(p. 485).                                                                                                                         group – numbers are noted below       credibility. It is better to present this
                               VAS weekly mean for                                              summary table.                    but not reliable due to non-ITT
                                                         Statistical Analysis: (p. 483)                                                                                 study on its own, as a negative
                               screening week:           Unusually complicated description.                                       and other issues (Table 2, p. 484).
Patients screened and                                                                                                             No explanation is provided for
                                                                                                                                                                        study.
                                                         See original report. “…All analyses
enrolled between February      These appear to be        were conducted using the intention-                                      why average pain is reported for
1999-March 2000 (p. 482).      reported as mean VAS      to-treat population, defined as all                                      “week 6” whereas categorical
                               (SD) for the combined     randomized patients who received                                         pain is reported for “end of
Randomization: “The            groups starting each      at least 1 dose of study medication.                                     therapy”:
randomization technique        treatment (e.g. for       Patients with no data recorded for a                                     :
was by computer-               placebo, P1 and P2        parameter were automatically                                             For average pain (100 mm VAS):
generated random                                         excluded from the analysis of that
                               groups) – the N’s are     parameter…” This indicates that                                          Placebo:
numbers, which was             not determinable:
organized by our hospital                                the analysis was at best                                                 Baseline: 6.7 (1.9)
pharmacist.”                                             “completer” analysis, and was                                            Week 6: 5.1 (2.2)
                               P: 6.7 (1.9)              NOT ITT, nor ITT-LOCF.
                               G: 6.1 (1.8)                                                                                       Gabapentin:
                                                                                                                                  Baseline: 6.1 (1.8)
                                                                                                                                  Week 6: 2.9 (2.2) – “P=.025” for
                                                                                                                                  comparison with placebo at week 6,
                                                                                                                                  not further described, multiple
                                                                                                                                  comparisons – authors claim “a
                                                                                                                                  significant difference was observed
                                                                                                                                  at week 6” only.

                                                                                                                                  For categorical pain (4 point
                                                                                                                                  scale from 0-3):



                                                                                                                                                                                                               2
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Study No. 11 ‐ BONE 2002 – GABAPENTIN FOR POSTAMPUTATION PHANTOM LIMB PAIN – DBR CROSSOVER TRIAL (PUBLISHED VERSION ONLY) – FINAL ‐ Dr.                          3
Thomas L. Perry, July 23, 2008



                                                                                                  Placebo:
                                                                                                  Baseline: 1.8 (0.9)
                                                                                                  End of therapy: 1.6 (1.2)

                                                                                                  Gabapentin:
                                                                                                  Baseline: 1.5 (0.9)
                                                                                                  End of therapy: 1.5 (1.0)

                                                                                                  No difference is claimed for groups.

                                                                                                  Secondary outcomes:

                                                                                                  Barthel index:
                                                                                                  See Table 4 (p. 484) for details.
                                                                                                  No difference is claimed between
                                                                                                  groups.




Notes: This is a low quality study, which did not contribute any data to the 2005 Cochrane review, although the review cited it as showing “only a significant
difference in pain intensity difference in week 6 of treatment”. It is not suitable for meta­analysis.




                                                                                                                                                                 3
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 Study No. 12 – Caraceni 2004 ‐PUBLISHED TRIAL SUMMARY – NEUROPATHIC CANCER PAIN –Prepared by Thomas L. Perry, M.D. – FINAL – July 26, 2008                                                                             1



 Study No. 12 – CARACENI 2004 – NEUROPATHIC CANCER PAIN (Parke Davis 945­420­276 – GABAPENTIN VS. PLACEBO DBRCT ‐ detailed study summary prepared
 by Dr. T. L. Perry ‐ FINAL – July 26, 2008
Study/ Design/dates                Inclusion criteria/baseline       Intervention(s), experimental design,      Predefined                 Outcomes hierarchy (Cochrane safety        Comments/conclusions of Dr.
                                   characteristics                   N of subjects randomized (ITT)/ N          outcomes/issues in         hierarchy only – open trial)               Perry
                                                                     who completed study                        statistical analysis
Study No. 12                       Neuropathic cancer pain           Study design: 10-day, parallel-group       Primary outcome:           Mortality: P=0; G=1                        1. Unusual study in very sick
Parke-Davis 945-420-276            (infiltration or compression of   multi-centre trial of gabapentin up to     Average response to                                                   patients with high morbidity
                                   nervous structures with           1800 mg/d vs placebo. Drugs were           treatment over the         NF Serious Adverse Events (number          and potentially high mortality.
Caraceni A, Zecca E, et al.        “neuropathic”                     titrated daily as needed for average 24-                              or patients): P=0, G=1
Gabapentin for Neuropathic
                                                                                                                whole follow-up period
                                   characteristics)                  hour pain score > 3, if tolerated.                                    (see Table 4, p. 2916)                     2. Gabapentin associated with
Cancer Pain: A Randomized                                                                                       as defined by the
                                                                                                                                                                                      one early death and one near-
Controlled Trial From the                                                                                       average daily pain
                                   Inclusion:                        Patient flow (p. 691):                                                NB: a patient died after 3 doses of        death requiring opioid reversal.
Gabapentin Cancer Pain                                                                                          score from diary.
                                       • Age > 18                        • Screened: 691                                                   gabapentin from sedation/coma on a
Group. J. Clin Oncol 2004;                                                                                                                                                            3. Results cannot be meta-
22: 2909-17                            • Pain score > 5on an             • Randomized: 121                      Secondary:                 background of liver failure. A second
                                           11-point NRS pain             • randomization: P=41, G=79                                       patient developed respiratory depression   analysed.
                                           scale
                                                                                                                Subcomponents, i.e.        after taking 1200 mg gabapentin on the
                                                                         • total withdrawals: P=10, G=21        various subjective
                                       • Regular opioid therapy                                                                            second day and required reversal of        4. The study does not provide
Support: funded by Pfizer                                                • lost to follow-up before Day 4:      types of pain, and use
                                           without sufficient                                                                              opioid analgesia.                          real evidence in support of
Italy and Pfizer Spain..                                                       P=2/41, G=3/79                   of as needed                                                          gabapentin for palliative
                                           analgesia                     • completed: P=31, G=58/79
                                       • Life expectancy > 30                                                   analgesics, safety.        Withdrawal Due to Adverse Events:          care/cancer pain.
Dates: August 1999-May                                                                                                                     P=3/41; G=6/79
                                           days and Karnofsky        Analysis: (p. 2911)
2002                                                                                                            Statistical analysis:                                                 5. The authors’ abstract
                                           performance score >
                                                                     Complex plan with multiple                 This study attempted to                                               conclusion that “Gabapentin is
                                           40                                                                                              Total withdrawals:
Trial design: 11 (8 Italian, 3                                       comparisons – see published report.        establish “average”                                                   effective in improving
                                   Exclusion:                                                                                              P=10/41
Spanish) palliative care and                                         Protocol and final study report not        pain scores over time,                                                analgesia in patients with
                                       • Creatinine clearance <                                                                            G=21/79
oncology units during 10-day
                                           60 mL/min                 available for comparison.                  with imputations for                                                  neuropathic cancer pain
parallel DBRCT, Italy and                                                                                                                                                             already treated with opioids” is
Spain.                                 • Previous or current                                                    missing scores. This is    Total patients with AE’s:
                                                                                                                                                                                      not supported by the data, nor
                                           gabapentin use            Achieved Doses of Gabapentin:              not comparable to any      (combines WDAE and other AE)
                                                                     600 mg/d: 6/79                                                                                                   by the discussion, which
Randomization:                         • Active chemotherapy                                                    other study, and not       P=10/41                                    suggests only that “…Our
                                           or radiotherapy           1200 mg/d: 18/79                           meta-analysable. No        G=35/79
“nonstratified block-of-3                                                                                                                                                             conclusion is that the
                                                                     1800 mg/d: 55/79                           discussion is offered of
randomization list” to P or G in                                                                                                                                                      association of 300 mg
                                                                                                                                           Total AE’s (patients may have > 1):



                                                                                                                                                                                                                        1
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 Study No. 12 – Caraceni 2004 ‐PUBLISHED TRIAL SUMMARY – NEUROPATHIC CANCER PAIN –Prepared by Thomas L. Perry, M.D. – FINAL – July 26, 2008                                                     2



a 1:2 ratio; “all study          Allowed other analgesic                               multiple comparisons     Not reported                                  gabapentin to the opioid drug
participants were blinded to     drugs:                                                in the publication. An                                                 regimen is usually safe, but in
allocation sequence”             Multiple                                              unpublished Pfizer       Specific AE:                                  frail patients … a more
                                                                                       report, if available,    (combines WDAE and other AE)                  cautious titration schedule is
                                                                                                                                                              recommendable…”
Concealment: identical           Overall group                                         might have more
capsules of 300 mg G or          characteristics:                                      discussion.              Somnolence/sedation:
placebo “allocated in random                                                                                                                                  6. Both senior Italian authors
                                 Age (mean): 59                                                                 P=4/41 (9.7%); G=19/79
sequence by the pharmacy                                                                                                                                      and one other Italian author
                                 Pain score (NRS) at baseline                                                                                                 disclose having received more
department”                      (mean):                                                                        Dizziness:                                    than $2,000 a year from Pfizer
                                 P: 7.7 (1.3)                                                                   P=0/41; G=8/79                                Italy for either of the last 2
Data analysis: power             G: 7.0 (1.4)                                                                                                                 years before submission in
calculation of sample sizes,                                                                                    Functional improvement: NR                    2003 or publication in 2004.
analysis of primary and
secondary longitudinal
                                 Morphine dose at baseline
efficacy measures by             (mg/d, mean):                                                                  > 50% reduction in NRS pain at
ANCOVA by “intent to treat …     P: 107 (87); N=41                                                              endpoint vs. baseline:
imputing missing longitudinal    G: 117 (118); N=80                                                             NR
data with the average of
observed data …” with                                                                                           Mean NRS pain score reduction
“modified ITT” for remaining                                                                                    from baseline to endpoint: NR
analyses and “sensitivity
analysis using LOCF and                                                                                         PGIC: NR
worst value observed for
missing data imputation” …                                                                                      Outcomes reported:
(see report, p. 2911) …                                                                                         See report pp. 2911-5. These outcomes
strange definitions e.g. “70%”                                                                                  are totally different from any other study,
pain response appears to be                                                                                     and there does not appear to be any
23% pain response in                                                                                            significant difference between groups,
conventional terms …                                                                                            allowing for multiple comparisons and
                                                                                                                missing data, other than toxicity.

 Notes:




                                                                                                                                                                                                2
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Study No. 13 ‐ PFIZER 945‐411, LADPN ‐PUBLISHED/UNPUBLISHED TRIAL SUMMARY – OPEN‐LABEL TRIAL, THEREFORE SUMMARIZED ONLY FOR SAFETY                                                                                1
OUTCOMES –Prepared by TL Perry, M.D., FINAL – July 26, 2008


Study No. 13 ­ PFIZER 945­411 LADPN(2000­2001, FINAL REPORT 2002)–PAINFUL DIABETIC PERIPHERAL NEUROPATHY – SUMMARY – Final – July 26, 2008
Study/ Design/dates                     Inclusion                 Intervention(s), experimental design,     Predefined                Outcomes hierarchy (Cochrane safety             Comments/conclusions of
                                        criteria/baseline         N of subjects randomized (ITT)/ N         outcomes/issues in        hierarchy only – open trial)                    Dr. Perry
                                        characteristics           who completed study                       statistical analysis
Study No. 13                            Painful diabetic          Study design: 7-week open, parallel-      Because this is an        NB: analysis is based on pp. 16-17/492 of       1. Probable enrichment
Pfizer/Parke-Davis                      peripheral neuropathy     group, 33 “centre” trial of gabapentin    open-label trial, this    unpublished final report and published          bias by exclusion of
Protocol 945-411                        (PDPN):                   900 mg/day fixed dose vs. gabapentin      analysis will only look   report (Gomez-Perez et al., 2004):              patients previously treated
“Phase 3” (unpublished report) vs.                                titrated over up to 4 weeks to dose       at safety outcomes –                                                      with gabapentin may
“Phase IV” (published report)           Inclusion:                necessary to achieve 50% reduction on     definitions at pp 31-32   Mean daily dose per group (published            reduce chance of observing
                                             • Painful DPN        NRS (11-point Likert score) pain scale,   of unpublished report     report, details from unpublished not            toxicity.
A Randomized, Open Label Trial to            • Creatinine         or to a maximum of 3600 mg/day; then      appear to be              available to TLP):
Determine the Relative efficacy                  clearance > 60   steady dose (except reduction for         compatible with other     G900900 mg/day ;Gtitrated = 1,936 mg/day        2. Toxicity (AE) findings are
and Safety of a Fixed Dose of                    mL/min           toxicity) for remainder of 7 weeks.       gabapentin studies.                                                       similar to other studies.
Gabapentin Versus Optional              Exclusion:                                                                                    NB: the mean dose of 900 for G900 group         Exclusion of patients with
Titration to Effect for the Treatment        • Previous           Safety assessments at each of 5 visits,                             appears unlikely, as it would require all 170   creatinine clearance < 60
of Painful Diabetic Peripheral                   treatment with   i.e. 3 post-randomization visits up to                              patients randomized to have taken exactly       mL/min and relatively low
Neuropathy                                       gabapentin       and including 7 weeks                                               900 mg/day for the full period.                 age biases study in favour
                                             • Creatinine               • Screened: 421                                                                                               of gabapentin, vs. more
UNPUBLISHED final report dated                                          • Randomized: 339                                             Mortality (p. 176 published):                   frequent AE expected in
                                                 clearance < 60
November 5, 2002; 492 pages total,                                          (randomization procedure not                              G900 = 0/170 (0%) ;Gtitrated = 0/169(0%)        clinical practice. It is not
                                                 mL/min
TLP has a 74/492 page print                                                 described in unpublished main                                                                             possible to comment
version.                                                                    report nor published report)                              Serious Adverse Events – number of              meaningfully about dose-
                                        Overall group                                                                                                                                 dependent toxicity, but the
                                        characteristics:                • randomization: G900=170,                                    patients experiencing SAE (p. 176
Study dates: February 16, 2000 –                                            Gtitrated=169                                             published):                                     absolute numbers and
December 4, 2001                        Mean age: 56                                                                                  G900 = 3/170 (1.8%) ;Gtitrated = 4/169(2.4%)    percentages of patients
Report date November 5, 2002                                                                                                                                                          experiencing typical
                                                                  ITT population for safety appears to                                                                                gabapentin-induced AE are
Pfizer_LKnapp_006623 (June 2,                                                                                                         Serious Adverse Events – total SAE:
                                                                  be 339/339 patients enrolled                                                                                        slightly higher for titrated
2005 Clinical Study Synopsis is                                                                                                       not reported
identical)                                                        (randomized). No further details                                                                                    dose group than for fixed
Sponsor’s reviewers/Department                                    presented in published report nor in                                                                                dose group.
                                                                  pp. 1-74/492 page unpublished                                       Withdrawal Due to Adverse Events (pp.
Approval: RadhiAbdulnabi Ph.D.,                                                                                                       176-7 published):
Thomas J. Purcell, M.S., Lloyd                                    report.                                                                                                             Appendices to this report
                                                                                                                                      G900 = 9/170 (5.3%) ;Gtitrated = 7/169(4.1%)
                                                                                                                                                                                      not available.



                                                                                                                                                                                                                  1
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Study No. 13 ‐ PFIZER 945‐411, LADPN ‐PUBLISHED/UNPUBLISHED TRIAL SUMMARY – OPEN‐LABEL TRIAL, THEREFORE SUMMARIZED ONLY FOR SAFETY        2
OUTCOMES –Prepared by TL Perry, M.D., FINAL – July 26, 2008


Knapp, PharmD, K. Chartier, Ph.D.,
C. Hoseyni, Ph.D., MBA                                                                     Total patients with AE’s:
                                                                                           G900 = 82/170 (48%) ;Gtitrated = 85/169(50%)
PUBLISHED report:
Gomez-Perez, Perez-Monteverde,                                                             Total AE’s (patients may have > 1):
et al. Gabapentin for the                                                                  Not reported
treatment of painful diabetic
neuropathy: dosing to achieve                                                              Characteristic AE for combined groups
optimal clinical response. Br. J.                                                          (N=339) - (p. 17/492 of unpublished
Diabetes Vasc. Dis. 2004; 4: 173-                                                          report), by number of patients (? Patients
                                                                                           may have experienced > 1 AE; if similar to
8
                                                                                           reporting of other studies, the following
                                                                                           would be the dominant AE experienced
NB: publication specifies (p. 177)                                                         by patient):
that data analysis was conducted                                                           For total group (N=339/339)
by Quasy, a contract research                                                              Somnolence: 60/339 (18%)
organization and data analysis                                                             Dizziness: 51/339 (15%)
was conducted by Quasy and
Pfizer. (unpublished final report                                                          For groups by dose:
“Statistical Analysis and Safety                                                           Somnolence:
Report” is submitted by Quasy,                                                             G900 = 26/170 (15%) ;Gtitrated = 34/169(20%)
Mexico – see p. 18/492). Authors                                                           Dizziness:
Mitisya EM and Parsons B of                                                                G900 = 23/170 (14%) ;Gtitrated = 17/169(50%)
published report are from Pfizer,
New York.




                                                                                                                                          2
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Study No. 14 ‐ LEVENDOGLU 2004 – GABAPENTIN FOR SPINAL CORD INJURY PAIN – DBR CROSSOVER TRIAL (PUBLISHED VERSION ONLY) – final ‐ Dr. Thomas L.                                                                 1
Perry, July 26, 2008


Study No. 14 – Levendoglu 2004 – GABAPENTIN FOR SPINAL CORD INJURY PAIN – DBR CROSSOVER TRIAL (published) – FINAL – July 26, 2008
Study/Design/dates                     Inclusion                   Intervention(s), experimental   Predefined              Outcomes hierarchy (Cochrane, investigators:                 Comments/conclusions
                                       criteria/baseline           design,                         outcomes/issues in      primary/secondary)                                           of Dr. Perry
                                       characteristics             N of subjects randomized        statistical analysis
                                                                   (ITT)/ N who completed study
Study No. 14                           Spinal cord injury          Study design: 18 week double    Predefined              Achieved doses:                                              1. This is an unusual
Levendoglu F, Ogun CO., et             “neuropathic” pain          blind crossover RCT comparing   outcomes:               Mean dose G “without side effects”: 2235 mg/d (501), range   study which is not
al. Gabapentin Is A Firse                                          G with P as 2 arms:                                     900-2700 mg/d                                                directly comparable
Line Drug for the Treatment            Inclusion:                  P/G x 8 weeks with 2 week       Primary: This is not    Mean maximum tolerated dose 2850 mg/d (751), range           with any other study.
                                       • 20-65 years               washout between treatments      clearly explained.      1200-3600 mg/d                                               Doctors were probably
of Neuropathic Pain in Spinal
                                       • complete traumatic        vs. G/P with 2 week washout     The order of                                                                         unblinded, and patients
Cord Injury. Spine 2004;                                           between treatments. Titration                                                                                        were also likely to have
                                            SCI, hospitalized                                      presentation suggests   Mortality: Not reported
743-751.                                                           during weeks 0-4, stable dose   that overall NPS pain                                                                been unblinded.
                                       • “neuropathic” pain > 6
                                                                   weeks 5-8.                      may have been the       Serious Adverse Events: Not reported
Support: “No funds were                     months
                                                                                                   primary outcome, at 4                                                                2. It is not clear
received in supprt of this work.       • pain > 4 on 11-point                                      and/or 8 weeks vs.                                                                   whether the patients
                                                                   Patient flow (p. 744) - not                             Withdrawal Due to Adverse Events:
No benefits in any form have                (0-10) neuropathic
                                                                   described:                      baseline, but the       P=0/20; G=0/20                                               had access to any
been or will be received from a             pain score (NPS) at
                                                                   • Sceened: not reported         baseline scores and     These appear suitable for meta-analysis                      other analgesics.
commercial party related directrly          baseline
                                                                                                   the qualitative
or indirectly to the subject of this   Exclusion:                  • Excluded: not reported
                                                                                                   subcomponents are       Total withdrawals: P=0/20; G=0/20                            3. The results
manuscript.”.                          •   severe cognitive        Randomized: 20; allocation to
                                                                                                   not described                                                                        purported are
                                           impairment              sequences not described
                                                                                                   sufficiently well to    Total patients with AE’s:                                    surprising insofar as:
Dates: not specified, presumably       •   seizure disorder        • Completed crossover:          understand what was     P = 5/20 (25%)                                               a) no patients dropped
2002 or earlier, MS submitted                                          20/20
                                       •   use of                                                  the pre-specified       G = 13/20 (65%)                                              out;
February 2003.                             anticonvulsants or      • Withdrawn from                outcome.                                                                             b) the apparent effects
                                                                       treatments: P=6/56;                                 These appear suitable for meta-analysis
                                           antidepressants                                                                                                                              shown graphically are
Trial design: Independent.                                             G=4/53; washout=2/?         Secondary:                                                                           much more dramatic
                                       •   major depression or                                                             Most important AE’s (Table 5):
                                                                                                   Also not described                                                                   than any other study;
                                           score > 16 on Beck
DBR Crossover Trial, 18 weeks
                                           Depression              Drug doses/titration (p. 2112): in detail, but          Weakness (“asthenia”): P=2/20 (10%); G=5/20 (25%)            c) there is no
including 2 treatment periods of 8                                 Titration from G=900 mg/d in    appears to be VAS       Vertigo (“dizziness”): P=1/20 (5%); G=3/20 (25%)             purported separation
weeks separated by 2 week
                                           Inventory at baseline
                                                                   first week, to 1800 mg/d in     pain scale, and a       Sedation (somnolence): P=0/20 (0%), G=3/20 (15%)             from placebo at end
washout, comparing gabapentin          •   “hypersensitivity” to
                                                                   week 2, 2400 mg/d in week 3,    “LQ” questionnaire      Edema: P=0/20 (0%); G=3/20 (15%)                             of week 2 (1800
(G) with placebo to final dose of          gabapentin:             and 3600 mg/d in week 4,        (see text, p. 744).                                                                  mg/d), in contrast



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Study No. 14 ‐ LEVENDOGLU 2004 – GABAPENTIN FOR SPINAL CORD INJURY PAIN – DBR CROSSOVER TRIAL (PUBLISHED VERSION ONLY) – final ‐ Dr. Thomas L.                                                             2
Perry, July 26, 2008


G=3600 mg/d                                                   “regardless of any efficacy                                 These appear suitable for meta-analysis, using             with virtually every
                                  Allowable drugs: not        achieved at lower doses”,          NB: none of these        “weakness”.                                                other study of
Concealment: “identically         described – no opioids ar   decreased one dose step for        scores are                                                                          gabapentin;
appearing capsules” (p. 744)      mentioned                   “intolerable adverse reactions”.   comparable, or           Total AE’s (patients may have > 1 as total exceeds total   d) adverse effects are
                                                                                                 presented so as to       patients with AE):                                         less than most
                                  Baseline characteristics:   Statistical Analysis: (p. 744)                              P=6; G=17
Randomization: not described                                                                     be comparable, with                                                                 studies
(p. 744)
                                                              No primary outcome or
                                                              secondary outcome                  any other commonly
                                  Mean age: 36 (range 22-                                                                 Disability: not reported
                                                              hierarchy is described.            used scales.                                                                        2. Outcomes other
Test of blinding: none            62)
                                                              Power calculation on basis of                               > 50% reduction in NRS pain score at endpoint vs.
                                                                                                                                                                                     than safety are not
mentioned; physicians who were
                                  Baseline VAS, NPS           Tai study 2002. No            Analysis: the                 baseline: not reported (not an outcome)                    suitable for meta-
“blinded” assessed patients for
“side effects” and adjusted       scores:                     description of correction for description   of                                                                         analysis.
gabapentin dose accordingly. ?    Not presented for P/G or    multiple comparisons.         statistical plan is           Primary outcome VAS pain score:
Blinded?                          G/P groups                                                inadequate to                 Not comparable to any other study. Not meta-
                                                                                            understand what               analysable. The purported changes (see graphs in
                                                                                            was done, let alone           original report) are much larger than any other study of
                                                                                            multiple                      gabapentin, whether crossover or parallel group.
                                                                                            comparisons.
                                                                                                                          Secondary outcomes:
                                                                                                 Test of blinding:        See original report. None are comparable to other
                                                                                                 Not described. The
                                                                                                                          studies, nor are clearly clinically meaningful.
                                                                                                 description of adverse
                                                                                                 effects suggests that
                                                                                                                          PGIC: not reported
                                                                                                 physician evaluators
                                                                                                 may not have
                                                                                                 remained blinded.




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